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UNITED STATES COURT OF APPEALS
SECOND CIRCUIT

ALVIN L. BRAGG JR., in his official capacity as District Attorney
for New York County,

                             Appellant,                             No. 23-____

                              v.
JIM JORDAN, in his official capacity as Chairman of the
Committee on the Judiciary, et al.,

                              Appellees,




     MEMORANDUM OF LAW IN SUPPORT OF EMERGENCY
      APPLICATION FOR AN ADMINISTRATIVE STAY AND
        STAY OF RETURN DATE PENDING EXPEDITED
                        APPEAL


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                   PRELIMINARY STATEMENT

     This motion seeks a stay pending appeal—and an interim

administrative stay pending resolution of this motion—of the return date

of a subpoena, issued by the House Committee on the Judiciary, seeking

testimony from a former employee, Mark Pomerantz, regarding the

District Attorney’s criminal investigation and prosecution of Donald J.

Trump. See Eastland v. U. S. Servicemen’s Fund, 421 U.S. 491, 496 (1975)

(noting that lower courts had granted similar stays “to avoid mootness

and to prevent possible irreparable injury”). Absent a stay, Mr.

Pomerantz will be compelled to testify to the Committee by 10 a.m.

tomorrow morning. The Committee and its chairman, Representative

Jim Jordan (“congressional defendants”), have never identified any

reason that Mr. Pomerantz’s testimony must be heard tomorrow, before

an opportunity for expedited appellate review. By contrast, there is a

serious risk that Mr. Pomerantz’s testimony will interfere with the

District Attorney’s pending criminal prosecution of Mr. Trump,

undercutting critical principles of federalism that protect the states’

sovereign powers to enforce criminal laws. The equities thus




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overwhelmingly favor an immediate interim administrative stay and a

stay of the return date pending appeal.1

      On March 30, 2023, a New York County grand jury returned an

indictment charging Mr. Trump with 34 felony counts under New York

law. Mr. Trump was arraigned on April 4. Two days after the

arraignment, Representative Jim Jordan, Chairman of the House

Committee on the Judiciary, served a subpoena on Mark Pomerantz, a

former Special Assistant District Attorney who had participated in an

investigation of Mr. Trump and his businesses. The letter accompanying

the subpoena explained that the Committee was “conducting oversight of

the New York County District Attorney’s unprecedented indictment of a

former president,” and the subpoena sought to compel Mr. Pomerantz to

provide “documents and testimony pertaining to [his] role as a special

assistant district attorney leading the investigation into the former

President’s finances.”




      1 As required by Federal Rule of Appellate Procedure 8(a)(1)(A), the
District Attorney requested at the April 19, 2023, hearing that the court below
enter an interim stay of any order denying relief, which the court orally denied.
The District Attorney has also filed a written request for interim relief with
the district court, which the court has also denied.


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     New York County District Attorney Alvin L. Bragg, Jr., then

brought this suit in the United States District Court for the Southern

District of New York (Vyskocil, J.) to challenge the subpoena on the

ground that it exceeded Congress’s constitutional authority and violated

basic principles of federalism. The District Attorney also moved for a

temporary restraining order and preliminary injunction. Following a

hearing on April 19, 2023, the district court issued an opinion and order

denying a temporary restraining order.

     Although the district court’s order “encouraged [the parties] to

speak with one another to reach a mutually agreeable compromise

regarding how the deposition of Mr. Pomerantz will proceed” (Exh. 11 at

25), Chairman Jordan has not agreed to adjourn the return date of the

subpoena beyond the originally scheduled date and time of 10:00 a.m.

tomorrow. Because Mr. Pomerantz’s compliance with the subpoena

would cause irreparable injury to the District Attorney and impair an

ongoing criminal proceeding, the District Attorney seeks emergency

relief from this Court.




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                     STATEMENT OF THE CASE

     A. Factual Background

        1. Even before the indictment, the Judiciary Committee
           attacks the pending investigation and seeks testimony
           to support its criticisms.

     The Judiciary Committee’s focus on the criminal prosecution of Mr.

Trump began weeks before his indictment. According to press reports, on

March 10, 2023, one of Mr. Trump’s criminal defense lawyers in the

pending prosecution “wrote to Mr. Jordan calling on Congress to

investigate.” (Compl. (Exh. 1) ¶ 33.) On March 18, after Mr. Trump

(incorrectly) announced on social media that he would shortly be arrested

(Compl. (Exh. 1) ¶ 34), Speaker Kevin McCarthy responded on Twitter

by calling the still-pending investigation “an outrageous abuse of power

by a radical DA” and “directing relevant committees to immediately

investigate.” (Exh. 2; see also Compl. (Exh. 1) ¶ 37.)

     On March 20—still before the indictment had been returned—

Chairman Jordan (along with two other committee chairs) sent a letter

to District Attorney Bragg demanding that he “testify about what plainly

appears to be a politically motivated prosecutorial decision”: the

reportedly imminent “indictment of a former President of the United

States and current declared candidate for that office.” (Exh. 3 at 1.) The

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letter repeatedly questioned the basis for any such prosecution: it

described the (yet to be articulated) “legal theory underlying [the]

reported prosecution” as “tenuous and untested”; it asserted that a

reported “star witness . . . has a serious credibility problem”; and it drew

the “inference from the totality of these facts” that any prosecution would

be impermissibly “motivated by political calculations.” (Exh. 3 at 2.) The

letter then explained that the District Attorney’s “decision to pursue such

a politically motivated prosecution” warranted inquiry “about how public

safety funds appropriated by Congress are implemented by local law-

enforcement agencies” and “about the delineation of prosecutorial

authority between federal and local officials.” (Exh. 3 at 3.)

     On March 22, Chairman Jordan continued his inquiry into the

pending criminal investigation by sending letters to Carey Dunne and

defendant Mark Pomerantz, both former prosecutors in the Manhattan

District Attorney’s Office. (Exh. 4, 5.) Both letters explained that the

Judiciary Committee was reaching out because of the reportedly

forthcoming indictment of Mr. Trump, with the avowed purpose of

conducting congressional “oversight of this politically motivated

prosecutorial decision.” And both letters justified their outreach to these



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former employees by describing their “unique role[s] in this matter” while

employed by the District Attorney’s Office. The letters repeated

Chairman Jordan’s earlier criticisms of the pending investigation and

explained that “Congress has a keen interest in these facts” about “this

unprecedented and overzealous partisan investigation.” (Exh. 4 at 4, 5 at

3.)

      The District Attorney’s Office responded on March 23. (Exh. 6.) The

letter noted that the criminal investigation was still pending and that the

Judiciary Committee was improperly seeking “non-public information . . .

which is confidential under state law.” (Id. at 2.) The letter objected that

the Committee’s “requests are an unlawful incursion into New York’s

sovereignty”—specifically, the traditional state authority to enforce

criminal laws. (Id. at 4.) The letter offered, however, to fully describe the

Office’s use of federal funds, and requested that the parties “meet and

confer” to amicably resolve any requests that appropriately fell within a

legitimate legislative purpose. (Id. at 5-6.)

      On March 25, the Judiciary Committee sent another letter to

District Attorney Bragg. (Exh. 7.) The letter doubled down on what it

described as “the central allegations at issue”—namely, the purported



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deficiencies of any indictment of Mr. Trump. (Id. at 1.) It confirmed that

the Committee sought to conduct “an examination of the facts”

supporting any such prosecution. (Id. at 3.) It made clear that all of the

purported federal interests underlying the Committee’s requests were

motivated by their concerns about this “potential criminal indictment of

a former President of the United States by an elected local prosecutor of

the opposing political party.” (Id. at 1.) And while the letter expressed

appreciation for the District Attorney’s Office’s offer to detail its use of

federal funds, it made clear that the Committee’s principal purpose was

not limited to that inquiry: rather, the Committee sought to “insulate

former and current Presidents from politically motivated prosecutions by

state and local officials,” and information about the “use of federal funds

will not shed meaningful light on that question.” (Id. at 8.)

        2. After the indictment, the Judiciary Committee
           continues to demand information to undercut the
           pending criminal proceeding, including by issuing a
           subpoena to Mr. Pomerantz.

     On March 30, 2023, a New York grand jury returned an indictment

charging Mr. Trump with 34 felony counts under New York law. (Exh. 8.)

On March 31, the District Attorney’s Office notified the Judiciary

Committee about the indictment and reminded the Committee that Mr.


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Trump, like any criminal defendant, was entitled to avail himself of the

full protections of the New York judicial process. (Exh. 13 at 1.) By

contrast, the Committee’s “examination of the facts of a single criminal

investigation, for the supposed purpose of determining whether any

charges against Mr. Trump are warranted, is an improper and dangerous

usurpation of the executive and judicial functions.” (Id. at 3.) Consistent

with the District Attorney’s Office’s prior offer, the letter then provided

extensive details about the Office’s use of federal funds, and reiterated

the request to meet and confer to negotiate a resolution of any other

appropriate requests for information by the Committee. (Id. at 4-7.)

     On April 6, 2023, the Committee issued the subpoena to Mr.

Pomerantz that is the subject of this litigation. (Exh. 15.) In the letter

accompanying the subpoena, the Committee explained that it was

“conducting oversight of the New York County District Attorney’s

unprecedented indictment of a former president.” (Id. at 1.) The

Committee sought to compel Mr. Pomerantz to provide “documents and

testimony pertaining to [his] role as a special assistant district attorney

leading the investigation into the former President’s finances” (id.) and

repeated that Mr. Pomerantz’s information would be relevant because of



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his “unique role” in that investigation, including his supposed knowledge

about “internal deliberations” and the District Attorney’s motivations (id.

at 3-5).

      The Committee also confirmed that the core federal interest

underlying the subpoena was the “specific and manifestly important

interest in preventing politically motivated prosecutions of current and

former Presidents by elected state and local prosecutors.” (Id. at 1-2.)

Thus, the Committee explained that it was exploring potential legislation

to “insulate current and former Presidents from . . . politically motivated

state and local prosecutions” by: (a) authorizing removal of criminal

cases, including the pending prosecution, to federal court; (b) addressing

unidentified conflicts between federal and local law enforcement for Mr.

Trump’s appearances in New York court; and (c) prohibiting the use of

federal funds to investigate or prosecute a current or former President.

(Id. at 3.)

      B. Procedural Background

      On April 11, 2023, the District Attorney brought suit against

Chairman Jordan in his official capacity, the House Committee on the

Judiciary, and Mr. Pomerantz seeking declaratory and injunctive relief



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to enjoin the congressional defendants from enforcing the subpoena and

Mr. Pomerantz from complying with it. The District Attorney filed a

motion for a temporary restraining order and preliminary injunction on

the same day.

     The congressional defendants filed their opposition on April 17.

Apart from a general interest in “expeditious and unimpeded

Congressional investigations,” the congressional defendants identified no

basis for demanding immediate enforcement of the subpoena. Opp’n of

Congressional Defs. at 25, Bragg v. Jordan, No. 23-3032 (S.D.N.Y. Apr.

17, 2023), ECF No. 27. Mr. Pomerantz also filed his response on April 17

and joined the District Attorney’s request for relief. See Def. Mark F.

Pomerantz’s Resp. at 1, 7, Bragg v. Jordan, No. 23-3032 (S.D.N.Y. Apr.

17, 2023), ECF No. 30.

     The district court held a hearing on the District Attorney’s motion

on April 19. Following that hearing, the district court issued an opinion

and order denying a temporary restraining order. (Exh. 11.) The court

concluded that the District Attorney was unlikely to succeed on the

merits of his argument that the subpoena lacked a valid legislative

purpose, and ordered Mr. Pomerantz to appear before the Committee for



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a deposition tomorrow, April 20, 2023, at 10:00 am. Because the court

had found no likelihood of success on the merits, it declined to address

the other prongs of the temporary restraining order analysis, including

irreparable injury and the balance of the equities. The district court also

decided it would “retain jurisdiction over [the] dispute and any ancillary

claims arising out of the inquiry by the Committee relating to the use of

federal funds in a manner that may influence the 2024 presidential

election.” (Exh. 11 at 25.)

                               ARGUMENT

                                  POINT I

           THE COURT HAS JURISDICTION OVER
           THIS APPEAL

     The district court styled its order as a denial of the District

Attorney’s application for a temporary restraining order, without

separately denying the motion for preliminary injunction. A temporary

restraining order is ordinarily not appealable. See Hoh v. Pepsico, Inc.,

491 F.2d 556, 560 (2d Cir. 1974). But where the denial of a temporary

restraining order “might have a ‘serious, perhaps irreparable,

consequence,’ and . . . can be ‘effectually challenged’ only by immediate

appeal,” this Court may exercise appellate jurisdiction. Carson v.



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American Brands, Inc., 450 U.S. 79, 84 (1981). And the Second Circuit

regularly reviews orders denying a temporary restraining order when the

order amounts to a denial of a preliminary injunction, or otherwise

effectively resolves the case. See, e.g., Riddick v. Maurer, 730 F. App’x 34,

36-37 (2d Cir. 2018) (citing cases).

      Those circumstances are present here. The district court’s order,

however styled, leaves the subpoena in place to compel Mr. Pomerantz to

appear in Washington, D.C. tomorrow morning at 10 a.m. to testify in

person before the Committee. Allowing the subpoena to be enforced in

this matter effectively denies the District Attorney’s application in its

entirety. This Court accordingly has jurisdiction over the appeal from the

district court’s order.

                                 POINT II

            THE EQUITIES WEIGH HEAVILY IN FAVOR
            OF AN IMMEDIATE ADMINISTRATIVE
            STAY AND STAY PENDING APPEAL

      The congressional defendants have never identified any reason for

urgency in receiving information from Mr. Pomerantz; and in similar

disputes over the validity of its legislative subpoenas, Congress has

routinely agreed to adjourn the return date to give the courts time to

carefully scrutinize the weighty legal issues and significant public

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interests that are implicated. Despite these facts, the congressional

defendants have refused in this case to consent to any adjournment of

Mr. Pomerantz’s scheduled deposition past the originally scheduled date

and time of 10:00 a.m. tomorrow. Thus, absent an immediate

administrative stay and stay pending appeal, the District Attorney will

be irreparably injured when Mr. Pomerantz is compelled to appear for

his deposition in just a few hours. The congressional defendants, by

contrast, will suffer no injury from an interim stay to permit reasonably

expedited briefing and consideration of this appeal. The equities thus

decisively favor a stay.

     1. The District Attorney will suffer immediate and irreparable

injury absent a stay of the district court’s order. Nken v. Holder, 556 U.S.

418, 426 (2009). The preservation of the status quo is the critical and

historic function of a stay. But in light of the imminent return date, the

denial of any stay will disrupt the status quo by “effectively award[ing]

victory in the litigation” to the congressional defendants, without the

benefit of this Court’s review of the important issues presented here,

Romer v. Green Point Sav. Bank, 27 F.3d 12, 15 (2d Cir. 1994); see also

Freedom Party of New York v. New York State Bd. of Elections, 77 F.3d



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660, 663 (2d Cir. 1996) (noting that “prompt application for a stay

pending appeal” can prevent issue from “evad[ing] review” (quotation

marks omitted)). Mr. Pomerantz’s compelled deposition before Congress

threatens several concrete harms to the pending criminal prosecution.

     First, the subpoena will compromise the District Attorney’s

confidential communications concerning a criminal investigation and

risk disclosing secret grand jury information. New York, like essentially

every other jurisdiction, places significant restrictions on the disclosure

of grand-jury information or internal deliberations by law enforcement

specifically and lawyers in general. Thus, New York law prohibits

disclosure of “the nature or substance of any grand jury testimony,

evidence, or any decision, result or other matter attending a grand jury

proceeding.” N.Y. Crim. P. Law § 190.25(4)(a). The law-enforcement

privilege shields information that would compromise the confidentiality

of sources, endanger witnesses or law enforcement officers, reveal

investigatory techniques, or “impair the ability of a law enforcement

agency to conduct future investigations.” White v. City of Mt. Vernon,

2022 WL 16578086, at *3 (S.D.N.Y. Nov. 1, 2022). Internal deliberations

within the D.A.’s office are protected by the attorney-client privilege, the



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work product doctrine, the public-interest privilege, and the deliberative-

process privilege. See United States v. Rowe, 96 F.3d 1294 (9th Cir. 1996);

Hopkins v. U.S. Dep’t of Housing & Urb. Dev., 929 F.2d 81, 84–85 (2d Cir.

1991); Hertzog, Calamari & Gleason v. Prudential Ins. Co. of Am., 850 F.

Supp. 255 (S.D.N.Y. 1994); In re World Trade Ctr. Bombing Litig., 709

N.E.2d 452, 456 (N.Y. 1999). And New York City Charter § 2604(d)(5)

prohibits former public servants from disclosing “any confidential

information gained from public service which is not otherwise made

available to the public.” Charter 2606 makes violation of this provision a

misdemeanor.

     There is good reason for these protections. Confidentiality protects

the integrity of the criminal process, protects witnesses and grand jurors

from interference, and promotes frank and candid conversation among

prosecutors. See, e.g., Upjohn Co. v. United States, 449 U.S. 383, 389

(1981) (attorney-client privilege); United States v. Procter & Gamble Co.,

356 U.S. 677, 681–82 & n.6 (1958) (grand jury secrecy); People v. Di

Napoli, 265 N.E.2d 449, 452 (N.Y. 1970) (grand jury secrecy under New

York law). A subpoena from Congress does not override those protections.

See Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2032 (2020). Yet Mr.



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Pomerantz’s testimony risks disclosing such confidential information,

particularly when the congressional defendants have made explicit their

interest in probing his knowledge of the “internal deliberations” of the

District Attorney’s Office and plainly do not consider adequate the

disclosures he may already have made in his published book.

     The district court thought that the risk of disclosing confidential

information was speculative. But the Committee has demanded Mr.

Pomerantz’s testimony solely because of his role in a criminal

investigation, which could include proceedings before a grand jury, and

his knowledge of internal deliberations; the Committee has never

identified any other general expertise for which Mr. Pomerantz’s views

would be helpful. The district court also believed that the risk of improper

disclosures was premature because Mr. Pomerantz could assert

privileges during his appearance before the Committee. But in their brief

opposing relief below, the congressional defendants already staked out

the position that “all” privileges were “waived” by virtue of Mr.

Pomerantz’s book. (Dkt. No. 27 at 22. 2) And House regulations prevent



     2 “Dkt. No.” refers to the relevant docket entry in the district court
proceeding.


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the District Attorney’s Office from participating in the deposition and

preserving privileges. (Dkt. No. 32-21, at 2-3.) No remedy short of staying

the subpoena would suffice to protect the confidentiality mandated by

New York law here.

     The district court also took the view that the District Attorney had

waived any privileges that might apply to Mr. Pomerantz’s testimony by

his asserted inaction in response to the publication of his book. But far

from relinquishing any privileges, the District Attorney has diligently

sought to protect them, reminding Mr. Pomerantz of his obligations not

to disclose confidential or privileged information and requesting the

opportunity for prepublication review (which Mr. Pomerantz and his

publisher denied). (Compl. (Exh. 1) ¶ 102.) Mr. Pomerantz publicly

assured the District Attorney that he had complied with his obligations.

(Id. ¶ 90.) Mr. Pomerantz had no authority to waive privileges on behalf

of the District Attorney—as Mr. Pomerantz now agrees (Dkt. No. 30 at

4). See Merrill v. City of New York, 2005 WL 2923520, at *1 n.2 (S.D.N.Y.

Nov. 4, 2005) (“disclosure of such privileged information by a . . . former

employee would not constitute a waiver of the privilege by the employer”);

Blumenthal v. Drudge, 186 F.R.D. 236, 242 (D.D.C. 1999) (recognizing



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that a former government employee was not authorized to waive the

government’s privilege).

      Second, interrogating a former prosecutor about the District

Attorney’s decision-making process pertaining to a currently pending

criminal prosecution and ongoing criminal investigation necessarily risks

creating extra-judicial evidence and pre-judging legal issues—including

objections based on selective prosecution or the sufficiency of the

evidence—that will be raised and should be decided by a New York

judge. 3 It potentially creates prejudicial pretrial publicity that could,

among other obstacles, burden the jury-selection process or lead to the

postponement of any trial. See People v. Cahill, 2 N.Y.3d 14, 40 (2003);

People v. Boss, 261 A.D.2d 1 (1st Dep’t 1999); United States v. Simon, 664

F. Supp. 780, 793 (S.D.N.Y. 1987). And it would permit discovery

regarding Mr. Trump’s criminal prosecution to take place along parallel

tracks: one overseen by a New York judge under New York’s criminal

procedure law and subject to procedural and other protections, see

generally N.Y. Crim. Proc. Law Article 245; the other in congressional


      3 The judge presiding over the pending criminal matter has entered a
pretrial briefing schedule that will conclude in September and intends to issue
a decision by December 2023.


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hearings unconstrained by the rules of evidence and unburdened by any

protective orders that the New York judge may impose on the public

dissemination of discoverable materials, cf. N.Y. Crim. Proc. Law

§ 245.70.

     Third, the subpoena risks chilling decisions by prosecutors and

witness in the pending criminal prosecution that is the target of the

subpoena, as well as future investigations and proceedings. The Supreme

Court has acknowledged that “[a]buses of the investigative process” may

chill the exercise of First Amendment rights. Watkins v. United States,

354 U.S. 178, 197 (1957). The subpoena here threatens to have a similar

deterrent effect: prosecutors may hesitate to make certain decisions or

engage in “internal deliberations” that they fear will be subject to

immediate congressional scrutiny; witnesses may decline to cooperate

with the District Attorney’s Office or limit their public testimony to avoid

the opprobrium of having their credibility and character publicly

assailed; and even the state court judge, whose impartiality the

Committee has repeatedly impugned (see, e.g., Exh. 15 at 2; Exh. 7 at 3),

may be unduly influenced by the threat of being exposed to “public

stigma, scorn and obloquy,” Watkins, 354 U.S. at 197.



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     The offensive nature of such a deterrent effect on public

prosecutions is the reason that prosecutors (and judges) are absolutely

immune from civil suit: to ensure that the “the efficient, and just,

performance of the prosecutorial function” is not “chilled.” Harrison v.

New York, 2021 WL 1176146, at *4 (E.D.N.Y. Mar. 29, 2021) (quoting

Taylor v. Kavanagh, 640 F.2d 450, 452 (2d Cir. 1981). Prosecutorial

decision making must be “insulat[ed]”—and the law strives to protect a

prosecutor’s ability to “exercise[e] the independence of judgment required

by his public trust.” Flagler v. Trainor, 663 F.3d 543, 546–47 (2d Cir.

2011) (cleaned up); see also Imbler v. Pachtman, 424 U.S. 409, 422-34 &

n.20 (1976). The policy rationales underlying absolute immunity thus

underscore the significance of the harm that the District Attorney will

face without a stay.

     All of these injuries are heightened by the fact that the Committee

offers no assurances that Mr. Pomerantz’s testimony will remain

confidential. In fact, the Committee’s rules leave disclosure to the

Committee’s discretion, all but ensuring anything Mr. Pomerantz says

will soon make its way to the public. (Dkt. No. 32-21 at 3.) Indeed, the

very point of the deposition is to make information public, so that, as one



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Committee member put it, the Committee can “expose this so that in two

years, the American people . . . can get this right.” (Dkt. No. 12-21, 12-

22.)

       Finally, the Committee’s subpoena will cause irreparable injury to

New York’s dignitary interests. A state official “is not a minion” of the

federal government—rather, “he is an officer of the State . . . , carrying

out the duties imposed upon him by this office.” Illinois ex rel. Harris v.

Bd. of Govs. of the Fed. Reserve Sys., 751 F. Supp. 1323, 1331 (N.D. Ill.

1991). But the Committee’s subpoena would subordinate New York’s

sovereign    interests   to   the    federal   government’s—despite     the

Constitution’s strict policy of “no interference” with state officers

“charged with the duty of prosecuting offenders against the laws of the

State.” Younger v. Harris, 401 U.S. 37, 45 (1971). That injury to New

York’s sovereign dignity is irreparable as a matter of law. See Maryland

v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers); see also

Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018).

       Absent a stay, Mr. Pomerantz will be forced to attend a deposition

tomorrow morning, causing the attendant harms to the District Attorney

and the criminal justice process described here. Those harms cannot be



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undone by an eventual victory on the merits. “[I]ssuance of a stay is

warranted” to avoid imposing irreparable harm upon the stay applicant.

Garrison v. Hudson, 468 U.S. 1301, 1302 (1984) (Burger, C.J., in

chambers) (quoting In re Bart, 82 S. Ct. 675, 676 (1962) (Warren, C.J., in

chambers)). In Eastland v. United States Servicemen’s Fund, for example,

the D.C. Circuit stayed a congressional subpoena to the plaintiff’s bank

and noted that “[t]he decisive element in our action to grant a stay is

[that] unless a stay is granted this case will be mooted, and there is

likelihood, that irreparable harm will be suffered” by the applicant. U.S.

Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1256 (D.C. Cir. 1973); see

also Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 496-97 & nn. 9-

10 (1975) (noting that the Court of Appeals twice stayed enforcement of

the congressional subpoena pending further proceedings because “the

threat of irreparable injury if the subpoena were honored, and the

significant of the issues involved, necessitated . . . consideration and

deliberation”).

     2. By contrast, the congressional defendants cannot show that a

stay would “substantially injure” their interests. Nken, 556 U.S. at 426

(2009). The congressional defendants have identified no reason for



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urgency in taking Mr. Pomerantz’s deposition tomorrow, and no

immediate need for his testimony. There is no emergency that

accompanies Congress’s stated interest in developing a record of the

effectiveness of current laws for the purpose of considering new

legislation—much less an emergency that requires Mr. Pomerantz’s

deposition to proceed tomorrow, without appellate review—particularly

given the “time and difficulty of enacting new legislation.” Coal. for

Responsible Regulation, Inc. v. EPA, 2012 WL 6621785, at *22 (D.C. Cir.

2012) (Kavanaugh, J., dissenting from denial of rehearing en banc). And

there is no plausible claim that the consideration of new legislation

requires Mr. Pomerantz’s deposition to proceed tomorrow for the

separate reason that “legislative judgments normally depend more on the

predicted consequences of proposed legislative actions . . . than on precise

reconstruction of past events.” Senate Select Comm. on Presidential

Campaign Activities v. Nixon, 498 F.2d 725, 732 (D.C. Cir. 1974) (en

banc).

     Even if congressional defendants were to articulate, for the first

time in this litigation, a newly identified urgency for Mr. Pomerantz’s

testimony, any “interest” the congressional defendants may have “in



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receiving this information immediately . . . poses no threat of irreparable

harm.” John Doe Agency v. John Doe Corp., 488 U.S. 1306, 1309

(Marshall, J., in chambers). Rather, “[r]efusing a stay may visit an

irreversible harm on” the District Attorney, “but granting it will

apparently do no permanent injury to” the congressional defendants.

Philip Morris USA, Inc. v. Scott, 561 U.S. 1301, 1305 (2010) (Scalia, J.,

in chambers).

      Under comparable circumstances, Congress has routinely agreed

to, or courts have provided, sufficient time to allow for appellate review

of these weighty issues—including in the Deutsche Bank litigation in this

Circuit, 4 and in the Mazars litigation in the D.C. Circuit. 5 Despite


      4  See Order Setting Briefing Schedule on Mot. for Preliminary Inj.,
Trump v. Deutsche Bank AG, No. 1:19-cv-3826 (S.D.N.Y. May 1, 2019), ECF
No. 22 (“The House of Representatives has postponed the return date for the
subpoenas to the Defendants under seven (7) days after the District Court rules
on Plaintiffs’ motion for a preliminary injunction.”); Mem. in Support of Joint
Mot. to Expedite Appeal at 2, Trump v. Deutsche Bank AG, No. 19-1540 (2d Cir.
May 25, 2019), ECF No. 5-2 (requesting a schedule to brief the validity of
Congress’s subpoenas over approximately eight weeks, and representing that
“[i]f the Court grants this joint motion to expedite, the Committees, through
counsel for the House of Representatives, agree to suspend the time for
production set by the subpoenas during the pendency of this appeal”); Trump
v. Deutsche Bank AG, 140 S. Ct. 660 (2019) (granting stay pending further
order of the Court).
      5See Minute Order, Trump v. Committee on Oversight & Reform, No. 19-
1136 (D.D.C. Apr. 23, 2019) (“Intervenor-Defendant Committee on Oversight
                                                            (Continued…)

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consistently agreeing to this accommodation for years in litigation

related to the validity of congressional subpoenas, in this case the

congressional defendants—with no explanation—have refused the

District Attorney’s repeated requests for an adjournment of the

subpoena’s return date to permit expedited judicial review of the merits,

including from this Court. Where Congress has identified no emergency

requiring that Mr. Pomerantz’s deposition occur tomorrow, and where

Congress routinely acknowledges that orderly appellate review of its

subpoena authority is appropriate, congressional defendants cannot

show any injury to their interests—much less “substantial injury”—from

a stay to permit this Court’s review. Nken, 556 U.S. at 426.

      3. The public interest also weighs in favor of a stay. As explained

below in the discussion of the merits, the congressional defendants’

subpoena likely exceeds Congress’s authority and would upend bedrock




and Reform agrees to postpone the return date on its subpoena to Mazars USA,
LLP until seven days after the court rules on Plaintiffs' Motion for Preliminary
Injunction.”); Joint Mot. to Expedite Appeal at 2, Trump v. Mazars USA LLP,
No.19-5142 (D.C. Cir. May 22, 2019) (“If the Court grants this joint motion to
expedite, the Committee, through counsel for the House of Representatives,
agrees to suspend the time for production set by the subpoena during the
pendency of this appeal.”); Trump v. Mazars USA LLP, 140 S. Ct. 660 (2019)
(granting stay pending further order of the Court).


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principles of federalism that are an ineradicable part of our constitutional

structure. Preventing a violation of this constitutional principle serves

the public interest. See United States v. California, 921 F.3d 865, 893-94

(9th Cir. 2019); see also League of Women Voters v. Newby, 838 F.3d 1, 12

(2016) (“[t]here is generally no public interest in the perpetuation of

unlawful” federal action). Because “a healthy balance of power between

the States and the Federal Government will reduce the risk of tyranny

and abuse from either front,” Printz v. United States, 521 U.S. 898, 921

(1997), the public interest lies in granting a stay to review the

constitutional questions presented by the District Attorney’s appeal.

     In addition, given the unprecedented nature of Congress’s subpoena

to a former prosecutor to explore his views and involvement in an

investigation that is now the subject of an active state criminal

prosecution, permitting Mr. Pomerantz’s deposition to proceed with no

appellate consideration of the merits would upend a nationwide status

quo with no notice.

     State prosecutors have for centuries carried out their law

enforcement function on the understanding that charging decisions

would be subject to judicial review in the course of any prosecution—not



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subject to freewheeling congressional inquiry without the procedural and

evidentiary protections afforded under state law. See Younger, 401 U.S.

at 45; Watkins, 354 U.S. at 187. The district court’s view of Congress’s

subpoena authority would upend that status quo and open the floodgates:

any former or current prosecutors involved in any investigation or

prosecution of any criminal matter would be at risk of being summoned

to explain themselves before a congressional committee if they prosecute

violations of state law in cases disfavored by Members of Congress. Nor

would this incursion be limited to intruding on constitutional principles

of federalism; the extraordinarily broad scope congressional defendants

claim for their subpoena power would expose federal prosecutors no less

to the risk of being summoned to a committee of Congress to explain

investigative or charging decisions in any case Congress finds

noteworthy, threatening federal separation-of-powers principles as well.

A stay to permit careful appellate review of the district court’s

unprecedented decision is necessary to avoid immediate disruption of

this status quo.

     Finally, granting a stay would permit the parties an opportunity to

determine whether there is an accommodation that could address



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Congress’s stated oversight interests while respecting the District

Attorney’s sovereign obligation and authority to conduct state criminal

prosecutions and investigations without external interference. Cf. Trump

v. Mazars USA, LLP, 140 S. Ct. 2019, 2029-31 (2020) (noting that

disputes involving congressional efforts to seek Executive Branch

information     are    ordinarily     resolved      through      interbranch

accommodation). As noted above, the District Attorney previously offered

to address Congress’s stated interests by fully describing the Office’s use

of federal funds, and had asked for an opportunity to meet and confer

with Committee staff to determine whether further responses could

address any legitimate legislative purposes. (Exh. 6 at 5-6.) The

Chairman ignored that offer and subpoenaed Mr. Pomerantz instead,

forcing the District Attorney to bring this action to protect against

significant intrusion into a pending criminal case. Staying the deposition

subpoena and maintaining the status quo would permit the parties to

negotiate in good faith to determine whether an accommodation can be

reached. See, e.g., Joint Mot. to Dismiss Appeal, Comm. on the Judiciary

of the U.S. House of Representatives v. McGahn, No. 19-5331 (D.C. Cir.




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June 10, 2021) (appending an agreement on accommodation with respect

to the Committee’s subpoena to former White House Counsel).

                                POINT III

           THE DISTRICT ATTORNEY IS LIKELY TO
           SUCCEED ON THE MERITS

     The subpoena to Mr. Pomerantz, like the broader investigation

being conducted by the Judiciary Committee, was indisputably triggered

by a single criminal case: the District Attorney’s pending criminal

prosecution against Mr. Trump. The stated object of the subpoena and

investigation is to “prevent[]” this prosecution and “insulate” Mr. Trump

from criminal liability. The subpoena seeks confidential information that

New York law protects from public disclosure, or trial evidence whose

disclosure is carefully regulated by New York discovery laws under a

process overseen by the New York courts. And the congressional

defendants have made clear that they intend to use any information to

essentially litigate the merits of the pending criminal prosecution on Mr.

Trump’s behalf: by attacking the sufficiency of the evidence, questioning

the credibility of key witnesses, previewing legal defenses to the charges,




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and raising spurious concerns about the District Attorney’s political

motivations. 6

     The congressional defendants’ intervention in an ongoing local

criminal prosecution is unprecedented and unlawful. Congress has no

authority to direct the progress of a pending judicial proceeding; no

authority to regulate the enforcement of New York criminal law; and no

authority to engage in state law enforcement by supplanting a New York

judge and New York jury who will supervise the pretrial disclosure of

evidence to Mr. Trump (including from former employees like Mr.

Pomerantz), address any legal defenses that Mr. Trump may raise, and

ultimately assess the credibility of witnesses and the strength of evidence

at trial. Yet the subpoena here transparently seeks information from a

former employee—solely because of his role in an earlier stage of this

Office’s investigation—to help accomplish these illegitimate ends. The




     6  Because the subpoena lacks any valid legislative purpose, the
congressional defendants are not entitled to Speech or Debate immunity. Such
immunity presupposes that Congress’s “actions . . . fall within the sphere of
legitimate legislative activity.” Eastland v. U.S. Servicemen’s Fund, 421 U.S.
491, 501 (1975). The district court did “not resolve” whether Speech or Debate
immunity applies here. Dkt. 44, at 18.


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District Attorney is thus likely to prevail on his claim that the subpoena

is beyond Congress’s authority.

     A. The Subpoena Lacks Any Valid Legislative Purpose and
        Therefore Exceeds Congress’s Authority Under Article I.

     Although Congress’s subpoena power is broad, “it is not unlimited.”

Watkins, 354 U.S. at 187. “A congressional subpoena is valid only if it is

related to, and in furtherance of, a legitimate task of Congress”: that is,

it must “concern a subject on which legislation could be had.” Mazars,

140 S. Ct. at 2031. Here, the Judiciary Committee’s subpoena is unlawful

and unenforceable because Congress lacks any “valid legislative purpose”

to regulate or oversee the District Attorney’s pending criminal

prosecution and ongoing investigation of Mr. Trump. Id. at 2031. Indeed,

congressional intervention on this subject would contravene three closely

related limitations on federal legislative power.

     First, as the Supreme Court held more than 140 years ago,

Congress may not deploy its subpoena power to “interfere with” a case

“pending in a court of competent jurisdiction.” Kilbourn v. Thompson, 103

U.S. 168, 194 (1881). In Kilbourn, a witness challenged a House subpoena

for documents and testimony relating to a company in bankruptcy

proceedings where the United States was a creditor. Because the


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litigation was still pending in the Eastern District of Pennsylvania, the

Court held that the House’s inquiry into the circumstances of the

bankruptcy “was in its nature clearly judicial,” id. at 192, and “therefore

one in respect to which no valid legislation could be enacted,” Watkins,

354 U.S. at 194—even though the federal government plainly had a

pecuniary interest in the litigation.

     Here, as in Kilbourn, the subpoena unquestionably seeks

information about a case that is “pending in a court of competent

jurisdiction,” 103 U.S. at 194. The first line of the April 6 letter to Mr.

Pomerantz explains that the Judiciary Committee “is conducting

oversight of the New York County District Attorney’s unprecedented

indictment of a former President”—then repeats the Committee’s

objective to conduct “oversight” of this prosecution no less than eight

more times. (Exh. 15 at 1.) That explicit purpose is consistent with the

Committee’s earlier threat to conduct “an examination of the facts”

involving this specific case (Exh. 7 at 3), including, as to Mr. Pomerantz,

his knowledge about “internal deliberations” and the District Attorney’s

motivations leading up to the indictment (Exh. 15 at 5). And the co-

signatories to Chairman Jordan’s letters have been even more explicit:



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for example, the Chairman of the House Committee on Oversight and

Accountability announced that the House intended to force the District

Attorney to “come explain to us exactly what he’s investigat[ing].”

(Compl. (Exh. 1) ¶ 60.) But the lesson of Kilbourn is that Congress does

not sit to superintend the work of the courts.

      Kilbourn involved a pending federal proceeding. The Court’s

concerns about congressional interference with judicial proceedings are

even more pronounced when, as here, the pending proceeding is in front

of a state court. “Federal interference with state proceedings, because it

necessarily presumes that state court review will be inadequate, affronts

the dignity of the state sovereign.” Diamond “D” Const. Corp. v.

McGowan, 282 F.3d 191, 200 (2d Cir. 2002). And “[f]ederal intrusions into

state criminal trials” more specifically “frustrate . . . the States’ sovereign

power to punish offenders.” Engle v. Isaac, 456 U.S. 107, 128 (1982).

Indeed, the “oversight” that the Committee has promised to pursue here,

including through its subpoena to Mr. Pomerantz, is simply the

congressional version of an “ongoing federal audit of state criminal

proceedings” that the federal judiciary is barred from conducting. O’Shea

v. Littleton, 414 U.S. 488, 500 (1974). By contrast, leaving state courts



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free to adjudicate the matters before them without federal interference

“reaffirms the competence of the state courts and acknowledg[es] the

dignity of states as co-equal sovereigns in our federal system.” Spargo v.

New York State Comm’n on Jud. Conduct, 351 F.3d 65, 75 (2d Cir. 2003)

(quotation marks omitted).

     Second, Congress has no authority to regulate New York’s

enforcement of its own criminal law. “Under our federal system, the

States possess primary authority for defining and enforcing the criminal

law.” Lopez, 514 U.S. at 561 n.3. “Indeed, we can think of no better

example of the police power, which the Founders denied the National

Government and reposed in the States, than the suppression of . . . crime

and vindication of its victims.” United States v. Morrison, 529 U.S. 598,

618 (2000).

     The subpoena transgresses this limitation as well by seeking to

raise questions about state criminal law that are outside of Congress’s

legislative authority. From the outset, Chairman Jordan’s letters have

assailed the “novel and untested legal theory” purportedly underlying the

prosecution, questioned the District Attorney’s choice to bring felony

rather than misdemeanor charges, and raised potential affirmative



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defenses under New York law on behalf of Mr. Trump, such as the statute

of limitations. (Exh. 3 at 2; Exh. 7 at 1.) The Committee’s letters to Mr.

Pomerantz have sounded the same theme, asking for Mr. Pomerantz’s

views on the prosecution’s “tenuous and untested legal theory” (Exh. 4 at

2) and his recounting of “internal deliberations” about the pending case

(Exh. 15 at 3). But the “legal theory” underlying the pending prosecution

of Mr. Trump implicates quintessential state-law issues that Congress

simply has no power to countermand. Because the power to enforce state

criminal law is “an attribute of state sovereignty reserved by the Tenth

Amendment, it is necessarily a power the Constitution has not conferred

on Congress,” New York v. United States, 505 U.S. 144, 156 (1992); see

also Gregory v. Ashcroft, 501 U.S. 452, 461 (1991) (recognizing Congress

cannot “readily interfere” where states “retain substantial sovereign

powers”).

     Third, and relatedly, Congress may not issue a subpoena “for the

purpose of ‘law enforcement’”—such as to adjudicate whether someone

has engaged in “‘any crime or wrongdoing.’” Mazars, 140 S. Ct. at 2032

(quoting McGrain v. Daugherty, 273 U.S. 135, 179 (1927)); see also

Kilbourn, 103 U.S. at 182 (“An act of Congress which proposed to adjudge



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a man guilty of a crime and inflict the punishment, would be conceded by

all thinking men to be unauthorized by anything in the Constitution.”).

Yet the subpoena here avowedly seeks to prejudge and dictate the

outcome of the state criminal proceeding. The letter to Mr. Pomerantz

openly announces the Committee’s objective of “preventing politically

motivated prosecutions of current and former Presidents by elected state

and local prosecutors” (Exh. 15 at 1-2), consistent with the Committee’s

earlier pronouncement of its intent to “insulate former and current

Presidents” from such prosecutions (Exh. 7 at 8). Thus, as in Kilbourn,

the subpoena is “clearly judicial” in nature because its purpose is to

second guess the merits of New York’s pending case against Mr. Trump

and shield him from state criminal liability. 103 U.S. at 192.

     The district court stated that it would not “passively accept” the

District Attorney’s argument that the subpoena would “undermine and

obstruct New York’s criminal case against Mr. Trump” or “presume” that

the Committee had ulterior motives for calling Mr. Pomerantz to testify.

(Exh. 11 at 13.) But the District Attorney never asked the district court

to speculate about the Committee’s “real motivations.” (Id.) The

Committee stated in the letter enclosing the subpoena it sought to depose



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Mr. Pomerantz for the purpose of “conducting oversight of the New York

County District Attorney’s unprecedented indictment of a former

president.” Superintending an active state criminal prosecution is not a

valid legislative purpose. See Watkins, 354 U.S. at 187, 198 (“Nor is the

Congress a law enforcement or trial agency.”).

     The Committee’s aim to be the judge of Mr. Trump’s liability for the

state-law criminal charges against him is made especially plain by the

fact that the Committee’s letters to the District Attorney’s Office and to

Mr. Pomerantz have repeatedly previewed factual and legal defenses

that Mr. Trump may raise, inside information to support those defenses.

For example, the Committee has repeatedly raised factual objections to

the indictment, such as by impugning the “credibility” of the state’s “star

witness” (Exh. 3 at 2). And it has asserted that there are legal deficiencies

to the charges and potential affirmative defenses, such as the repeated

claim that the prosecution is “politically motivated” (Exh. 15 at 3), cf.

People ex rel. James v. Trump Org., Inc., 205 A.D.3d 625, 626 (1st Dep’t

2022) (describing state-law defense of selective prosecution). To support

these defenses, the letter enclosing the subpoena expressly asks Mr.

Pomerantz to disclose “internal deliberations” about the strengths and



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weaknesses of the pending prosecution and to reveal not only his own but

also the District Attorney’s supposed political motivations. (Exh. 15 at 3-

4.) This open effort to support Mr. Trump’s factual and legal defenses in

an ongoing state criminal proceeding improperly intrudes on the

sovereign prerogative of the New York judiciary and a New York jury and

falls well outside Congress’s legislative authority. See Sinclair v. United

States, 279 U.S. 263, 295 (1929) (“Congress is without authority to compel

disclosures for the purpose of aiding the prosecution of pending suits.”),

overruled on other grounds by United States v. Gaudin, 515 U.S. 506

(1995); cf. Younger v. Harris, 401 U.S. 37, 44 (1971) (abstention doctrine

“prevent[s] erosion of the role of the jury and avoid[s] a duplication of

legal proceedings and legal sanctions”).

     The district court’s refusal to consider the Committee’s own

statements of purpose, made in official communications to the District

Attorney’s Office and in the letter enclosing Mr. Pomerantz’s subpoena,

is reason enough for granting an injunction pending appeal or a stay of

the return date. Congress lacks authority to interfere with active judicial

proceedings. Those limits on its subpoena power would be eviscerated if




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federal courts were required to ignore the Committee’s own professed

reasons for compelling a witness’s testimony.

     B. The Committee’s Purported Legislative Interests Do Not
        Justify a Subpoena to a Former Employee regarding His
        Knowledge of a Pending Investigation.

     The congressional defendants dispute that the purpose of the

subpoena is to interfere with the pending state criminal prosecution.

Instead, they point to several asserted legislative interests that

supposedly justify their request for information from Mr. Pomerantz.

Even assuming that these legislative interests are genuine, none of them

support the current subpoena.

     First, the Committee claims that it is considering legislation to

“insulate    current    and    former    Presidents”    from    state     criminal

prosecutions for “personal acts” unrelated to their conduct in office. (Exh.

15, at 2.) But the States’ exclusive sovereign authority to enact local

criminal laws means that Congress lacks the power to exempt former

presidents—that is, private citizens—from the reach of such laws.

Moreover, former presidents have no inherent immunity from state law.

“[E]very President takes office knowing that he will be subject to the

same laws as all other citizens upon leaving office.” House Comm. on



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Ways & Means v. U.S. Dep’t of Treasury, 45 F.4th 324, 338 (D.C. Cir.

2022). Mr. Trump himself has acknowledged that “state grand juries are

free to investigate a sitting President with an eye toward charging him

after the completion of his term.” Trump v. Vance, 140 S. Ct. 2412, 2426–

27 (2020). “This is a feature of our democratic republic, not a bug.” Ways

& Means, 45 F.4th at 338. Because Congress’s “power to investigate”

extends only as far as its “power to enact” appropriate legislation,

Eastland, 421 U.S. at 504–06 & n.15, the congressional defendants

cannot support the subpoena by referring to purported criminal

legislation that Congress would be without power to enact.

     Second, the Committee claims to be considering legislation “to

enhance reporting requirements” about federal funds that local law

enforcement officials use “to investigate a current or former President or

presidential candidate.” (Exh. 15, at 2.) But that purported legislative

interest is simply not served by the subpoena here. See McPhaul v.

United States, 364 U.S. 372, 381 (1960) (recognizing that a congressional

subpoena cannot be “plainly incompetent or irrelevant to any lawful

purpose”).




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     For one thing, Mr. Pomerantz has sworn that he lacks “any

personal knowledge of the District Attorney’s Office’s use of federal

forfeiture funds, including the use of any such funds during [his] tenure

at the Office.” (Dkt. No. 31 ¶ 4.) Moreover, the District Attorney’s general

counsel has already provided the Committee with detailed information

about the Office’s limited use of federal funds, and offered to meet and

confer about disclosing more of the same. The information already turned

over has shown, as relevant here, that (a) the District Attorney’s Office

spent approximately $5,000 in federal forfeiture funds on matters related

to Mr. Trump or the Trump Organization, the overwhelming majority of

which went to the costs of litigating the U.S. Supreme Court case Trump

v. Vance, 140 S. Ct. 2412; and that (b) “[n]o expenses incurred relating to

this matter [i.e., the criminal prosecution] have been paid from funds that

the Office receives through federal grant programs.” (Exh. 159, at 4.) Mr.

Pomerantz simply has no information germane to federal funding that he

was wholly unaware of, that barely affected a criminal investigation that

did not result in an indictment, and that did not affect the criminal

investigation that did result in an indictment.




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     Third, the Committee purports to be considering legislation to

remedy a “potential conflict” between “federal law-enforcement officials

required by federal law to protect the former President” and “local law-

enforcement officials required to enforce an indictment” and secure his

presence during criminal proceedings. (Exh. 15 at 2.) There is no basis

whatsoever to believe that Mr. Pomerantz has relevant knowledge about

security arrangements by federal or state officials, let alone specific to

the arrangements made during Mr. Trump’s arraignment on April 4,

2023 (Compl. (Exh. 1) ¶¶ 92-93), which took place more than a year after

Mr. Pomerantz had resigned. The subpoena to Mr. Pomerantz is thus

“plainly incompetent or irrelevant” to this legislative purpose. McPhaul,

364 U.S. at 381.

     Finally, the Committee purports to be interested in the

“complicated question” of what “effect, if any, . . . potential criminal

prosecutions may have on Presidents while serving office.” (Dkt. No. 27

at 16; see also Exh. 15 at 2.) For example, the Committee asks if a

President may “have an incentive to refrain from making decisions” while

in office “as a way of guarding against future criminal liability.” (Dkt. No.

27 at 16.) But it is difficult to understand how Mr. Pomerantz, who has



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never been President or worked for one, could meaningfully inform the

Committee about presidential decision-making. And there is no plausible

connection between Mr. Pomerantz’s knowledge of the “internal

deliberations” of the District Attorney’s Office (Exh. 15 at 3) and the

completely separate and confidential deliberations that take place in the

White House. See United States v. Nixon, 418 U.S. 683, 708 (1974). If the

Committee is genuinely interested in legislating on this question, the

appropriate witness would be Mr. Trump, not Mr. Pomerantz.

     The congressional defendants’ purported legislative interests thus

do not support the subpoena here. But these asserted interests are also

inadequate as a defense to the subpoena for a more fundamental reason:

they simply do not account for much of the information that the

Committee wishes to elicit from Mr. Pomerantz. The Committee has

sought Mr. Pomerantz’s testimony because of his “unique role as a special

assistant district attorney leading the investigation into President

Trump’s finances” (Exh. 15 at 2)—not because of his expertise in criminal

prosecution generally, corporate security, or presidential decision-

making. And the Committee has asked Mr. Pomerantz about “internal

deliberations” he may have witnessed regarding the evidence and legal



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basis for the current criminal charges against Mr. Trump (Exh. 15 at 3)—

deliberations that have nothing do with federal funding, and that have

no bearing on any “current and former President[]” (id. at 2) aside from

Mr. Trump. There is thus a serious mismatch between the Committee’s

purported interest in hypothetical general legislation and the actual

interrogation they intend to conduct about Mr. Pomerantz’s knowledge

of and participation in a specific criminal case against a single individual.

     Thus, the hypothetical legislation proposed by the Committee is, at

best, a radically incomplete justification of their authority to compel Mr.

Pomerantz specifically to appear and to testify about the particular

subjects previewed in the Committee’s letters. This mismatch

underscores the importance of taking the Committee at its word that, as

Chairman Jordan announced in his very first letter, the driving force

behind this investigation is to halt a state criminal prosecution that the

congressional defendants judged from the outset to be unfounded and

“politically motivated” (Exh. 3 at 1)—not to solicit the views of subject-

matter experts on general matters of congressional interest. Thus,

notwithstanding     the    congressional     defendants’     litigation-driven

arguments, this Court should not “blind” itself to “what all others can



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see”: the subpoena to Mr. Pomerantz is not “a run-of-the-mill legislative

effort,” Mazars, 140 S. Ct. at 2034, but rather an extraordinary

intervention into a specific state criminal proceeding in support of a

single defendant. The legitimacy of the subpoena should thus be assessed

against this overt objective of the Committee’s exercise of its oversight

powers.

     C. The Subpoena Does Not Survive the Heightened Scrutiny
        Imposed by Mazars.

     Even assuming that there were a valid legislative purpose for Mr.

Pomerantz’s testimony, the subpoena would still be invalid because the

Committee has not come close to satisfying the heightened standard of

review that Trump v. Mazars prescribes for congressional subpoenas

implicating “a clash between rival branches of government.” 140 S. Ct. at

2034. That standard requires Congress to tailor its demand to a valid

legislative purpose and avoid unduly burdening other branches of

government with requests for information that could be obtained from

other sources. Id. at 2035–36. The Judiciary Committee’s subpoena to

Mr. Pomerantz fails this test.

     As a threshold matter, the congressional defendants dispute

whether Mazars applies here and essentially seek to limit that case to


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disputes between Congress and the Executive Branch. (Dkt. No. 27 at 15;

see Exh. 11 at 14.) There is no basis to read Mazars so narrowly. Although

Mazars was motivated by the “significant separation of powers issues”

raised by the inter-branch dispute at issue there, the federalism concerns

raised by the subpoena here are at least as weighty, and thus require the

same “careful analysis” into the congressional defendants’ asserted

interest and appropriate respect for the District Attorney’s sovereign law

enforcement powers. Id. at 2033, 2035; see, e.g., Bond v. United States,

564 U.S. 211, 223-24 (2011) (recognizing importance of both separation

of powers and federalism in protecting individual liberty); Gregory v.

Ashcroft, 501 U.S. 452, 458 (1991) (“Just as the separation and

independence of the coordinate branches of the Federal Government

serve to prevent the accumulation of excessive power in any one branch,

a healthy balance of power between the States and the Federal

Government will reduce the risk of tyranny and abuse from either

front.”). Even the district court recognized the “potential federalism

concerns” implicated in this case. (Exh. 11 at 7.) Mazars should not apply

any differently “merely because vertical [federalism] rather than




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horizontal separation of powers is at issue.” LaRoque v. Holder, 650 F.3d

777, 792 (D.C. Cir. 2011).

     Indeed, given the strength of the federalism interests here, there

would be a sound basis for this Court to apply the “more demanding

standard” from Nixon, 418 U.S. 683—requiring Congress to establish a

“demonstrated, specific need,” id. at 713, or proof that the requested

information is “demonstrably critical” to a legislative purpose, Senate

Select Comm. on Presidential Campaign Activities v. Nixon, 498 F.2d 725,

731 (D.C. Cir. 1974) (en banc). The Supreme Court declined to apply this

standard in Mazars because the financial information the House

requested there involved “nonprivileged, private information, which by

definition does not implicate sensitive Executive Branch deliberations.”

140 S. Ct. at 2033. Here, by contrast, and as explained further below, the

subpoena necessarily requests privileged information, including grand-

jury matters that New York law requires to be kept secret, and

confidential communications or materials that are protected by attorney-

client, work-product, or other privileges. The analysis conducted in

Mazars is thus, at most, a baseline standard that the Committee’s

subpoena here must satisfy (and does not). In applying the Mazars



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framework, this Court can and should follow Nixon and give appropriate

weight to the more significant public and sovereign interests implicated

by the information requested by the Committee here.

     Mazar’s “careful analysis” involves four factors. Mazars, 140 S. Ct.

at 2035. Courts must (1) “carefully assess whether the asserted

legislative purpose warrants the significant step of involving the

President and his papers,” including by asking whether “other sources

could reasonably provide Congress the information it needs”; (2) “insist

on a subpoena no broader than reasonably necessary to support

Congress’s legislative objective”; (3) “be attentive to the nature of the

evidence offered by Congress to establish that a subpoena advances a

valid legislative purpose”; and (4) “assess the burdens imposed . . . by a

subpoena.” Id. at 2035–36. All four factors weigh against the subpoena

here—so much so, in fact, the congressional defendants’ opposition brief

below did not even contest whether the subpoena meets the four factors.

     The Judiciary Committee’s subpoena fails the first Mazars factor

because its “asserted legislative purpose” does not justify the “significant

step” of deposing a former state prosecutor about a pending criminal case

and ongoing criminal investigation, and information is available to the



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Committee through other, less intrusive alternatives. 140 S. Ct. at 2035.

For the reasons explained above, the Judiciary Committee has no valid

legislative basis to obstruct, second-guess, or otherwise interfere with the

state’s criminal case, and no authority to immunize former presidents

from state criminal liability. As also explained, the other legislative

interests identified by the Committee have little to nothing to do with

Mr. Pomerantz, and the Committee has many alternative sources of

information about federal funding, courtroom security, presidential

decision-making, and the like.

      Even if the congressional defendants could demonstrate that Mr.

Pomerantz’s testimony may be relevant to some hypothetical legislative

interest (and they cannot), Congress is not entitled to “every scrap of

potentially relevant evidence” in crafting legislation. Mazars, 140 S. Ct.

at 2036. Nor is Congress entitled to use a pending criminal prosecution

as “a ‘case study’ for general legislation.” Id. at 2036. Particularly in light

of the inevitable burdens that will be imposed on the pending criminal

prosecution by any ongoing congressional investigation into the

motivations and justifications for that prosecution, the Committee has

not established a need—let alone a “demonstrated, specific need,” Nixon,



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418 U.S. at 713—to have Mr. Pomerantz specifically testify about the

inner workings of a criminal investigation.

     The subpoena also fails the second Mazars factor because it is

“broader than reasonably necessary to support Congress’s legislative

objective.” 140 S. Ct. at 2036. The purported legislative interests

identified by the Committee have essentially nothing to do with the most

significant categories of information that the Committee has requested

from Mr. Pomerantz: his knowledge of the “internal deliberations” within

and “decision-making process” of the District Attorney’s Office, his

personal animosity toward Mr. Trump, and so on. Rather than

identifying topics (or, for that matter, witnesses) more germane to its

purported legislative interests, the Committee instead demands

testimony from a former employee of the District Attorney’s Office that

bears most directly on the Committee’s stated but forbidden purpose of

halting the state criminal action against Mr. Trump.

     The subpoena fails the third Mazars factor because the Committee

has offered little to no “evidence” that its demand to Mr. Pomerantz

“advances a valid legislative purpose.” 140 S. Ct. at 2036. In cases like

this one implicating substantial federalism or separation of powers



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concerns, Mazars requires strong proof of a valid legislative objective—

“[t]he more detailed and substantial the evidence . . . the better.” Id. Yet

the legislative record is bereft of any evidence that would support the

need for the legislation hypothesized by the Committee. For example,

although the Committee refers to “potential conflict” between federal and

local officials providing security to a former President (Ex. 1 at 2), there

was no evidence of any such conflict during Mr. Trump’s arraignment

(Compl. ¶ 92). The Committee has also failed to establish how Mr.

Pomerantz’s testimony might advance its legislative agenda, given his

ignorance over matters such as federal funding and presidential decision-

making. By contrast, the information that the Committee has requested

from Mr. Pomerantz about his knowledge of the internal deliberations in

and decision-making process of the District Attorney’s Office could

meaningfully interfere with the pending criminal prosecution. The

Committee has thus failed to “adequately identif[y] its aims” or explain

why Mr. Pomerantz’s “information will advance its consideration of . . .

possible legislation.” Mazars, 140 S. Ct. at 2036.

     Finally, the subpoena fails the fourth Mazars factor because it

would substantially burden both the New York criminal justice system



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and the District Attorney’s Office as it prepares for Mr. Trump’s criminal

trial. 140 S. Ct. at 2036. As explained above in the discussion of

irreparable injury, the Committee’s subpoena threatens to reveal

confidential information; to interfere with ongoing pretrial procedures,

including discovery; to chill actions by prosecutors and witnesses in this

case and other ongoing and future investigations; and to create

prejudicial pretrial publicity. These burdens would be inherent in any

parallel congressional investigation of a pending state criminal action,

but they are heightened here when the Committee’s explicit and primary

target is the state criminal proceeding itself, including the prosecutors,

witnesses, and judge involved in it.

     Mazars itself underscores the distinctive harm of such burdens

from a congressional subpoena. As the Supreme Court noted in Mazars,

the supposed federal interest identified by the Congressional defendants

here—the protection of current and former Presidents from state

criminal process—is not sufficiently weighty to override the states’

sovereign interest in enforcement of its criminal laws. 140 S. Ct. at 2026.

Indeed, on the same day that Mazars was decided, the Court allowed this

Office to proceed with a criminal subpoena involving then-President



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Trump, and rejected any “heightened need standard” for the District

Attorney to obtain that information. Vance, 140 S. Ct. at 2429. But

Mazars drew a sharp line between a request for “the President’s

information . . . sought . . . by prosecutors . . . in connection with a

particular judicial proceeding,” and a request by several House

committees for the same information, and imposed a heightened

standard of judicial scrutiny only on the latter. Mazars, 140 S. Ct. at

2026, 2035-36. In other words, Mazars (in conjunction with Vance) has

already recognized the distinctive harms posed by House subpoenas that

trigger inter-governmental conflicts, and contrasted those harms with

the absence of any comparably significant burden from the enforcement

of state criminal laws even against a sitting President. That finding

further weighs in favor of a stay of the subpoena here.




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                             CONCLUSION

     This Court should grant the District Attorney’s application for an

interim administrative stay and a stay pending appeal.

Dated: April 19, 2023                  Respectfully Submitted,

                                       ALVIN L. BRAGG, JR.
                                       District Attorney
                                       New York County

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                 CERTIFICATE OF COMPLIANCE
Pursuant to Rules 27 and 32 of the Federal Rules of Appellate Procedure,
Steven C. Wu, an employee in the New York County District Attorney’s
Office, hereby certifies that according to the word count feature of the
word processing program used to prepare this document, the document
contains 10,412 words and complies with the typeface requirements and
length limits of Rules 27(d) and 32(a)(5)-(6).


                                             /s/ Steven C. Wu
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             Exhibit 1
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 ALVIN L. BRAGG, JR., in his official capacity as
 District Attorney for New York County,

 Plaintiff,

       v.

 JIM JORDAN, in his official capacity as Chairman of the
 Committee on the Judiciary; COMMITTEE ON THE
 JUDICIARY OF THE UNITED STATES HOUSE OF                           Case No.     23-cv-3032
 REPRESENTATIVES; and MARK F. POMERANTZ,

 Defendants.


                                       INTRODUCTION

        1.     Plaintiff District Attorney Alvin L. Bragg, Jr. brings this action in response to an

unprecedently brazen and unconstitutional attack by members of Congress on an ongoing New

York State criminal prosecution and investigation of former President Donald J. Trump.

Beginning on March 20, 2023, Representative Jim Jordan, Chairman of the House Committee on

the Judiciary (the “Committee”), began a transparent campaign to intimidate and attack District

Attorney Bragg, making demands for confidential documents and testimony from the District

Attorney himself as well as his current and former employees and officials. Two days after Mr.

Trump was arraigned on 34 felony counts in New York State Supreme Court, Chairman Jordan

and the Committee served a subpoena on Mark Pomerantz, a former Special Assistant District

Attorney who participated in an investigation of Mr. Trump and his businesses. The subpoena

seeks to compel Mr. Pomerantz to testify in a deposition on April 20, 2023. Chairman Jordan’s

demands, including his subpoena to Mr. Pomerantz, seek highly sensitive and confidential local

prosecutorial information that belongs to the Office of the District Attorney and the People of New

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York. Basic principles of federalism and common sense, as well as binding Supreme Court

precedent, forbid Congress from demanding it.

       2.      Congress has no power to supervise state criminal prosecutions. Nor does Congress

have the power to serve subpoenas “for the personal aggrandizement of the investigators or to

punish those investigated.” Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2032 (2020) (quoting

Watkins v. United States, 354 U.S. 178, 187 (1957)) (internal quotation marks omitted). Yet that

is precisely what Chairman Jordan is trying to do. He and his allies have stated they want the

District Attorney to come to Capitol Hill to “explain” himself and to provide “a good argument”

to Congress in support of his decision to investigate and prosecute Mr. Trump. And they have

threatened that the House of Representatives will “hold Alvin Bragg . . . to account” for indicting

Mr. Trump. Now, Chairman Jordan has subpoenaed one of the District Attorney’s former Special

Assistants to interrogate him about his official prosecutorial activities. But subpoenaing a former

line prosecutor to talk about an ongoing criminal prosecution and investigation is no less of an

affront to state sovereignty than subpoenaing the District Attorney himself. Chairman Jordan

claims he is seeking to conduct “oversight.” But he has no power under the Constitution to oversee

state and local criminal matters. By definition, then, he has no legitimate legislative purpose for

issuing this subpoena. The subpoena threatens the sovereign powers of the States, confidence in

the secrecy of grand jury proceedings, and the integrity of an ongoing criminal prosecution. This

Court should enjoin its enforcement.

       3.      The Constitution “with[held] from Congress a plenary police power,” United States

v. Lopez, 514 U.S. 549, 566 (1995), which “is controlled by 50 different States instead of one

national sovereign,” Nat’l Fed. of Indep. Bus. v. Sebelius, 567 U.S. 519, 536 (2012); accord United

States v. Morrison, 529 U.S. 598, 618 (2000). “[P]rimary authority” “for defining and enforcing



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the criminal law” is vested in the States. Lopez, 514 U.S. at 561 n.3. That division of authority

requires that “[o]rdinarily” there should “be no interference with [state] officers,” who are

“charged with the duty of prosecuting offenders against the laws of the State and must decide when

and how this is to be done.” Younger v. Harris, 401 U.S. 37, 45 (1971). “Federal intrusions into

state criminal trials frustrate both the States’ sovereign power to punish offenders and their good-

faith attempts to honor constitutional rights.” Engle v. Isaac, 456 U.S. 107, 128 (1982).

        4.      The charges the District Attorney filed against Mr. Trump were approved by

citizens of New York. They did their civic duty as members of a grand jury pursuant to the federal

Constitution and laws of the State of New York. Like any other defendant, Mr. Trump is entitled

to challenge these charges in court. He can avail himself of all the processes and protections that

New York State’s robust criminal procedure affords.

        5.      But rather than allowing the criminal process to proceed in the ordinary course,

Chairman Jordan and the Committee are participating in a campaign of intimidation, retaliation,

and obstruction. Mr. Trump in particular has threatened New York officials with violent and racist

vitriol. At a March 25, 2023 rally, for instance, Mr. Trump stated that “the thugs and criminals

who are corrupting our justice system will be defeated, discredited, and totally disgraced.”1 On

social media, he threatened “death & destruction” and to wage “war” if he was indicted. Mr.

Trump also called District Attorney Bragg a “SOROS BACKED ANIMAL”—a dog whistle

Chairman Jordan repeated on television on March 23, 2023, calling District Attorney Bragg “the

Soros-backed, new DA, left-wing DA Alvin Bragg.”2 Mr. Trump even shared a social media post



1
    Julia Shapero, Trump vows to remove ‘thugs and criminals’ from justice system at rally, amid legal woes, The
    Hill (Mar. 25, 2023), https://thehill.com/homenews/campaign/3918390-trump-vows-to-remove-thugs-and-
    criminals-from-justice-system-at-rally-amid-legal-woes/.
2
    The Art of Not Being Indicted with Rep. Jim Jordan, The Charlie Kirk Show (Mar. 23, 2023),
    https://omny.fm/shows/the-charlie-kirk-show/the-art-of-not-being-indicted-with-rep-jim-jordan.

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that appeared to be a picture of himself threateningly wielding a baseball bat to District Attorney

Bragg’s head.




        6.      These statements have had a powerful effect. District Attorney Bragg has received

multiple death threats. In one instance, he received a package containing suspicious white powder

with a note making a specific death threat against him. Since Mr. Trump falsely predicted he

would be arrested on March 18, 2023, in fact, the District Attorney’s Office has received more

than 1,000 calls and emails from Mr. Trump’s supporters, many of which are threatening and

racially charged. But rather than denounce efforts to vilify and denigrate the District Attorney and

the grand jury process, House Republicans are participating in those efforts.3

        7.      Chairman Jordan, along with other congressmen, have made no secret that the

purpose of the Committee’s inquiry is to “conduct oversight” and undertake an “examination of

the facts” supporting the indictment—the same facts already evaluated by an independent grand


3
    Annie Grayer et al., Inside the Backchannel Communications Keeping Donald Trump in the Loop on Republican
    Investigations, CNN (Mar. 28, 2003), https://www.cnn.com/2023/03/28/politics/trump-gop-investigations-
    backchannel/index.html.

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jury of New Yorkers—and to hold the District Attorney “to account.” Chairman Jordan and the

Committee have, in essence, appointed Congress as a super grand jury that can flex its subpoena

power to second guess the judgment of New York citizens and interfere with the state criminal

justice process.    In his letters and public statements, however, Chairman Jordan and his

congressional allies have changed their story multiple times, creating as it suits them a scattershot

hodgepodge of new purported legislative interests and purposes that supposedly justify the

Committee’s unwarranted “incursion” into a state criminal case. Printz v. United States, 521 U.S.

898, 920 (1997). Each of these is a baseless pretext for hauling Mr. Pomerantz to Washington for

a retaliatory political circus designed to undermine the rule of law and New York’s police power.

And in cases like this one implicating “substantial” federalism or separation of powers concerns,

the Supreme Court’s decision in Mazars requires the federal courts to probe Congress’s asserted

purposes for pretext and evidence. 140 S. Ct. at 2036. The Chairman has also admitted that

subpoenaing Mr. Pomerantz is only the first step of his subpoena strategy. As Chairman James

Comer of the House Committee on Oversight and Accountability put it, Mr. Trump’s allies in the

House “fully expect to see Alvin Bragg answering questions in front of Congress as soon as [they]

can make it happen.”4

        8.      Members of Congress are not free to invade New York’s sovereign authority for

their or Mr. Trump’s political aims. Congress has no authority to “conduct oversight” into District

Attorney Bragg’s exercise of his duties under New York law in a single case involving a single

defendant. Nor can Congress force a former prosecutor to make extrajudicial statements during a

criminal prosecution about that prosecution or related criminal investigations—statements that the


4
    Luke Broadwater and Jonathan Swan, Republicans Vowed to Grill Bragg About Trump, but It’s Not So Simple,
    N.Y. Times (Apr. 5, 2023), https://www.nytimes.com/2023/04/05/us/politics/house-republicans-bragg-
    subpoena-trump.html#:~:text=%E2%80%9CWe%20do%20want%20Mr.%20Bragg,not%20going%20to%20
    back%20down.%E2%80%9D.

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New York Rules of Professional Conduct forbid, in part, because they could prejudice Mr.

Trump’s right to a fair trial and prompt due process concerns. See N.Y.R. Prof. Cond. Rule 3.6;

see also Powers v. Coe, 728 F.2d 97, 105 (2d Cir. 1984). Compelling Mr. Pomerantz to provide

this type of testimony is unprecedented. As one former counsel for the House and legal scholar

explained in testimony provided to Congress itself:

                 [T]here hasn’t been a subpoena enforcement against a state attorney
                 general in 200 years . . . and there’s an excellent reason. State
                 Attorneys General have their own state sovereign authority. They
                 are frequently elected. They have their own base, their own electoral
                 base, their own mission, and their mission is to pursue things that
                 Congress can’t.5

        9.       Mr. Trump is free to avail himself of any and all criminal procedure processes

available to him. Indeed, his motions in his criminal case are due in August. If he wishes to argue

that his prosecution is “politically motivated,” he is free to raise that concern to the New York state

criminal court. Chairman Jordan is not, however, free to unconstitutionally deploy Congress’s

limited subpoena power for raw political retaliation, intimidation, or obstruction.

        10.      District Attorney Bragg therefore brings this action in response to the Committee’s

plainly unconstitutional subpoena. He brings two causes of action.

        11.      First, the subpoena served on Mr. Pomerantz is invalid, unenforceable,

unconstitutional, and ultra vires because it has no legitimate legislative purpose, Watkins, 354 U.S.

at 187, and manifestly fails each of the four factors the Supreme Court established in Mazars to

evaluate the enforceability of a congressional subpoena directed to another branch of government.

140 S. Ct. at 2035–36. Namely, Congress has no power under Article I of the Constitution to

oversee, let alone disrupt, ongoing state law criminal matters, and the shifting array of legislative


5
    Affirming Congress’ Constitutional Oversight Responsibilities: Subpoena Authority and Recourse for Failure to
    Comply with Lawfully Issued Subpoenas: Hearing Before H. Comm. On Science, Space, and Technology, 114th
    Cong. (2016) (statement of Charles Tiefer, Former Acting General Counsel, U.S. House of Representatives).

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purposes the Chairman has invoked in favor of his demands do not “warrant[] the significant step”

of seeking information from the District Attorney. Id. at 2035. The subpoena also is vastly

“broader than reasonably necessary to support” the Chairman’s purported “legislative objective”—

an objective the Chairman has provided not a whit of “evidence” to support. Id. at 2036. And

finally, the subpoena is unduly burdensome, particularly in light of the ongoing criminal

prosecution and investigation of Mr. Trump.

       12.     Second, even if Chairman Jordan and the Committee were able to demonstrate a

valid legislative purpose and withstand the Mazars test (they cannot), the subpoena still would not

be enforceable because it could allow the Committee to seek secret grand jury material,

confidential investigative material, and information clearly protected by the attorney-client, work

product, deliberative process, law enforcement, informant’s, and public interest privileges. These

privileges exist to protect precisely the type of information Chairman Jordan and the Committee

are seeking—confidential law enforcement and legal materials compiled during investigations and

in the lead-up to a prosecution. The privileges are designed to prevent the type of obstruction and

interference with ongoing criminal investigations and prosecutions that Chairman Jordan and the

Committee’s actions represent.

       13.     In sum, Congress lacks any valid legislative purpose to engage in a free-ranging

campaign of harassment in retaliation for the District Attorney’s investigation and prosecution of

Mr. Trump under the laws of New York. That campaign is a direct threat to federalism and the

sovereign interests of the State of New York. This Court should enjoin the subpoena and put an

end to this constitutionally destructive fishing expedition. It should protect New York’s lawful

pursuit of criminal justice and permit this State’s criminal justice system to function under the




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careful supervision of the New York Supreme Court free from unconstitutional congressional

interference. This Court should grant judgment to District Attorney Alvin L. Bragg, Jr.

                                             PARTIES

       14.     Plaintiff Alvin L. Bragg, Jr. is the District Attorney for Manhattan. District

Attorney Bragg brings this suit in his official capacity.

       15.     Defendant Jim Jordan is a Republican member of the U.S. House of

Representatives and Chairman of the Committee on the Judiciary. He is sued in his official

capacity.

       16.     Defendant Committee on the Judiciary is a standing committee of the United States

House of Representatives.

       17.     Defendant Mark F. Pomerantz was a Special Assistant District Attorney in the

Manhattan District Attorney’s Office from 2021 to 2022. In that role, Mr. Pomerantz assisted with

the Office’s investigation into Mr. Trump’s personal and business finances. On February 23, 2022,

Mr. Pomerantz resigned his appointment.

       18.     The District Attorney sues Mr. Pomerantz to protect the District Attorney’s Office’s

interests and privileges and in light of the District Attorney’s Office’s instruction to Mr. Pomerantz

not to provide any information or materials relating to his work in the District Attorney’s Office

in response to the subpoena. As the Supreme Court has made clear, the important structural

constitutional interests at stake “are no less palpable here simply because the subpoena[] w[as]

issued to [a] third part[y].” Mazars, 140 S. Ct. at 2035.

                                 JURISDICTION AND VENUE

       19.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

because this case arises under the Constitution and laws of the United States.



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       20.     This Court has authority to issue a declaratory judgment and order other relief that

is just and proper pursuant to 28 U.S.C. §§ 2201 and 2202.

       21.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) and (e)(1) because a

substantial part of the events giving rise to this action occurred in the Southern District of New

York. Chairman Jordan served Mr. Pomerantz with a subpoena in New York, where he resides.

That subpoena seeks testimony relating to law enforcement investigations and an active

prosecution the District Attorney is conducting in Manhattan and related grand jury proceedings.

       22.     This Court has personal jurisdiction over Chairman Jordan and the Committee

under CPLR § 302 because they “engage[d] in [a] persistent course of conduct” and “expect[ed]

or should reasonably expect the act to have consequences in the state.” The Chairman and the

Committee have reached into New York State to serve a subpoena on Mr. Pomerantz, a former

Special Assistant in the Manhattan District Attorney’s Office, as part of an ongoing effort to

obstruct, impede, and delegitimize a local criminal prosecution in New York City. They have also

demanded documents and testimony from three other New Yorkers, including the District Attorney

himself. By his own reckoning, Chairman Jordan and the Committee are seeking to conduct

“oversight” of an ongoing New York State criminal investigation and an ongoing New York State

criminal prosecution pending in New York State court. They are seeking highly sensitive and

confidential prosecutorial information concerning an ongoing local prosecution and investigation

the District Attorney’s Office is properly conducting on behalf of the People of New York. They

have thereby purposefully availed themselves of this forum and subjected themselves to personal

jurisdiction in the State of New York in connection with this controversy.




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       23.     The Chairman and the Judiciary Committee have also availed themselves of this

forum by planning to hold a field hearing in New York City on April 17, 2023 regarding the

District Attorney’s prosecutorial policies.

       24.     This Court has personal jurisdiction over Mr. Pomerantz because he is a resident of

New York.

                                  FACTUAL ALLEGATIONS

A.     District Attorney Bragg Takes Office And Reduces Crime In New York City.

       25.     The Manhattan District Attorney’s Office investigates and prosecutes violations of

New York State law. New York State law confers on district attorneys the authority “to prosecute

all crimes and offenses cognizable by the courts of the county for which he shall have been elected

or appointed.” N.Y. County L. § 927; see also id. § 700. Each case the Office brings is brought

on behalf of “The People of the State of New York.”

       26.     Plaintiff Alvin L. Bragg, Jr. is the first Black person to serve as District Attorney

of Manhattan. District Attorney Bragg has spent two decades in public service, having previously

served as Chief Deputy Attorney General in the New York Attorney General’s office and as an

Assistant United States Attorney in the Southern District of New York. As a long-time white

collar prosecutor, District Attorney Bragg believes in holding powerful people accountable for

harming everyday New Yorkers.

       27.     As of April 2, 2023, the year-to-date statistics for New York City, and Manhattan

specifically, continue to trend downward: homicides are down 14.3% and down further in

Manhattan; shooting incidents are down 17.3%; rapes are down 33.3% and down further in

Manhattan; robbery is down 7.6% and down further in Manhattan; and burglary is down 21% and

down further in Manhattan. Total index crimes are down 1.3% in Manhattan, despite being up

slightly citywide. The work of the District Attorney’s Office in the last year is contributing to

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these successes. Gun prosecutions by the Office were up approximately 18% in the District

Attorney’s first year in office. Last year, the District Attorney’s Office secured indictments against

gun traffickers, ghost gun manufacturers, and members of a violent criminal enterprise. The Office

is also making use of available tools to reduce recidivism: with recent amendments to bail

eligibility the Office has sought bail in 400 property crime cases that would not have been bail-

eligible otherwise. And in just the past week, the Office has required landlords to initiate civil

eviction proceedings against seven unlicensed cannabis shops that are operating unlawfully in

Manhattan.

B.     District Attorney Bragg Continues His Predecessor’s Investigations Into Mr. Trump.

       28.     When he assumed office on January 1, 2022, District Attorney Bragg inherited

years-long investigations into the financial activities of Donald J. Trump and the Trump

Organization. District Attorney Bragg issued a public statement on April 7, 2022, confirming that

his Office had continued the investigations through its staff of experienced career prosecutors.

       29.     District Attorney Bragg also inherited an indictment of two Trump entities (Trump

Corporation and Trump Payroll Corp.) and Allen Weisselberg, the former chief financial officer

of the Trump Organization. The charges against the Trump entities went to trial with opening

statements beginning on Monday, October 31, 2022. Donald Trump announced his candidacy for

President the next month, while the trial and previously announced investigations by the District

Attorney remained ongoing.

       30.     District Attorney Bragg’s Office secured the trial conviction of the two Trump

entities and a guilty plea from Mr. Weisselberg for, among other crimes, defrauding New York

State and New York City tax authorities. Following the trial verdict in December of 2022, a New

York State court fined the Trump Corporation and the Trump Payroll Corp. $1.6 million for



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running the decade-long tax fraud scheme and sentenced Mr. Weisselberg to five months

incarceration followed by five years’ probation.

          31.     Other investigations remained ongoing. The New York State Constitution Bill of

Rights establishes that all “capital or otherwise infamous crime[s]” must be brought through a

grand jury indictment. N.Y. Const. Art. I § 6; see also U.S. Const., amend. V. A grand jury in

New York consists of 23 New Yorkers who must decide whether documents, witness testimony,

and other evidence presented by prosecutors supports returning an indictment for violations of

New York law. Grand jurors are selected at random from the general population of New York

County without regard to their personal political affiliation.

          32.     In early 2023, the news media reported on a grand jury investigation into allegations

against Mr. Trump and the possibility that Mr. Trump might be criminally charged. In response,

Mr. Trump and his supporters in Congress launched efforts to attack the District Attorney’s

integrity, intimidate his Office, and mount “an aggressive response” to preempt potential criminal

charges.6 House Republicans regularly kept Mr. Trump updated on these developments. For

example, Representative Marjorie Taylor Greene “keep[s] him up[dated] on everything that

[they’re] doing,” and House Republican Conference Chair Elise Stefanik has “walked [Mr. Trump]

through the GOP’s plans for an aggressive response to Bragg.”7 It has been reported that Mr.

Trump has himself been preparing plans to exact revenge on District Attorney Bragg if Mr. Trump

returns to the White House in 2024. Some of his advisors have reportedly recommended that he




6
    Grayer, supra note 3.
7
    Id.



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“unleash” the Department of Justice’s “Civil Rights Division” to prosecute District Attorney Bragg

“for supposedly ‘racist law enforcement practices.’”8

           33.     The effort to obstruct the grand jury’s investigation into Mr. Trump picked up steam

on March 10, 2023. On that day, Mr. Trump’s lawyer, Joseph Tacopina, sent Chairman Jordan a

letter describing District Attorney Bragg as a “rogue local district attorney.”9 Mr. Tacopina urged

Chairman Jordan to deploy the powers of his office to investigate what he described as District

Attorney Bragg’s “egregious abuse of power.”10

           34.     On March 18, 2023, Mr. Trump announced on Truth Social, his social media

platform, that he believed he would be arrested the following Tuesday. Mr. Trump claimed to

have sourced this information—which was false—from “ILLEGAL LEAKS” in the “CORRUPT

& HIGHLY POLITICAL MANHATTAN DISTRICT ATTORNEYS OFFICE.” Mr. Trump

urged his supporters to “PROTEST, TAKE OUR NATION BACK!”




8
     Asawin Suebsaeng, Adam Rawnsley, Trump Already Has a Plan to Get Revenge on Alvin Bragg, Rolling Stone
     (Mar. 23, 2023), https://www.rollingstone.com/politics/politics-features/trump-revenge-plan-alvin-bragg-
     1234702976/.
9
     Annie Karni and Luke Broadwater, House G.O.P., Defending Trump, Targets Bragg Ahead of Expected
     Indictment, N.Y. Times (Mar. 20, 2023), https://www.nytimes.com/2023/03/20/us/politics/house-republicans-
     trump-indictment.html.
10
     Id.



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           35.     Mr. Trump’s post calling for “protest[s]” bears a striking resemblance to the

December 19, 2020 tweet in which he urged his supporters to protest after he lost the 2020

Presidential election: “Big protest in D.C. on January 6th. Be there, will be wild!”11 The House

Select Committee to Investigate the January 6th Attack on the U.S. Capitol concluded that Mr.

Trump’s December 19, 2020 tweet served as “a call to arms” for “extremists and conspiracy

theorists” that had the effect of “summoning a mob.”12 “For the Proud Boys . . . President Trump’s

tweet set in motion a chain of events that led directly to the attack on the U.S. Capitol.”13

           36.     Mr. Trump was not arrested the following Tuesday, March 21, 2023, as he had

predicted on social media. Although his prediction was false, his call to “protest” and “take our

nation back” prompted law enforcement agencies to deploy a significant security response,

including around the New York State Supreme Court criminal courthouse in lower Manhattan and

the District Attorney’s Office.

           37.     Meanwhile, on March 19, 2023, House Speaker Kevin McCarthy amplified Mr.

Trump’s incendiary rhetoric, accusing District Attorney Bragg of “abusing his office to target

President Trump” and announced that Congress would “investigate any use of federal funds that

are used to facilitate the perversion of justice by Soros-backed DA’s across the country.” George

Soros is a Jewish American businessman and philanthropist known for his support of liberal causes

and candidates. He is frequently cited as a boogeyman in rightwing, and often anti-Semitic,

conspiracy theories and dog whistles. District Attorney Bragg does not know Mr. Soros and has

never communicated with him.


11
     Maggie Haberman et al., Trump Claims His Arrest Is Imminent and Calls for Protests, Echoing Jan. 6, N.Y.
     Times (Mar. 18, 2023), https://www.nytimes.com/2023/03/18/us/politics/trump-indictment-arrest-protests.html.
12
     Final Report of the House Select Committee to Investigate the January 6th Attack on the U.S. Capital, House
     Rep. 117-000, at Foreword & p. 6 (Dec. 22, 2022), available at https://tinyurl.com/mr364uyt.
13
     Id.

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       38.     Other House Representatives have also expressed their support for Mr. Trump.

House Republican Conference Chair Stefanik frequently speaks with Mr. Trump and has expressed

that she believes District Attorney Bragg should testify before Congress to explain his decision to

investigate the former president. Representative Greene, a member of the Committee on Oversight

and Accountability, also frequently speaks with Mr. Trump and has called for District Attorney

Bragg’s arrest. On March 22, 2023, she falsely tweeted that District Attorney Bragg was “breaking

the law” and “trying to incite civil unrest with his Soros funded political war.”




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C.       Chairmen Of Three Congressional Committees Send A Letter Requesting Documents
         and Testimony from District Attorney Bragg, Mr. Pomerantz, and Carey Dunne.

         39.      After receiving the letter from Mr. Trump’s counsel and in the wake of Speaker

McCarthy’s tweet vowing an investigation, on March 20, 2023, chairmen of three Congressional

committees sent a letter to District Attorney Bragg purporting to launch an investigation into his

“decision to pursue such a politically motivated prosecution.”14 The signatories included Chairman

Jordan, Chairman Comer, and Chairman Bryan Steil of the Committee on House Administration

(together the “Chairmen” and the “Committees,” respectively).

         40.      The letter blithely accused District Attorney Bragg of “an unprecedented abuse of

prosecutorial authority: the indictment of a former President of the United States and current

declared candidate for that office.” And it demanded that District Attorney Bragg give testimony

and produce the following three categories of documents for the period January 1, 2017 to the

present:

                  “1. All documents and communications between or among the New
                  York County District Attorney’s Office and the U.S. Department of
                  Justice, its component entities, or other federal law enforcement
                  agencies referring or relating to your office’s investigation of
                  President Donald Trump;

                  2. All documents and communications sent or received by former
                  employees Carey Dunne and Mark Pomerantz referring or relating
                  to President Donald Trump; and

                  3. All documents and communications referring or relating to the
                  New York County District Attorney Office’s receipt and use of
                  federal funds.”

14
     Previously, Chairman Jordan requested from the U.S. Department of Justice documents relating to the special
     counsel investigation into President Biden’s handling of classified material. The Department of Justice responded
     by stating that it would withhold such documents because “[d]isclosures to Congress about active investigations
     risk jeopardizing those investigations and creating the appearance that Congress may be exerting improper
     political pressure or attempting to influence Department decisions in certain cases. Judgments about whether and
     how to pursue a matter are, and must remain, the exclusive responsibility of the Department.” Zachary Cohen,
     DOJ tells House Judiciary chair it will not hand over most Biden special counsel probe documents until
     investigation complete, CNN (Jan. 30, 2023), https://www.cnn.com/2023/01/30/politics/doj-response-special-
     counsel-documents/index.html.

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       41.     The Chairmen stated that their requests were based on Rule X of the Rules of the

House of Representatives and the need for (1) “congressional scrutiny about how public safety

funds appropriated by Congress are implemented by local law-enforcement agencies,” (2)

“oversight to inform potential legislative reforms about the delineation of prosecutorial authority

between federal and local officials,” and (3) “consider[ation] [of] legislative reforms to the

authorities of special counsels and their relationships with other prosecuting entities.”

       42.     Rule X of the Rules of the House of Representatives identifies the jurisdictions and

functions of the standing committees in the House, including the Committee on the Judiciary, the

Committee on House Administration, and the Committee on Oversight and Accountability.

       43.     On March 22, 2023, Chairman Jordan sent letters to Mr. Pomerantz and Carey

Dunne. Mr. Dunne was the General Counsel to former Manhattan District Attorney Cyrus Vance

Jr. from 2017 to 2021 and Special Assistant District Attorney to District Attorney Bragg from

January 1, 2022 to February 24, 2022. In those roles, Mr. Dunne helped lead the District

Attorney’s investigation into Mr. Trump’s tax records and the Trump Organization’s tax-fraud

scheme.

       44.     The letters to Mr. Pomerantz and Mr. Dunne both requested their “cooperation with

[the Chairmen’s] oversight of this politically motivated prosecutorial decision” and “overzealous”

investigation. Specifically, the letters requested the following documents and information for

January 1, 2017 to the present from Mr. Pomerantz and Mr. Dunne, both of whom have not worked

at the District Attorney’s Office in about a year:

               “1. All documents and communications between or among the New
               York County District Attorney’s Office and the U.S. Department of
               Justice, its component entities, or other federal law enforcement
               agencies referring or relating to New York County District
               Attorney’s investigation of President Donald Trump;

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               2. All documents and communications between or among you and
               the New York County District Attorney’s Office referring or
               relating to President Donald Trump; and

               3. All documents and communications between or among you and
               representatives of the New York County District Attorney’s Office
               referring or relating to your appointment and role as Special
               Assistant District Attorney for New York County.”

       45.     The letter to Mr. Pomerantz stated that he had previously “resign[ed] in protest” of

a decision by District Attorney Bragg to “suspend[] the investigation” into Mr. Trump when

District Attorney Bragg took office. The letter went on to state that Mr. Pomerantz’s actions “both

as a special prosecutor and since leaving the District Attorney’s office, cast serious doubt on the

administration of fair and impartial justice in this matter,” and alleged that Mr. Pomerantz had

“unfairly disparaged” Mr. Trump, “an innocent and uncharged man, as a felon to millions of [New

York Times] readers.” The letter further stated that Mr. Pomerantz’s “book again unfairly

disparaged President Trump, and now opens the door to examination about the District Attorney’s

office [sic] commitment to evenhanded justice.”

D.     District Attorney Bragg Responds.

       46.     District Attorney Bragg’s Office timely responded to the demand on March 23,

2023. Leslie Dubeck, General Counsel for the Manhattan District Attorney’s Office, wrote in a

letter to the Chairmen that the investigation into Mr. Trump “is one of thousands conducted by the

Office of the District Attorney in its long history of pursuing justice and protecting New Yorkers”

and “has been conducted consistently with the District Attorney’s oath to faithfully execute the

laws of the State of New York.” In the letter, Ms. Dubeck states that the request by the Chairmen

“is an unprecedented inquiry into a pending local prosecution,” which came only “after Donald

Trump created a false expectation he would be arrested the next day and his lawyers reportedly

urged [the Chairmen] to intervene.”

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       47.     The letter states that compliance with the Chairmen’s request “would interfere with

law enforcement.” Specifically, the Chairmen’s request “seeks non-public information about a

pending criminal investigation, which is confidential under state law” because “[g]rand jury

proceedings are secret.”

       48.     The letter also states that the requests “are an unlawful incursion into New York’s

sovereignty” because a “Congressional committee may not ‘inquire into matters which are . . .

reserved to the States,’” and “[p]erhaps the clearest example of traditional state authority is the

punishment of local criminal activity.” It explained that the District Attorney’s investigation is a

“quintessential police power[] belonging to the State” and because the Chairmen’s inquiry “treads

into territory very clearly reserved to the states,” it is “indefensible.” The letter further explained

that the requests would “usurp[] executive powers” because “Congress [is not] a law enforcement

or trial agency.” Ms. Dubeck also made clear that the District Attorney’s Office was not “pursuing

a prosecution for political purposes.”

       49.     Notwithstanding these objections, Ms. Dubeck stated that the District Attorney’s

Office would submit a letter describing its use of federal funds. Ms. Dubeck further stated that

“this Office will always treat a fellow government entity with due respect” and requested the

opportunity to meet and confer regarding the Chairmen’s inquiry.

E.     Former President Donald Trump Launches Attacks on Social Media and Puts
       District Attorney Bragg And Other New Yorkers at Risk.

       50.     Following the parties’ letter exchanges, Mr. Trump began to lob even more

incendiary messages on Truth Social about District Attorney Bragg. On March 23, 2023, he

inveighed that “BRAGG REFUSES TO STOP DESPITE OVERWHELMING EVIDENCE TO

THE CONTRARY” and described the District Attorney in dehumanizing terms, calling him a




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“SOROS BACKED ANIMAL.” These attacks by Mr. Trump and others have been widely

condemned as both racist and antisemitic.




       51.     Minutes later, Mr. Trump accused District Attorney Bragg of “CARRYING OUT

THE PLANS OF THE RADICAL LEFT LUNATICS.” He also stated that “OUR COUNTRY IS

BEING DESTROYED, AS THEY TELL US TO BE PEACEFUL!”




       52.     Also on that day, Mr. Trump shared a photograph on Truth Social of a side-by-side

image of himself and District Attorney Bragg. Mr. Trump was holding a baseball bat in the

photograph, and their side-by-side juxtaposition suggested that Mr. Trump was winding up the bat

to strike the District Attorney.




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       53.     In the early hours of March 24, 2023, Mr. Trump threatened that an indictment

would unleash “death & destruction” that would be “catastrophic for our Country.” Mr. Trump

queried: “What kind of person can charge another person, in this case a former President of the

United States, . . . when it is known by all that NO Crime has been committed[?]” He then supplied

his followers with an answer, alluding to District Attorney Bragg: “Only a degenerate psychopath

that truely [sic] hates the USA.”




       54.     Later that day, a package containing suspicious white powder arrived at the District

Attorney’s Office along with a note making a specific death threat against the District Attorney.


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The New York City Police Department and the Department of Environmental Protection

responded and ultimately concluded the substance was not dangerous.

       55.     In the aftermath, the District Attorney’s Office received more than 1,000 calls and

emails from individuals claiming to be Mr. Trump’s supporters, many of which were threatening

and racially charged. District Attorney Bragg also received multiple death threats.

F.     The Chairmen Continue to Insist on Document Production and Testimony.

       56.     On March 25, 2023, the Chairmen sent District Attorney Bragg’s Office another

letter. They ignored Ms. Dubeck’s request to meet and confer.

       57.     The letter states that the Committees are “conducting oversight of [the Manhattan

District Attorney’s Office’s] reported effort to indict a former President of the United States and

current declared candidate for that office.” The Chairmen, for the first time, declared that they

were considering whether Congress “should take legislative action to protect former and/or current

Presidents from politically motivated prosecutions by state and local officials.”

       58.     The letter claimed that the inquiry is proper because (1) the Committees “are

authorized to conduct such an inquiry,” (2) “the inquiry is on a matter on which legislation could

be had,” and (3) “the requests are pertinent to the committees’ inquiry.”

       59.     The letter further explains that the inquiry into the circumstances of a prosecutorial

decision to indict a former President of the United States “on a novel and untested legal theory”

falls within the scope of the Committee on the Judiciary’s “oversight of criminal justice matters to

inform potential legislation.” It also states that the inquiry could inform whether Congress drafts

legislation to “insulate current and former presidents from such improper state and local

prosecutions”—purported legislation the Chairmen did not even hint at in their March 20, 2023

letter. The Chairmen speculated without any evidence that these prosecutions could create a



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conflict “between the federal law-enforcement officials required to protect the former President

and local law-enforcement officials required to enforce your indictment.” Despite the District

Attorney’s Office’s commitment to provide a letter detailing the use of the Office’s federal funds,

the Chairmen reiterated their request for such information and insisted that a letter from the District

Attorney’s Office would not be enough. The Chairmen requested a response by March 31, 2023.

         60.     Subsequently, on an interview with CNN’s Jake Tapper, Chairman Comer was

asked about the Chairmen’s letters to District Attorney Bragg.15 Chairman Comer candidly

explained his view that the District Attorney should “come explain to us exactly what he’s

investigat[ing].” He further stated, “if Mr. Bragg wants to come in and explain to us what he is

doing and he makes a good explanation, . . . then we’ll back off.” And when Mr. Tapper noted,

“well, he’s investigating as I understand it potential violations of state crimes,” Chairman Comer

responded: “even at that, . . . when you look at what we believe the role of the Manhattan DA

should be is to fight crime. I mean that’s one of the biggest issues in New York.” He went on to

state, “we believe our tax dollars would be better spent prosecuting local criminals—that’s what a

DA is supposed to do.” Mr. Tapper also asked: “if [District Attorney Bragg] refuses to come in

willingly, will you subpoena him?” Chairman Comer responded: “Well, that’ll be up to Jim

Jordan. He’s the lead investigator in this particular situation.” Mr. Tapper queried in response:

“Jim Jordan who refused to comply with a congressional subpoena in the previous Congress?”

         61.     Also on March 25, 2023, Ms. Dubeck sent a letter to Mr. Pomerantz and Mr. Dunne

instructing them, as former employees of the District Attorney’s Office, to not respond to

Chairman Jordan’s requests in light of the ongoing discussions and concerns over the inquiry. In




15
     State of the Union with Jake Tapper & Dana Bash, interview by Jake Tapper of James Comer, CNN (Mar. 26,
     2013), https://www.cnn.com/videos/politics/2023/03/26/sotu-rep-comer-full.cnn.

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that letter, the District Attorney’s Office explained that the Chairmen’s requests “raise significant

concerns about federalism, state sovereignty, the limits on congressional power, and the purpose

and legality of the [Judiciary Committee’s] inquiry. In addition, the documents and information

requested are protected from disclosure for many reasons, including because they relate to an

ongoing criminal investigation, and are subject to the attorney client privilege, work product

doctrine, and other legal protections.”

       62.      The letter specifically instructed Mr. Pomerantz to “as a former employee and

attorney of the DA’s Office, [] not provide any information or materials relating to your work in

the DA’s Office in response to [the Judiciary Committee’s] request. In addition, please direct [the

Judiciary Committee] to communicate with the DA’s Office regarding the request.” The letter

made clear the District Attorney’s Office was writing “[t]o protect the DA’s Office’s interests and

privileges” and had asked the Committee “to provide additional information regarding their

inquiries.”

G.     Donald Trump Persists in His Attacks on Social Media.

       63.      On March 28, 2023, Mr. Trump re-posted to his Truth Social account an article by

Wayne Allyn Root titled “Democrats Want to Indict & Arrest President Trump. They Want a

War? Let’s Give it to Them.” That same day, a supporter of Mr. Trump who was protesting

District Attorney Bragg’s investigation pulled a knife on a family—including two small children—

outside the Manhattan Criminal Court. Court officers arrested the protester, who was holding a

sign that read: “I support Trump, do you?”

       64.      On March 29, 2023, following news reports that the grand jury had recessed for

several weeks, Mr. Trump continued his attacks on Truth Social. He stated that he had “GAINED




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SUCH RESPECT FOR THIS GRAND JURY” for not being a “RUBBER STAMP” and described

District Attorney Bragg as “HIGHLY PARTISAN” and “HATEFUL.”




       65.     A day later, on March 30, 2023, Mr. Trump described District Attorney Bragg as a

“Radical Left, Soros Backed Lunatic[]” in a post on Truth Social. He also implied that a New

York Times columnist wrote that Mr. Trump “should be prosecuted” “because [he is] WHITE.”

He concluded “we are now a Nation in Decline being stupidly led into World War III.”




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H.     Mr. Pomerantz and Mr. Dunne Respond.

       66.     On March 27, 2023, Mr. Pomerantz responded to Chairman Jordan’s March 22,

2023 correspondence. In the letter, Mr. Pomerantz states that he will “act in a manner consistent

with the instructions [he has] received from DANY” and requested that Chairman Jordan relay

any communication to the District Attorney’s Office.

       67.     That same day, Mr. Dunne also responded to Chairman Jordan’s March 22, 2023

correspondence. Like Mr. Pomerantz, Mr. Dunne declined to respond to the inquiry and referred

any communication to the District Attorney’s Office. In the letter, Mr. Dunne also stated that the

District Attorney’s Office is the legal holder of various privileges, including the attorney-client

privilege, implicated by Chairman Jordan’s inquiry. The letter further states that “[a]s the legal

holder of such privileges,” the Office’s position that the inquiry was “constitutionally infirm” was

“[their] prerogative.”

I.     New York State Supreme Court Unseals The Fact That Mr. Trump Has Been
       Indicted And The Chairmen (And Other Members Of Congress) React.

       68.     On March 30, 2023, the New York State Supreme Court issued an order unsealing

the fact that a Manhattan grand jury had returned an indictment charging Mr. Trump with a certain

number of undefined crimes. Mr. Trump is the first American president, current or former, to be

indicted.

       69.     It did not take long for Mr. Trump to start casting doubt on the integrity of the

District Attorney’s Office, and on the judicial system as a whole. On March 30, 2023, he claimed

that the charges against him were “Fake, Corrupt, and Disgraceful.” And on the morning of March

31, 2023, he asserted on Truth Social: “The Judge ‘assigned’ to my Witch Hunt Case [] HATES

ME.” He further stated that the judge’s name “is Juan Manuel Marchan [sic], [he] was handpicked




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by Bragg & the Prosecutors, & is the same person who ‘railroaded’ my 75 year old former CFO,

Allen Weisselberg, to take a ‘plea’ deal.”




         70.     Later that day, Mr. Trump posted again on Truth Social, specifically referencing

Mr. Pomerantz:




         71.     Mr. Trump’s followers have followed suit. Hours after the indictment, District

Attorney Bragg and his Office received numerous overtly racist and antisemitic emails and

messages.16 One email stated: “Hay George Soros a** hole puppet If you want President Trump


16
     Molly Crane-Newman, Manhattan DA Alvin Bragg inundated with racist emails, death threats amid Trump
     indictment; ‘We are everywhere and we have guns,’ N.Y. Daily News (Mar. 31, 2023),


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come and get me to. Remember we are everywhere and we have guns.” Other messages called

the District Attorney “black trash [f----r]” and “Aids Infested.”

        72.      Mr. Trump’s supporters in Congress have also followed his lead, although none of

them articulated the legislative reform proposals the Chairman has invoked as the basis for this

congressional subpoena and his other demands. On March 30, 2023, Speaker McCarthy tweeted

using language that indicated his goal was retribution against District Attorney Bragg, not

legislation:




        73.      The Speaker’s caucus followed suit. That same day, and after the news broke that

Mr. Trump would be indicted, Chairman Jordan tweeted: “Outrageous.” Representative Ronny

Jackson tweeted “When Trump wins, THESE PEOPLE WILL PAY!!” Later, he stated that “it

will ultimately be Alvin Bragg that pays the price for this abuse of office!”

        74.      On March 31, 2023, Representative Dan Bishop, a member of defendant

Committee on the Judiciary, tweeted that “The subpoenas should now fly.”



    https://www.nydailynews.com/news/crime/ny-dany-bragg-trump-indictment-racist-emails-violent-threats-
    20230401-vimpdgvbrnfe5bq5d6wdw4g7ty-story.html.

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J.     District Attorney Bragg Responds to the Chairmen.

       75.     District Attorney Bragg’s Office responded to the Chairmen on March 31, 2023.

In that response, Ms. Dubeck reiterated the Office’s position: Congress cannot interfere with a

state criminal investigation or usurp judicial and executive functions, and the Chairmen’s

“examination of the facts of a single criminal investigation, for the supposed purpose of

determining whether any charges against Mr. Trump are warranted, is an improper and dangerous

usurpation of the executive and judicial functions” and “an unprecedented and illegitimate

incursion on New York’s sovereign interests.”

       76.     The letter states that the Chairmen’s alleged legislative purpose for the inquiry—

potential legislation to “insulate current and former presidents”—is “baseless pretext to interfere

with [the] Office’s work.” The letter queried whether “Congress would [even] have authority to

place a single private citizen—including a former president or candidate for president—above the

law.” It further stated that “based on [the Chairmen’s] reportedly close collaboration with Mr.

Trump in attacking this Office and the grand jury process, it appears [the Chairmen] are acting

more like a criminal defense counsel trying to gather evidence for a client than a legislative body

seeking to achieve a legitimate legislative objective.”

       77.     As Ms. Dubeck indicated she would in her March 23, 2023 correspondence, she

provided in the March 31, 2023 letter further detail and information about the Office’s use of


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federal funds. Specifically, Ms. Dubeck clarified that “[n]o expenses incurred relating to this

matter [including the investigation and prosecution of Mr. Trump] have been paid from funds that

the Office received through federal grant programs.” She identified three federal grant programs

that the District Attorney’s Office participates in: (1) Stop Violence Against Women Act Program;

(2) Victim and Witness Assistance Grant Program; and (3) Justice Assistance Grant.

       78.     Ms. Dubeck also stated that the Office has “contributed to the federal fisc,” in part

by “help[ing] the Federal Government secure more than one billion dollars in asset forfeiture funds

in the past 15 years.” Of that forfeiture money, the Office spent approximately $5,000 “on

expenses incurred [between October 2019 and August 2021] relating to the investigation of Donald

J. Trump or the Trump Organization.” The letter clarified that most of these expenses related to

Trump v. Vance, 140 S. Ct. 2412 (2020), the Supreme Court case “in which the DA’s Office

prevailed and which led to the indictment and conviction of Trump Organization CFO Allen

Weisselberg and two Trump organizations.”

       79.     In light of the death threats the District Attorney had received, Ms. Dubeck also

urged the Chairmen to “denounce the[] attacks” and “refrain from inflammatory accusations”

instead of continuing to “vilify and denigrate the integrity of elected state prosecutors and trial

judges.” Ms. Dubeck further urged the Chairmen to “let the criminal justice process proceed

without unlawful political interference.”

       80.     Ms. Dubeck again requested to meet and confer with the Chairmen.

       81.     The Chairmen did not accept that request. Instead, in the days following the District

Attorney’s March 31, 2023 letter, Chairman Jordan and the Committee focused on the $5,000 of

forfeiture funds the District Attorney’s Office had used in investigating Mr. Trump or the Trump




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Organization between October 2019 and August 2021. Specifically, defendant Committee on the

Judiciary tweeted that the $5,000 of forfeiture funds “BOLSTER[S] GOP INVESTIGATION”:




         82.     And in an interview conducted on Fox News with Maria Bartiromo, Chairman

Jordan stated, “they keep saying ‘oh you’re not supposed to be involved because, you know, this

is a local prosecution decision,’ and we’re saying well look you used federal funds, you conceded

that in your response to” the March 25, 2023 letter.17

         83.     In other words, Chairman Jordan and the Committee argued the District Attorney’s

use of $5,000 from federal forfeiture funds prior to 2021 on matters relating to Mr. Trump other

than his indictment was sufficient to confer authority on Congress to investigate the now-pending

criminal prosecution. But they provided no explanation, and none exists, as to how mere federal



17
     Sunday Morning Futures, interview by Maria Bartiromo with Jim Jordan (Fox News, Apr. 2, 2023),
     https://www.foxnews.com/video/6323835580112.

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funds (even if they had been used in preparing for the pending prosecution of Mr. Trump) could

justify invading state sovereignty to conduct federal “oversight” of a single ongoing state criminal

investigation or prosecution to begin with.

K.     Donald Trump and His Supporters Continue to Interfere with an Ongoing State
       Criminal Proceeding.

       84.       On April 3, 2023, Mr. Trump falsely accused District Attorney Bragg of “illegally

LEAK[ING] . . . the pathetic Indictment against [him]” on Truth Social. He stated that as a result

of this “illegal” leak, District Attorney Bragg “MUST BE IMMEDIATELY INDICTED.”




       85.       Eleven minutes later, he once again falsely accused the District Attorney of

“ILLEGALLY LEAK[ING] THE 33 points of Indictment” and called for the District Attorney’s

resignation.

       86.       On April 4, 2023—the very day of his scheduled arraignment—Mr. Trump stated

on Truth Social that New York County was a “VERY UNFAIR VENUE” and “THE HIGHLY

PARTISAN JUDGE & HIS FAMILY ARE WELL KNOWN TRUMP HATERS.”




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        87.     Later that day, Mr. Trump’s son, Donald Trump Jr., shared an article on Twitter

that identified Judge Juan Merchan’s daughter and included a picture of her. He called into

question Judge Merchan’s impartiality and alleged that his daughter had worked on the Biden-

Harris campaign, which he claimed was another “relevant” “connection in this hand picked

democrat show trial.” Representative Greene shared a similar article.

        88.     Also on April 4, 2023, Chairman Jordan and Chairman Comer issued a statement

expressing “concern” over “reports [that] the New York District Attorney may seek an

unconstitutional gag order” because “[t]o put any restrictions on the ability of President Trump to

discuss his mistreatment at the hands of this politically motivated prosecutor would only further

demonstrate the weaponization of the New York justice system.”18

        89.     That same day, Speaker McCarthy once again evoked the specter of punishment,

reiterating that District Attorney Bragg would be “held accountable by Congress” for “attempting

to interfere in our democratic process by invoking federal law to bring politicized charges against

President Trump [and] admittedly using federal funds.”



18
     Jim Jordan (@Jim_Jordan), Twitter (Apr. 4, 2023),
     https://twitter.com/Jim_Jordan/status/1643251228246147074?cxt=HHwWhICwhaWSgM4tAAAA.

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         90.     Later that night on April 4, Chairman Jordan and Mr. Comer did an interview on

the Fox News program Jesse Watters Primetime. During that interview, Chairman Jordan stated

“Mr. Pomerantz . . . is someone we want to talk to as well. He has left the DA’s office. He has

written a book. He’s the guy who threw the fit and I think put the pressure on Mr. Bragg to go

through with the ridiculous action that he took today.”19 The book to which Chairman Jordan

referred was Mr. Pomerantz’s account of the District Attorney’s Office’s investigation into Mr.

Trump and the Trump Organization, published on February 7, 2023. Before the book was

published, the District Attorney’s Office wrote to Mr. Pomerantz and, referring to the existence of

then-pending proceedings, expressly confirmed that Mr. Pomerantz did not have authority to make

public any privileged or confidential information he acquired while serving as a Special Assistant.

The Office requested to review a manuscript of the book before publication but was not provided

that opportunity. Mr. Pomerantz subsequently stated publicly that he was “confident that all of




19
     Jesse Watters Primetime, interview by Jesse Watters with Jim Jordan and James Comer (Fox News, Apr. 4,
     2023), https://www.foxnews.com/video/6323980648112.



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my actions with respect to the Trump investigation, including the writing of my forthcoming book,

are consistent with my legal and ethical obligations.”20

         91.      In response to Chairman Jordan’s statement about the book, Mr. Watters stated:

“Biden sent his goon into the DA’s office, and that’s what lit this fuse.” Chairman Comer shortly

thereafter reiterated “we’re serious about this . . . I fully expect to see Alvin Bragg answering

questions in front of Congress as soon as we can make it happen. This is unacceptable, and we’re

not going to back down on this.” Chairman Comer therefore confirmed that the subpoena to Mr.

Pomerantz was the first action of a subpoena strategy, with the ultimate goal of subpoenaing the

District Attorney himself.

L.       Mr. Trump Is Arraigned, And Chairman Jordan And The Committee Subpoena Mr.
         Pomerantz.

         92.      On April 4, 2023, Mr. Trump traveled from Florida to New York for his

arraignment, arrest, and fingerprinting. He was accompanied by the Secret Service, who had

coordinated effectively with New York State Supreme Court security officers in advance of the

arraignment. On information and belief, Mr. Trump’s transit to (and from) New York was safe.

No security incidents or breaches were reported with respect to Mr. Trump’s safety.

         93.      Later that day, Mr. Trump was arraigned in New York State Supreme Court and his

indictment and the District Attorney’s statement of facts were unsealed. The indictment accuses

Mr. Trump of 34 felony counts of Falsifying Business Records in the First Degree in violation of

New York Penal Law § 175.10. Specifically, District Attorney Bragg alleged that Mr. Trump

“repeatedly and fraudulently falsified New York business records to conceal criminal conduct that



20
     Shayna Jacobs, Ex-prosecutor’s book could hurt Trump investigation, district attorney worries, The Washington
     Post (Jan. 18, 2023), https://www.washingtonpost.com/national-security/2023/01/18/prosecutor-trump-book-
     manhattan/.



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hid damaging information from the voting public during the 2016 presidential election.”21 The

criminal conduct involved, among other things, a scheme in which Mr. Trump and other

participants “violated election laws,” “made and caused false entries in the business records of

various entities in New York,” and “took steps that mischaracterized, for tax purposes, the true

nature of the payments made in furtherance of the scheme.”22

           94.     Mr. Trump entered a plea of not guilty before Judge Merchan.

           95.     The indictment vindicates a distinct state interest in the integrity of business records

within New York State. As District Attorney Bragg observed, “[t]rue and accurate business

records are important everywhere,” and “are all the more important in Manhattan, the financial

center of the world.”23 He further explained that “we have a history in the Manhattan DA’s office

of vigorously enforcing white collar law,” and that the charge of falsifying business records is “the

bread and butter of our white-collar work,” which the Office has charged as a felony “hundreds”

of times.24

           96.     During the arraignment, prosecutors raised to the court Mr. Trump’s recent “public

statements threatening our city, our justice system, our courts, and our office.” They noted Mr.

Trump had made “irresponsible social media posts that target various individuals involved in this

matter, and even their families”; that he had “threatened potential death and destruction, and that

is a quote, and world war three, another quote, if these charges were brought and he was indicted.”

Prosecutors also informed the Court that Mr. Trump had posted “a picture that depicts Mr. Trump

wielding a baseball bat at the head of the District Attorney.” Before handing the court copies of


21
     Statement of Facts, The People of the State of New York v. Donald J. Trump, IND-714543-23 (Apr. 4, 2023).
22
     Id.
23
     CNBC Television, Manhattan DA Alvin Bragg holds press conference following Trump’s arraignment, YouTube
     (Apr. 4, 2023), https://www.youtube.com/watch?v=C2XoDZjOMs8.
24
     Id.

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these posts, prosecutors noted that Mr. Trump’s comments have “led to extensive public safety

measures being put into place.” Prosecutors asked the court to impose an “appropriately restricted

protective order” to ensure “the defendant does not disseminate any information provided as

discovery through threatening online posts.”

         97.      Following the parties’ discussion of the prosecutors’ concerns, the court instructed

the parties’ counsel “speak to [their] client [or witnesses] and anybody else you need to, and remind

them to please refrain [] from making statements that are likely to incite violence or civil unrest.

Please refrain from making comments or engaging in conduct that has the potential to incite

violence, create civil unrest, or jeopardize the safety or well-being of individuals.” And the court

concluded, “please do not engage in words or conduct which jeopardizes the rule of law,

particularly as it applies to these proceedings in this courtroom.”

         98.      Hours later, Mr. Trump made a statement in Florida. He told his supporters: “[t]he

criminal is the District Attorney because he illegally leaked massive amounts of grand jury

information, for which he should be prosecuted or at a minimum, he should resign” and “I have a

Trump hating judge, with a Trump hating wife and family, whose daughter worked for Kamala

Harris and now receives money from the Biden-Harris campaign and a lot of it.”25

         99.      On April 6, 2023, two days after Mr. Trump was arraigned, Chairman Jordan and

the House Judiciary Committee served a subpoena on Mr. Pomerantz directing him to appear and

testify at a deposition before the Committee regarding the District Attorney’s investigation. The

subpoena directs Mr. Pomerantz to appear before the Committee on April 20, 2023.




25
     Kelly Garrity, Trump decries charges against him as an ‘insult to our country,’ Politico (Apr. 4, 2023),
     https://www.politico.com/news/2023/04/04/donald-trump-mar-a-lago-indictment-00090499.

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       100.     In the cover letter accompanying the subpoena, the Committee states that based on

Mr. Pomerantz’s “role as a special assistant district attorney leading the investigation into

President Trump’s finances,” he is “uniquely situated to provide information that is relevant

necessary to inform the Committee’s oversight and potential legislative reforms” related to

“insulat[ing] current and former Presidents from [] politically motivated state and local

prosecutions.” The Committee claims that such potential legislative reforms could include: (i)

broadening “the existing statutory right of removal of certain criminal cases from state court to

federal court”; (ii) investigating potential conflicts between “federal law-enforcement officials

required by federal law to protect a former President and local law-enforcement officials required

to enforce an indictment”; and (iii) enhancing “reporting requirements concerning the use of

federal forfeiture funds or to prohibit the use of federal forfeiture funds to investigate a current or

former President or presidential candidate.”

       101.     The letter states that Mr. Pomerantz has “no basis to decline to testify” regarding

matters he wrote about (and later promoted in television interviews) in his February 2023 book,

People vs. Donald Trump: An Inside Account. The book details some of Mr. Pomerantz’s views

and his depiction of his personal experiences working on the District Attorney’s investigation into

Donald Trump. The letter cites passages in Mr. Pomerantz’s book, which the letter argues reveal

that the District Attorney’s Office’s investigation of Donald Trump was politically motivated. The

letter says, for instance, that Mr. Pomerantz “frivolously compare[d] President Trump to mob boss

John Gotti.” And it alleges that Mr. Pomerantz said there was “no doubt in [Mr. Pomerantz’s]

mind that [President] Trump deserved to be prosecuted,” demonstrating that Mr. Pomerantz was

personally “searching for any basis on which to bring criminal charges” against Mr. Trump. The

letter also points to Mr. Pomerantz’s personal perceptions of Mr. Trump as a “malignant narcissist”



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and “megalomaniac who posed a real danger to the country” whose behavior made Mr. Pomerantz

“angry, sad, and [] disgusted.” These views, the letter speculates, were evidence that Mr.

Pomerantz “prejudg[ed] the results of the District Attorney’s investigation” which contributed to

the “political pressure” on District Attorney Bragg to “bring charges against former President

Trump.”

       102.     Contrary to the Chairman’s contentions, however, Mr. Pomerantz’s book did not

and could not waive any privilege belonging to the District Attorney’s Office. Prior to the book’s

publication, the District Attorney had instructed Mr. Pomerantz to make no disclosures relating to

the “existence, nature, or content” of any communications or records or documents that relate in

any manner to the investigation he participated in as a Special Assistant. The District Attorney’s

Office also did not have the opportunity to review any drafts or excerpts of Mr. Pomerantz’s book

prior to publication.

       103.     The letter also states that under Rule X of the House of Representatives, the

Committee has jurisdiction “to conduct oversight of criminal justice matters to inform potential

legislation.” Rule X, however, makes no reference to State criminal justice—only stating that the

Committee has jurisdiction over “[c]riminal law enforcement and criminalization” as well as “[t]he

judiciary and judicial proceedings, civil and criminal.” H.R. Rule X, clause 1 (l)(1), (7). Other

sections of Rule X expressly make reference to the States, however, confirming that Rule X(l) on

the Judiciary Committee’s jurisdiction does not confer on the Judiciary Committee jurisdiction

over State criminal (let alone civil) matters.

       104.     In the hours following his service of the subpoena, Chairman Jordan tweeted the

following:




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           105.     He also retweeted a report by Breitbart News that “Rep @Jim_Jordan has issued

his first subpoena for House Republicans’ investigation of the Manhattan district attorney’s

indictment of former President Donald Trump,” suggesting more subpoenas would follow.

(emphasis added).

           106.     Media reports after the subpoena was served indicated that the subpoena was part

of an “all-out blitz” Mr. Trump was preparing to commence.26 That blitz will reportedly be directed

towards “Manhattan District Attorney Alvin Bragg, Judge Juan Merchan, and anyone else in the

judicial system who dares cross” Mr. Trump.27 “Meanwhile, powerful Republican lawmakers on

Capitol Hill are preparing to use the levers of the legislative branch to run interference for Trump

following his historic arrest and arraignment in Manhattan this week.”28




26
     Tim Dickenson, Asawin Suebsaeng, Adam Rawnsley, Trump’s Lawyers Are Begging Him for Restraint. His
     Political  Allies     Are   Preparing       to    ‘Fight    Dirty’,  Rolling    Stone    (Apr.    6, 2023),
     https://www.rollingstone.com/politics/politics-features/trump-lawyers-alvin-bragg-indictment-debate-
     1234711049/.
27
     Id.
28
     Id.

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M.     Chairman Jordan Demands Documents And Testimony From A Current Employee
       Of The District Attorney’s Office.

       107.     On April 7, 2023, Chairman Jordan sent a letter to Matthew Colangelo, Senior

Counsel at the District Attorney’s Office.

       108.     The letter requested documents and testimony in light of Mr. Colangelo’s “history

of working for law-enforcement entities that are pursuing President Trump and the public reporting

surrounding [his] decision to work for the New York County District Attorney’s Office.” The

Chairman argued Mr. Colangelo is “uniquely situated to provide information that is relevant and

necessary to inform the Committee’s oversight and potential legislative reforms.” The Chairman

requested Mr. Colangelo’s cooperation in his “personal capacity.”         The Chairman’s letter

requested four categories of documents from Mr. Colangelo for the period June 22, 2021 to

December 5, 2022:

         All documents and communications between or among you and anyone
          affiliated, in any way, with the New York County District Attorney’s Office
          referring or relating to your potential or future employment with that Office,
          including, but not limited to (a) [t]he substance or type of work that you
          would potentially do for that Office; (b) [t]hat Office’s motivation for or
          interest in hiring you; or (c) [y]our personal motivation for or interest in
          working for that Office;

         All documents and communications between or among you and anyone
          affiliated, in any way, with the New York County District Attorney’s Office
          referring or relating to President Donald J. Trump; the Trump Organization;
          or any other entity owned, controlled by, or associated with President
          Donald J. Trump;

         All documents and communications between or among you and anyone not
          affiliated with the New York County District Attorney’s Office referring or
          relating to both your potential or future employment with that Office and (a)
          President Donald J. Trump; (b) [t]he Trump Organization; or (c) [a]ny other
          entity owned, controlled by, or associated with President Donald J. Trump;

         Any other documents or communications referring or relating to both your
          potential or future employment with the New York County District
          Attorney’s Office and (a) President Donald J. Trump; (b) [t]he Trump

                                               41
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           Organization; or (c) [a]ny other entity owned, controlled by, or associated
           with President Donald J. Trump.

The letter also asked that Mr. Colangelo testify before the Committee no later than April 21, 2023.

        109.     The Chairman’s letter said he sought information and documents relating to the

“circumstances and chain of events that led to [Mr. Colangelo’s] hiring by the New York County

District Attorney’s Office.” In other words, the Chairman now wanted to exercise “oversight” of

the District Attorney’s personnel decisions. The Chairman argued this information would “shed

substantial light on the underlying motives for that Office’s investigation into and indictment of

President Trump.” Specifically, the Chairman pointed to the fact that when Mr. Colangelo worked

at the New York Attorney General’s Office, he “ran investigations into President Trump, leading

‘a wave of state litigation against Trump administration policies.’” The Chairman opined that

District Attorney Bragg hired Mr. Colangelo to “fill the void left by the departure of . . . Mark

Pomerantz and Carey Dunne.”

        110.     The letter to Mr. Colangelo confirms the subpoena issued to Mr. Pomerantz is just

the first of many the Chairman is planning to send to current and former District Attorney’s Office

employees and officials to wreak havoc on their prosecutorial activities pursuant to New York law.

In fact, Representative Wesley Hunt, a member of the Judiciary Committee, confirmed just that

when he gave an interview on Fox News on April 6, 2023. During that interview, Mr. Hunt stated:

“I can assure you that Jim Jordan, who’s the head of the Judiciary Committee, we have a plan for

all of these people to expose them for exactly who they are.”29 He continued: “They have an

agenda to destroy our country. They have an agenda to destroy the very fabric of America. We’ve

got to expose this so that in two years, the American people—we, the people—can get this right.”


29
     See Rep. Wesley Hunt Press Office (@RepWPH), Twitter (Apr. 7, 2023),
     https://twitter.com/RepWPH/status/1644341609440370688?cxt=HHwWgICzger-79EtAAAA.

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Chairman Jordan retweeted a clip of Mr. Hunt’s interview, signaling, on information and belief,

that he approved of Mr. Hunt’s statements. Mr. Trump subsequently posted the clip to his Truth

Social account as well.

         111.     On April 10, 2023, the New York Post reported that the House Judiciary Committee

would hold a “field hearing” in New York City at 9:00 am Monday, April 17 at the Jacob Javits

Federal Building to examine “New York’s rampant crime and victims of Alvin Bragg.”30 A source

told the New York Post that purported “victims” of District Attorney Bragg’s “policies” and

“failure[s] to prosecute” would be witnesses at the hearing, although a witness list was not made

immediately available for examination. A source also told the New York Post that the House

Judiciary Committee and Congressman Jordan had not ruled out inviting the District Attorney to

attend the hearing. Chairman Jordan and the Judiciary Committee specifically tweeted about the

hearing:




30
     Steven Nelson, House panel to examine ‘victims’ of Bragg policies as GOP casts doubt on NYC prosecutor who
     took on Trump, New York Post (Apr. 10, 2023), https://nypost.com/2023/04/10/house-judiciary-committee-to-
     hold-nyc-hearing-on-victims-of-da-alvin-braggs-policies/.

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                                 FIRST CAUSE OF ACTION
                               (Injunctive & Declaratory Relief)
                               The Subpoena Is Ultra Vires And
                       Exceeds the Committee’s Constitutional Authority

       112.     Plaintiff repeats and re-alleges the foregoing paragraphs as if fully set forth herein.

       113.     The subpoena served on Mr. Pomerantz is invalid, unenforceable, unconstitutional,

and ultra vires because it has no legitimate legislative purpose. See Watkins, 354 U.S. at 187.

       114.     The Chairman and the Committee have stated that their purpose in seeking

information from current and former employees and officials of the District Attorney’s Office is

to “conduct oversight” into a local criminal prosecution and as part of an overall investigative plot

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to demand unconstitutionally that District Attorney Bragg “explain himself” and provide a “good

explanation” and a “good argument” to Congress. They have also made clear that the subpoena is

designed to punish District Attorney Bragg for his prosecutorial decisions—i.e., as Speaker

McCarthy stated, to “hold Alvin Bragg and his unprecedented abuse of power to account.” The

subpoena Chairman Jordan and the Committee have served on Mr. Pomerantz is part and parcel

of these unlawful aims.

       115.     But Congress lacks any enumerated power entitling it to “conduct oversight” into

a single state prosecution in which a local grand jury has voted to bring criminal charges. The

Supreme Court held more than 140 years ago that Congress may not deploy its subpoena power to

“interfere with” a case “pending in a court of competent jurisdiction.” Kilbourn v. Thompson, 103

U.S. 168, 194 (1880). Congress is not “a law enforcement or trial agency,” for “[t]hese are

functions of the executive and judicial departments of government.” Watkins, 354 U.S. at 187.

“No inquiry is an end in itself; it must be related to, and in furtherance of, a legitimate task of the

Congress. Investigations conducted solely for the personal aggrandizement of the investigators or

to ‘punish’ those investigated are indefensible.” Id. And under the Tenth Amendment, the

“powers not delegated to the United States by the Constitution, nor prohibited by it to the States,

are reserved to the States respectively, or to the people.” U.S. Const. amend X. This framework

reflects our principles of federalism and dual sovereignty, by which the states “remain independent

and autonomous within their proper sphere of authority.”            Printz, 521 U.S. at 928.      The

Constitution “reposed [police power] in the States.” Morrison, 529 U.S. at 618. It clearly

conferred “primary authority for defining and enforcing the criminal law” on the States. Lopez,

514 U.S. at 561 n.3. There is no congressional power to interfere—as the Chairman and the




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Committee seek to do here—with the states’ “proper sphere of authority” to police. Printz, 521

U.S. at 928. In short, Congress has no legitimate legislative objective to pursue here.

       116.     As a result, in his letters and public statements, Chairman Jordan and his

congressional allies have changed their story multiple times, creating new and constantly shifting

purported legislative interests and purposes that supposedly justify the Committee’s unwarranted

“incursion” into a state criminal case. Printz, 521 U.S. at 920. These are just obvious pretexts for

interfering with the District Attorney’s Office’s work enforcing the laws of the State of New York

on behalf of the People.

       117.     The subpoena served on Mr. Pomerantz fails to satisfy the Supreme Court’s test in

Mazars. 140 S. Ct. at 2035. Namely, the purported legislative purposes Chairman Jordan has

invoked to support the subpoena are unsupported, speculative, specious, and/or unconstitutional.

The subpoena is more broad than reasonably necessary to support any claimed congressional

objective. Chairman Jordan and the Judiciary Committee have offered no evidence in support of

any legislative purpose they have attempted to invoke to justify their subpoena. And the subpoena

is unduly burdensome because it would substantially burden both the New York criminal justice

system and the District Attorney’s Office as it prepares for Mr. Trump’s criminal trial. The

Committee’s subpoena also burdens the District Attorney and the criminal justice system by

politicizing Mr. Trump’s trial and undermining the public’s faith in the integrity of the criminal

justice system. The Committee’s subpoena to Mr. Pomerantz and its other intrusive serial requests

for documents and testimony are plainly aimed at burdening the District Attorney’s Office by

harassing them, attempting to intimidate them, and trying to distract them from their preparation

of Mr. Trump’s criminal case.




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       118.     The subpoena is also ultra vires because the Judiciary Committee does not have

jurisdiction over State criminal prosecutions under Rule X of the Rules of the House of

Representatives.

       119.     The demands for documents and testimony that Chairman Jordan has made on

District Attorney Bragg and current and former District Attorney’s Office employees or officials

similarly lack any valid legislative purpose. In the event Chairman Jordan or the Committee serves

a subpoena on the District Attorney himself or any of his current or former employees or officials,

such subpoenas will also be invalid, unenforceable, unconstitutional, and ultra vires.

       120.     Plaintiff suffers and is continuing to suffer irreparable harm from the risk that Mr.

Pomerantz may be forced to comply with the subpoena served on him, including but not limited

to irreparable harm to New York’s sovereign dignitary interests. Plaintiff further lacks any

adequate remedy at law.

                                 SECOND CAUSE OF ACTION
                                (Injunctive & Declaratory Relief)
                         Violation of Grand Jury Secrecy And Privilege

       121.     Plaintiff repeats and re-alleges the foregoing paragraphs as if fully set forth herein.

       122.     Even if Chairman Jordan and the Committee were able to demonstrate a valid

legislative purpose and withstand the Mazars test (they cannot), the subpoena still would not be

enforceable because it could allow the Committee to seek secret grand jury material, confidential

investigative material, and documents and communications that are clearly privileged under the

attorney-client privilege, the attorney work product doctrine, the deliberative process privilege, the

law enforcement privilege, the informant’s privilege, and the public interest privilege.

       123.     Grand jury materials are secret and privileged under New York State law. See N.Y.

Crim. Proc. Law § 190.25(4)(a); N.Y. Penal Law § 215.70. “The attorney-client privilege protects



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communications (1) between a client and his or her attorney (2) that are intended to be, and in fact

were, kept confidential (3) for the purpose of obtaining or providing legal advice.” United States

v. Mejia, 655 F.3d 126, 132 (2d Cir. 2011). The attorney work product doctrine protects documents

prepared in anticipation of litigation by a party or its representative. Fed. R. Civ. P. 26(b)(3);

Hickman v. Taylor, 329 U.S. 495, 511–12 (1947); PepsiCo, Inc. v. SEC, 563 F. Supp. 828, 830

(S.D.N.Y. 1983) (explaining that work product privileges are part of federal law). The deliberative

process privilege protects deliberations regarding agency information, such as recommendations

and analysis. The law enforcement privilege protects, among other things, law enforcement

techniques and procedures, confidentiality of sources, and otherwise prevents interference with an

investigation. The informant’s privilege protects from retaliation members of the public who

provide information to the government during an investigation. The public interest privilege

applies to confidential communications between or to public officers in the performance of their

duties where the public interest requires that those confidential communications or sources should

not be revealed. The risk of disclosure is only heightened because the regulations governing House

depositions permit only two “personal, nongovernmental” attorneys to accompany Mr. Pomerantz

to his deposition and bar “government agency personnel” from the District Attorney’s Office to

attend and protect the Office’s privilege.            The regulations also empower a partisan

decisionmaker—the Committee chairman—to overrule a privilege objection and order a witness

to answer a question.

       124.     Privilege has not been waived by virtue of Mr. Pomerantz’s book. Nor can grand

jury secrecy be waived at all. Mr. Pomerantz did not receive written authorization to disclose any

communications, records, or documents that relate in any manner to the investigation he

participated in as a Special Assistant. He was expressly informed of the need to receive that written



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authorization prior to the publication of his book and was expressly unauthorized to reveal any

privileged or secret information. The District Attorney’s Office did not have the opportunity to

review any drafts or excerpts of Mr. Pomerantz’s book prior to publication, despite asking to

conduct such a pre-publication review. And Mr. Pomerantz publicly stated before the book was

published that he was “confident that all of my actions with respect to the Trump investigation,

including the writing of my forthcoming book, are consistent with my legal and ethical

obligations.”

        125.     The demands for documents and testimony that Chairman Jordan has made on

District Attorney Bragg and current and former District Attorney’s Office employees or officials

also improperly seek privileged and confidential material.

        126.     Plaintiff will suffer imminent irreparable harm if the secret and privileged material

is compelled to be disclosed, including but not limited to irreparable harm to New York’s sovereign

dignitary interests.

        127.     Plaintiff lacks any adequate remedy at law.

        WHEREFORE, Plaintiff asks this Court to enter judgment in his favor and to provide the

following relief:

                 a.     A declaratory judgment that the subpoena served on Mr. Pomerantz is

                 invalid, unconstitutional, ultra vires, and/or unenforceable;

                 b.     A permanent injunction, preliminary injunction, and temporary restraining

                 order enjoining any enforcement of the subpoena served on Mr. Pomerantz and

                 enjoining Mr. Pomerantz’s compliance with the subpoena;

                 c.     In the event Chairman Jordan or the Committee serves subpoenas on the

                 District Attorney himself or any of his current or former employees or officials, a



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             declaratory judgment that those subpoenas are invalid, unconstitutional, ultra vires,

             and/or unenforceable as well as a permanent and preliminary injunction enjoining

             enforcement of any such subpoena;

             d.     Plaintiff’s reasonable costs and expenses, including attorneys’ fees; and

             e.     For such other and further relief as this Court determines proper.

Dated: April 11, 2023

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XQSDLG³VSHFLDODVVLVWDQWGLVWULFWDWWRUQH\´WROHDGWKHLQYHVWLJDWLRQLQWRHYHU\IDFHWRI3UHVLGHQW
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PRYHIRUZDUGZLWKFKDUJHVVKDPLQJ%UDJJLQ\RXUUHVLJQDWLRQOHWWHU²ZKLFKZDVVXEVHTXHQWO\
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EDVHOHVVO\DFFXVHG3UHVLGHQW7UXPSRI³QXPHURXVIHORQ\YLRODWLRQV´DQGDVVHUWHGLWZRXOGEH³D
JUDYHIDLOXUHRIMXVWLFH´LI%UDJJGLGQRWSXUVXHFKDUJHV<RXXUJHG%UDJJWRKROG3UHVLGHQW
7UXPS³IXOO\DFFRXQWDEOHIRUKLVFULPHV´DVVHUWLQJWKDW%UDJJ¶VGHFLVLRQ³ZLOOGRRPDQ\IXWXUH
SURVSHFWV´IRUSURVHFXWLRQ<RXUUHVLJQDWLRQOHWWHUIRXQGLWVZD\LQWRWKH1HZ<RUN7LPHV
ZRUGIRUZRUGDQG\RXUFULWLFLVPVRI%UDJJ¶VLQYHVWLJDWLRQZHUHZLGHO\UHSRUWHGE\QHZV
RXWOHWV<RXUXQUHOHQWLQJSXUVXLWRI3UHVLGHQW7UXPSIROORZHG\RXLQWRWKHSULYDWHVHFWRUDV
\RXDQG'XQQHVWDUWHGDODZILUPGHGLFDWHGWR³ZHLJKLQJZD\V´WREDU3UHVLGHQW7UXPSIURP
KROGLQJIXWXUHRIILFH-XVWWKLVPRQWK\RXSXEOLVKHGDERRNH[FRULDWLQJ%UDJJIRUQRW
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³XQXVXDO´EHFDXVH³SURVHFXWRUVKDYHUHSHDWHGO\H[DPLQHGWKHORQJHVWDEOLVKHGGHWDLOVEXW
GHFLGHGQRWWRSXUVXHFKDUJHV´,QDGGLWLRQ%UDJJ¶VVWDUZLWQHVV²0LFKDHO&RKHQ²KDVD
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³JDLQHGVRPHPRPHQWXPWKLV\HDU´DQG%UDJJ¶VRIILFH³FRQYHQHGDQHZJUDQGMXU\LQ-DQXDU\
WRHYDOXDWHWKHLVVXH´7KHRQO\LQWHUYHQLQJIDFWRULWDSSHDUVZDV3UHVLGHQW7UXPS¶V
DQQRXQFHPHQWWKDWKHZRXOGEHDFDQGLGDWHIRU3UHVLGHQWLQ
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FDVWVHULRXVGRXEWRQWKHDGPLQLVWUDWLRQRIIDLUDQGLPSDUWLDOMXVWLFHLQWKLVPDWWHU<RXUZRUGVLQ
WKH1HZ<RUN7LPHVKDYHXQIDLUO\GLVSDUDJHG3UHVLGHQW7UXPSDQLQQRFHQWDQGXQFKDUJHGPDQ
DVDIHORQWRPLOOLRQVRI7LPHVUHDGHUV<RXUERRNDJDLQXQIDLUO\GLVSDUDJHG3UHVLGHQW7UXPS
DQGQRZRSHQVWKHGRRUWRH[DPLQDWLRQDERXWWKH'LVWULFW$WWRUQH\¶VRIILFHFRPPLWPHQWWR
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IXQFWLRQLQJDQGIDLUQHVVRIRXUFULPLQDOMXVWLFHV\VWHPDQGWREHWWHUGHOLQHDWHSURVHFXWRULDO
DXWKRULW\EHWZHHQIHGHUDODQGORFDORIILFLDOV,QDGGLWLRQEHFDXVHWKHFLUFXPVWDQFHVRIWKLV
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        IHGHUDOODZHQIRUFHPHQWDJHQFLHVUHIHUULQJRUUHODWLQJWR1HZ<RUN&RXQW\'LVWULFW
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        ,QDGGLWLRQ\RXUWHVWLPRQ\LVQHFHVVDU\WRDGYDQFHRXURYHUVLJKWDQGWRLQIRUPSRWHQWLDO
OHJLVODWLYHUHIRUPV:HWKHUHIRUHDVNWKDW\RXWHVWLI\LQDWUDQVFULEHGLQWHUYLHZDERXWWKHVH
PDWWHUVDVVRRQDVSRVVLEOH3OHDVHSURYLGHWKLVLQIRUPDWLRQDQGFRQWDFW&RPPLWWHHVWDIIWR
VFKHGXOH\RXUWUDQVFULEHGLQWHUYLHZDVVRRQDVSRVVLEOHEXWQRWODWHUWKDQDPRQ0DUFK
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FRQJUHVVLRQDOLQTXLU\7KLVLQVWUXFWLRQLQFOXGHVDOOHOHFWURQLFPHVVDJHVVHQWXVLQJ\RXURIILFLDO
DQGSHUVRQDODFFRXQWVRUGHYLFHVLQFOXGLQJUHFRUGVFUHDWHGXVLQJWH[WPHVVDJHVSKRQHEDVHG
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        7KH&RPPLWWHHRQWKH-XGLFLDU\KDVMXULVGLFWLRQRYHUFULPLQDOMXVWLFHPDWWHUVLQWKH
8QLWHG6WDWHVDQGPDWWHUVLQYROYLQJWKUHDWVWRFLYLOOLEHUWLHVSXUVXDQWWR5XOH;RIWKH5XOHVRI
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XQSUHFHGHQWHGDEXVHRISURVHFXWRULDODXWKRULW\WKHLQGLFWPHQWRIDIRUPHU3UHVLGHQWRIWKH
8QLWHG6WDWHVDQGFXUUHQWGHFODUHGFDQGLGDWHIRUWKDWRIILFH7KLVLQGLFWPHQWFRPHVDIWHU\HDUVRI
WKH'LVWULFW$WWRUQH\¶VRIILFHDJJUHVVLYHO\SXUVXLQJFKDUJHVZLWK\RXDQGRWKHUVSHFLDO
SURVHFXWRUVOHDGLQJWKHLQYHVWLJDWLRQLQWRHYHU\IDFHWRI3UHVLGHQW7UXPS¶VILQDQFHV/DVW\HDU
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              Exhibit 6
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FXUUHQWDQGIRUPHU3UHVLGHQWVE\HOHFWHGVWDWHDQGORFDOSURVHFXWRUVSDUWLFXODUO\WKRVHWULHG
EHIRUHHOHFWHGVWDWHDQGORFDOWULDOOHYHOMXGJHV7KHUHIRUHWKH&RPPLWWHHRQWKH-XGLFLDU\DVD
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GUDIWOHJLVODWLRQWKDWZRXOGLIHQDFWHGLQVXODWHFXUUHQWDQGIRUPHUSUHVLGHQWVIURPVXFK
LPSURSHUVWDWHDQGORFDOSURVHFXWLRQV7KHVHOHJLVODWLYHUHIRUPVPD\LQFOXGHIRUH[DPSOH
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ODZHQIRUFHPHQWRIILFLDOVUHTXLUHGWRSURWHFWWKHIRUPHU3UHVLGHQWDQGORFDOODZHQIRUFHPHQW
RIILFLDOVUHTXLUHGWRHQIRUFH\RXULQGLFWPHQWDQGH[HUFLVHFRQWURORIKLPWKURXJKRXWKLVSUHVHQFH
LQWKHORFDOFULPLQDOMXVWLFHV\VWHP6XFKDQRYHODQGSRWHQWLDOO\IUDXJKWFROOLVLRQRIIHGHUDODQG
ORFDOODZHQIRUFHPHQWRIILFLDOVZLWKWKHVDIHW\RIDIRUPHU3UHVLGHQWDWVWDNHLVFHUWDLQO\DPDWWHU
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UHIRUPFRXOGKDYHWKHHIIHFWRIEHWWHUGHOLQHDWLQJWKHSURVHFXWRULDODXWKRULWLHVRIIHGHUDODQG
ORFDORIILFLDOVLQWKLVDUHDDQGEORFNLQJWKHVHOHFWLYHRUSROLWLFL]HGHQIRUFHPHQWE\VWDWHDQGORFDO
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PXUGHUHGLQ\RXUGLVWULFWZKRFULWLFL]HG\RXURIILFH¶VKDQGOLQJRIKHUVRQ¶VPXUGHUE\RIIHULQJ
SOHDGHDOVWRWKHGHIHQGDQWVGHVSLWHWKHIDFWWKDW³WKHPXUGHUDQGWKHLUUROHVZHUHFDXJKWRQYLGHR
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FRQVLGHUDWLRQVDUHPRWLYDWLQJ\RXUSURVHFXWRULDOGHFLVLRQVWKH&RPPLWWHHRQWKH-XGLFLDU\PD\
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)HGHUDOFRXUWVKDYHLQWHUSUHWHGWKLVSURQJEURDGO\UHTXLULQJ³RQO\WKDWWKHVSHFLILFLQTXLULHVEH
UHDVRQDEO\UHODWHGWRWKHVXEMHFWPDWWHUXQGHULQYHVWLJDWLRQ´7KHLQIRUPDWLRQVRXJKWE\WKH
&RPPLWWHHVZLOODOORZXVWRDVVHVVWKHH[WHQWWRZKLFK\RXUUHSRUWHGHIIRUWWRLQGLFWDIRUPHU
3UHVLGHQWDQGFXUUHQWGHFODUHGFDQGLGDWHIRUWKDWRIILFHLVSROLWLFDOO\PRWLYDWHGDQGZKHWKHU
&RQJUHVVVKRXOGWKHUHIRUHGUDIWOHJLVODWLYHUHIRUPVWRDPRQJRWKHUWKLQJVSURWHFWIRUPHUDQG
FXUUHQW3UHVLGHQWVIURPSROLWLFDOO\PRWLYDWHGSURVHFXWLRQV
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         <RXUFRQFOXVRU\FODLPWKDWRXUFRQVWLWXWLRQDORYHUVLJKWUHVSRQVLELOLWLHVZLOOLQWHUIHUHZLWK
ODZHQIRUFHPHQWLVPLVSODFHGDQGXQFRQYLQFLQJ$VDWKUHVKROGPDWWHUZKHWKHU\RXURIILFHLVLQ
IDFWIDLUO\HQIRUFLQJWKHODZRUDEXVLQJSURVHFXWRULDOGLVFUHWLRQWRHQJDJHLQDSROLWLFDOO\
PRWLYDWHGLQGLFWPHQWRIDIRUPHU3UHVLGHQWLVDVHULRXVPDWWHUWKDWDVGLVFXVVHGDERYH
LPSOLFDWHVVLJQLILFDQWIHGHUDOLQWHUHVWV7KH&RPPLWWHHVUHTXLUHLQIRUPDWLRQIURPWKH1HZ<RUN
&RXQW\'LVWULFW$WWRUQH\¶V2IILFHWRDGYDQFHRXURYHUVLJKWRYHUWKHYHU\PDWWHUWKDW\RXFODLPLV
DEDVLVWRREVWUXFWRXULQYHVWLJDWLRQ
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         ,QVXSSRUWRI\RXUEURDGFODLPWKDWFRPSOLDQFHZLWKWKH&RPPLWWHHV¶UHTXHVWVIRU
GRFXPHQWVDQGDWUDQVFULEHGLQWHUYLHZZRXOGLQWHUIHUHZLWKODZHQIRUFHPHQW\RXQRWHWZR1HZ
<RUN6WDWHVWDWXWHVWKDWSURKLELWWKHGLVFORVXUHRIJUDQGMXU\PDWHULDOV7KH&RPPLWWHHV¶
LQIRUPDWLRQUHTXHVWVKRZHYHUUHODWHWRQXPHURXVDUHDVRILQTXLU\WKDWLQQRZD\LPSOLFDWH
JUDQGMXU\PDWHULDOVRUVHHNLQIRUPDWLRQWKDWZRXOGEHFRQILGHQWLDOXQGHU1HZ<RUNODZ)RU
H[DPSOHWKHUHTXHVWIRU\RXURIILFH¶VXVHRIIHGHUDOIXQGVKDVQRFRQQHFWLRQWRDQ\JUDQGMXU\
SURFHHGLQJV6LPLODUO\WKHYDVWPDMRULW\RIWKHTXHVWLRQVWKDWWKH&RPPLWWHHVLQWHQGWRDVN\RX
LQDQLQWHUYLHZDOVRZRXOGQRWLPSOLFDWHJUDQGMXU\VHFUHF\0RUHRYHUWRWKHH[WHQWWKDW
TXHVWLRQVDUHDVNHGWKDW\RXEHOLHYH\RXDUHQRWSHUPLWWHGWRDQVZHU\RXZRXOGUHWDLQWKHDELOLW\
WRGHFOLQHWRDQVZHURUWRDVVHUWDQDSSOLFDEOHSULYLOHJH/LNHZLVH\RXUHPDLQIUHHWRGHFOLQHWR
SURGXFHFHUWDLQUHVSRQVLYHGRFXPHQWVRQWKHEDVLVRIDSSURSULDWHSULYLOHJHVRUVWDWXWHVWKDW
SUHFOXGHSURGXFWLRQSURYLGHG\RXSURYLGHWKH&RPPLWWHHVZLWKDGHWDLOHGSULYLOHJHORJWKDWZLOO
HQDEOHXVWRUHYLHZDQGHYDOXDWH\RXUFODLPV7KHODZVFLWHGLQ\RXUOHWWHUGRQRWHVWDEOLVKD
EDVLVIRUDFRPSOHWHUHIXVDOWRFRRSHUDWH$WEHVWWKH\SURYLGHDUJXPHQWVWKDWPD\EHDVVHUWHG
RQHLWKHUDTXHVWLRQE\TXHVWLRQRUDGRFXPHQWE\GRFXPHQWEDVLV
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         )XUWKHUPRUH\RXULQYRFDWLRQRIFHUWDLQ1HZ<RUNODZVDVSUHFOXGLQJ\RXIURP
FRPSO\LQJZLWKRXURYHUVLJKWUHTXHVWLVDWDPLQLPXPRYHUEURDG)RUH[DPSOH1HZ<RUN¶V
)UHHGRPRI,QIRUPDWLRQ/DZ 3XEOLF2IILFHUV/DZ  SURYLGHVWKDWDJHQFLHVPD\GHFOLQH
WRPDNHFHUWDLQUHFRUGVDYDLODEOHIRUSXEOLFLQVSHFWLRQLWQHLWKHUUHTXLUHVWKHPWRGRVRQRU
GLUHFWO\VSHDNVWRIRUPDOUHTXHVWVIURPFRQJUHVVLRQDOFRPPLWWHHV7KXVWKDWVWDWXWRU\SURYLVLRQ
GRHVQRWSUHFOXGH\RXIURPSURYLGLQJXVZLWKUHFRUGVWKDWZHUH³FRPSLOHGIRUODZHQIRUFHPHQW

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IURPDPHPEHURIWKHSXEOLFDVRSSRVHGWRFRQJUHVVLRQDOFRPPLWWHHVD³GHQLDORIDFFHVVVKDOO
QRWEHEDVHGVROHO\RQWKHFDWHJRU\RUW\SHRIVXFKUHFRUGDQGVKDOOEHYDOLGRQO\ZKHQWKHUHLVD
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IHGHUDOLVP²DUJXLQJLQSDUWWKDWRXU³UHTXHVWVDUHDQXQODZIXOLQFXUVLRQLQWR1HZ<RUN¶V
VRYHUHLJQW\´<RXJRRQWRQRWHWKDW³WKH'LVWULFW$WWRUQH\LVGXW\ERXQGE\KLVFRQVWLWXWLRQDO
RDWKWR1HZ<RUN¶VVRYHUHLJQLQWHUHVWLQWKHH[HUFLVHRISROLFHSRZHUVUHVHUYHGWRWKH6WDWHV
XQGHUWKH7HQWK$PHQGPHQW´&RQWUDU\WR\RXUDVVHUWLRQVWKLVLQTXLU\GRHVQRWLQIULQJHRQ
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UHTXHVWVKHUHVLPSO\GRQRWFRPSHOWKHVWDWH³WRHQDFWHQIRUFHRUDGPLQLVWHUIHGHUDOSROLFLHV´
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8QLWHG6WDWHVDVVD\LQJ³&RQJUHVV>LVQRW@DODZHQIRUFHPHQWRUWULDODJHQF\´:HDJUHH7KH
&RPPLWWHHVGRQRWVHHNWRVWHSLQWRWKHVKRHVRIWKH([HFXWLYH%UDQFKRUXVXUSLWVSRZHUV
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WRFRQGXFWRYHUVLJKWWRLQIRUPSRWHQWLDOOHJLVODWLYHUHIRUPV7KLVSRZHU
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                HQFRPSDVVHV LQTXLULHV FRQFHUQLQJ WKH DGPLQLVWUDWLRQ RI H[LVWLQJ
                ODZV DV ZHOO DV SURSRVHG RU SRVVLEO\ QHHGHG VWDWXWHV ,W LQFOXGHV
                VXUYH\VRIGHIHFWVLQRXUVRFLDOHFRQRPLFRUSROLWLFDOV\VWHPIRUWKH
                SXUSRVHRIHQDEOLQJWKH&RQJUHVVWRUHPHG\WKHP,WFRPSUHKHQGV
                SUREHV LQWR GHSDUWPHQWV RI WKH )HGHUDO *RYHUQPHQW WR H[SRVH
                FRUUXSWLRQLQHIILFLHQF\RUZDVWH
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RYHUVLJKWRIRQJRLQJFLYLODQGFULPLQDOLQYHVWLJDWLRQV,Q6LQFODLUY8QLWHG6WDWHVWKH6XSUHPH
&RXUWQRWHGWKDWWKHSHQGHQF\RIOLWLJDWLRQGRHVQRWVWRS&RQJUHVV¶VDELOLW\WRLQYHVWLJDWH
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                ,W PD\ EH FRQFHGHG WKDW &RQJUHVV LV ZLWKRXW DXWKRULW\ WR FRPSHO
                GLVFORVXUHV IRU WKH SXUSRVH RI DLGLQJ WKH SURVHFXWLRQ RI SHQGLQJ
                VXLWV EXW WKH DXWKRULW\ RI WKDW ERG\ GLUHFWO\ RU WKURXJK LWV
                FRPPLWWHHV WR UHTXLUH SHUWLQHQW GLVFORVXUHV LQ DLG RI LWV RZQ
                FRQVWLWXWLRQDOSRZHULVQRWDEULGJHGEHFDXVHWKHLQIRUPDWLRQVRXJKW
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LQYHVWLJDWLRQQHHGQRWJULQGWRDKDOWZKHQHYHUUHVSRQVHVWRLWVLQTXLULHVPLJKWSRWHQWLDOO\EH
KDUPIXOWRDZLWQHVVLQVRPHGLVWLQFWSURFHHGLQJRUZKHQFULPHRUZURQJGRLQJLVH[SRVHG´
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OLPLWVRQWKHPDQDJHPHQWRIDSDUWLFXODUFDVH´$FFRUGLQJO\\RXUUHIXVDOWRFRRSHUDWHZLWKRXU
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        :KLOHZHDSSUHFLDWH\RXURIIHUWRVXEPLWDOHWWHUGHWDLOLQJWKH'LVWULFW$WWRUQH\¶V
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XVHRIIHGHUDOIXQGVZLOOQRWVKHGPHDQLQJIXOOLJKWRQWKDWTXHVWLRQZHH[SHFWWKDW\RXUUHVSRQVH
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              Exhibit 8
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  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY OF NEW YORK


  THE PEOPLE OF THE STATE OF NEW YORK

                         -against-

  DONALD J. TRUMP,

                                            Defendant.



       THE GRAND JURY OF THE COUNTY OF NEW YORK, by this indictment, accuses

the defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST

DEGREE, in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about February 14, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an invoice

from Michael Cohen dated February 14, 2017, marked as a record of the Donald J. Trump

Revocable Trust, and kept and maintained by the Trump Organization.



SECOND COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about February 14, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an entry in

the Detail General Ledger for the Donald J. Trump Revocable Trust, bearing voucher number

842457, and kept and maintained by the Trump Organization.
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THIRD COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about February 14, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an entry in

the Detail General Ledger for the Donald J. Trump Revocable Trust, bearing voucher number

842460, and kept and maintained by the Trump Organization.



FOURTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about February 14, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, a Donald J.

Trump Revocable Trust Account check and check stub dated February 14, 2017, bearing check

number 000138, and kept and maintained by the Trump Organization.



FIFTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:
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       The defendant, in the County of New York and elsewhere, on or about March 16, 2017

through March 17, 2017, with intent to defraud and intent to commit another crime and aid and

conceal the commission thereof, made and caused a false entry in the business records of an

enterprise, to wit, an invoice from Michael Cohen dated February 16, 2017 and transmitted on or

about March 16, 2017, marked as a record of the Donald J. Trump Revocable Trust, and kept and

maintained by the Trump Organization.



SIXTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about March 17, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an entry in

the Detail General Ledger for the Donald J. Trump Revocable Trust, bearing voucher number

846907, and kept and maintained by the Trump Organization.



SEVENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:
          CaseCase 23-616, Document
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       The defendant, in the County of New York and elsewhere, on or about March 17, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, a Donald J.

Trump Revocable Trust Account check and check stub dated March 17, 2017, bearing check

number 000147, and kept and maintained by the Trump Organization.



EIGHTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about April 13, 2017

through June 19, 2017, with intent to defraud and intent to commit another crime and aid and

conceal the commission thereof, made and caused a false entry in the business records of an

enterprise, to wit, an invoice from Michael Cohen dated April 13, 2017, marked as a record of

Donald J. Trump, and kept and maintained by the Trump Organization.



NINTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about June 19, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, an entry in the Detail

General Ledger for Donald J. Trump, bearing voucher number 858770, and kept and maintained

by the Trump Organization.
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TENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about June 19, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, a Donald J. Trump

account check and check stub dated June 19, 2017, bearing check number 002740, and kept and

maintained by the Trump Organization.



ELEVENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about May 22, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, an invoice from

Michael Cohen dated May 22, 2017, marked as a record of Donald J. Trump, and kept and

maintained by the Trump Organization.



TWELFTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:
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       The defendant, in the County of New York and elsewhere, on or about May 22, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, an entry in the Detail

General Ledger for Donald J. Trump, bearing voucher number 855331, and kept and maintained

by the Trump Organization.



THIRTEENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about May 23, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, a Donald J. Trump

account check and check stub dated May 23, 2017, bearing check number 002700, and kept and

maintained by the Trump Organization.



FOURTEENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about June 16, 2017

through June 19, 2017, with intent to defraud and intent to commit another crime and aid and

conceal the commission thereof, made and caused a false entry in the business records of an

enterprise, to wit, an invoice from Michael Cohen dated June 16, 2017, marked as a record of

Donald J. Trump, and kept and maintained by the Trump Organization.
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FIFTEENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about June 19, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, an entry in the Detail

General Ledger for Donald J. Trump, bearing voucher number 858772, and kept and maintained

by the Trump Organization.



SIXTEENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about June 19, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, a Donald J. Trump

account check and check stub dated June 19, 2017, bearing check number 002741, and kept and

maintained by the Trump Organization.



SEVENTEENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:
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       The defendant, in the County of New York and elsewhere, on or about July 11, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, an invoice from

Michael Cohen dated July 11, 2017, marked as a record of Donald J. Trump, and kept and

maintained by the Trump Organization.



EIGHTEENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about July 11, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, an entry in the Detail

General Ledger for Donald J. Trump, bearing voucher number 861096, and kept and maintained

by the Trump Organization.



NINETEENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about July 11, 2017, with

intent to defraud and intent to commit another crime and aid and conceal the commission thereof,

made and caused a false entry in the business records of an enterprise, to wit, a Donald J. Trump

account check and check stub dated July 11, 2017, bearing check number 002781, and kept and

maintained by the Trump Organization.
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TWENTIETH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about August 1, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an invoice

from Michael Cohen dated August 1, 2017, marked as a record of Donald J. Trump, and kept and

maintained by the Trump Organization.



TWENTY-FIRST COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about August 1, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an entry in

the Detail General Ledger for Donald J. Trump, bearing voucher number 863641, and kept and

maintained by the Trump Organization.



TWENTY-SECOND COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:
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       The defendant, in the County of New York and elsewhere, on or about August 1, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, a Donald J.

Trump account check and check stub dated August 1, 2017, bearing check number 002821, and

kept and maintained by the Trump Organization.



TWENTY-THIRD COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about September 11,

2017, with intent to defraud and intent to commit another crime and aid and conceal the

commission thereof, made and caused a false entry in the business records of an enterprise, to wit,

an invoice from Michael Cohen dated September 11, 2017, marked as a record of Donald J.

Trump, and kept and maintained by the Trump Organization.



TWENTY-FOURTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about September 11,

2017, with intent to defraud and intent to commit another crime and aid and conceal the

commission thereof, made and caused a false entry in the business records of an enterprise, to wit,

an entry in the Detail General Ledger for Donald J. Trump, bearing voucher number 868174, and

kept and maintained by the Trump Organization.
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TWENTY-FIFTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about September 12,

2017, with intent to defraud and intent to commit another crime and aid and conceal the

commission thereof, made and caused a false entry in the business records of an enterprise, to wit,

a Donald J. Trump account check and check stub dated September 12, 2017, bearing check

number 002908, and kept and maintained by the Trump Organization.



TWENTY-SIXTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about October 18, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an invoice

from Michael Cohen dated October 18, 2017, marked as a record of Donald J. Trump, and kept

and maintained by the Trump Organization.



TWENTY-SEVENTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:
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       The defendant, in the County of New York and elsewhere, on or about October 18, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an entry in

the Detail General Ledger for Donald J. Trump, bearing voucher number 872654, and kept and

maintained by the Trump Organization.



TWENTY-EIGHTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about October 18, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, a Donald J.

Trump account check and check stub dated October 18, 2017, bearing check number 002944, and

kept and maintained by the Trump Organization.



TWENTY-NINTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about November 20,

2017, with intent to defraud and intent to commit another crime and aid and conceal the

commission thereof, made and caused a false entry in the business records of an enterprise, to wit,

an invoice from Michael Cohen dated November 20, 2017, marked as a record of Donald J.

Trump, and kept and maintained by the Trump Organization.
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THIRTIETH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about November 20,

2017, with intent to defraud and intent to commit another crime and aid and conceal the

commission thereof, made and caused a false entry in the business records of an enterprise, to wit,

an entry in the Detail General Ledger for Donald J. Trump, bearing voucher number 876511, and

kept and maintained by the Trump Organization.



THIRTY-FIRST COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about November 21,

2017, with intent to defraud and intent to commit another crime and aid and conceal the

commission thereof, made and caused a false entry in the business records of an enterprise, to wit,

a Donald J. Trump account check and check stub dated November 21, 2017, bearing check

number 002980, and kept and maintained by the Trump Organization.



THIRTY-SECOND COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:
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       The defendant, in the County of New York and elsewhere, on or about December 1, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an invoice

from Michael Cohen dated December 1, 2017, marked as a record of Donald J. Trump, and kept

and maintained by the Trump Organization.



THIRTY-THIRD COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about December 1, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, an entry in

the Detail General Ledger for Donald J. Trump, bearing voucher number 877785, and kept and

maintained by the Trump Organization.



THIRTY-FOURTH COUNT:

       AND THE GRAND JURY AFORESAID, by this indictment, further accuses the

defendant of the crime of FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE,

in violation of Penal Law §175.10, committed as follows:

       The defendant, in the County of New York and elsewhere, on or about December 5, 2017,

with intent to defraud and intent to commit another crime and aid and conceal the commission

thereof, made and caused a false entry in the business records of an enterprise, to wit, a Donald J.
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Trump account check and check stub dated December 5, 2017, bearing check number 003006,

and kept and maintained by the Trump Organization.


                                                     ALVIN L. BRAGG, JR.
                                                     District Attorney
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                                     Filed:                               NA

                                                        No.



                                  THE PEOPLE OF THE STATE OF NEW YORK

                                                      -against-

                                  DONALD J. TRUMP,

                                                                          Defendant.


                                                   INDICTMENT


  FALSIFYING BUSINESS RECORDS IN THE FIRST DEGREE, P.L. §175.10, 34 Cts



                                  ALVIN L. BRAGG JR., District Attorney

                                                     A True Bill



                                                     Foreperson
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


ALVIN L. BRAGG, JR., in his official capacity as District
Attorney for New York County,

Plaintiff,                                                  Case No. 23-cv-3032

      v.

JIM JORDAN, in his official capacity as Chairman of the
Committee on the Judiciary, et al.,

Defendants.



MEMORANDUM OF LAW IN SUPPORT OF THE DISTRICT ATTORNEY’S MOTION
 FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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                                          INTRODUCTION

          Chairman Jim Jordan and the House Committee on the Judiciary have issued a subpoena

to former Manhattan prosecutor Mark Pomerantz for the purpose of interfering with New York’s

criminal prosecution of a single individual—former President Donald J. Trump. Ex. 1.1 On March

30, 2023, an independent New York grand jury returned an indictment charging Mr. Trump with

34 felony counts under New York law. Ex. 36. Mr. Trump has leveraged his extensive social

media network to undermine public confidence in the charges and threaten District Attorney Alvin

Bragg Jr. (“District Attorney” or “D.A.”). Compl. ¶¶ 34, 50–53, 63–65, 69–70, 84–86. At the

urging of Mr. Trump’s defense counsel, powerful allies in Congress have carried the refrain that

the charges are “politically motivated” and have vowed to use the power of their office to hold the

District Attorney “accountable.” Id. ¶¶ 37–38, 72–74, 88–90; Ex. 2, at 1. Their latest salvo—the

subpoena to Mr. Pomerantz—is an abuse of congressional process and a brazen incursion into New

York’s exercise of its sovereign prosecutorial powers.

          The District Attorney hereby moves for a temporary restraining order and preliminary

injunction to bar Chairman Jordan and his Committee from enforcing this unlawful and

unconstitutional subpoena and to prohibit Mr. Pomerantz from complying with it. According to

Chairman Jordan, the Committee seeks to question Mr. Pomerantz about the “internal

deliberations” of the District Attorney’s office and the “unique role” he played “as a special

assistant district attorney leading the investigation into President Trump’s finances.” Ex. 1, at 2.

This unprecedented federal intrusion into a state criminal prosecution exceeds Congress’s

authority under Article I of the Constitution and frustrates New York’s prerogative to enforce its

own criminal law. “Under our federal system, the States possess primary authority for defining


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    Exhibits cited herein are exhibits to the Declaration of Theodore J. Boutrous Jr.


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and enforcing the criminal law.” United States v. Lopez, 514 U.S. 549, 561 n.3 (1995). The

Constitution requires the federal government to strictly observe a policy of “no interference” with

the state officers who are “charged with the duty of prosecuting offenders against the laws of the

State and must decide when and how this is to be done.” Younger v. Harris, 401 U.S. 37, 45

(1971). Congress is not “a law enforcement or trial agency,” Watkins v. United States, 354 U.S.

178, 187 (1957), and the Judiciary Committee has no “valid legislative purpose” for hauling a

former state prosecutor to Washington, D.C. to second guess the exercise of prosecutorial authority

reserved to New York State. Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031 (2020).

       Mr. Jordan claims that the Judiciary Committee’s unprecedented interference with a state

criminal case is justified because, in his opinion, a “popularly elected” district attorney and state

“trial-level judges” who “lack life tenure” cannot possibly be trusted to respect Mr. Trump’s rights.

Ex. 1, at 2. But if Mr. Jordan believes the charges are “Outrageous,” Ex. 17—a view not shared

by the independent grand jury that indicted Mr. Trump—the proper forum for that objection is Mr.

Trump’s upcoming trial in New York Supreme Court. Like every other criminal defendant, Mr.

Trump will have the opportunity to confront the state’s evidence and argue his innocence to the

jury. And the District Attorney will have the burden of proving his charges by the most rigorous

standard known to the law—beyond a reasonable doubt. A public trial, conducted with the robust

procedural protections our Constitution and New York law afford, provides the ultimate safeguard

against what Mr. Jordan derides as a “politically motivated” prosecution. Exs. 1, 2. That process

alone, and not a congressional cross-examination of a former local prosecutor, will determine

whether the charges will result in a conviction.

       This Court should issue the preliminary injunction and temporary restraining order barring

enforcement of the Committee’s unconstitutional subpoena.



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                                        BACKGROUND

       The Judiciary Committee’s subpoena is one of multiple efforts to undermine and disrupt

the criminal proceedings in New York. Compl. ¶ 110. Twelve days before the indictment issued,

Mr. Trump falsely announced that he would be arrested in three days and began stoking unrest on

social media. Id. ¶ 34. In the same Truth Social post where he predicted his own arrest, Mr. Trump

denigrated the District Attorney’s office as “CORRUPT & HIGHLY POLITICAL” and pressed

his followers to “TAKE OUR NATION BACK!” Ex. 6. His rhetoric only sharpened from there.

Mr. Trump maligned the District Attorney as a “SOROS BACKED ANIMAL” and “a degenerate

psychopath that truely [sic] hates the USA.” Exs. 7, 8; Compl. ¶¶ 50, 53. He threatened that “the

thugs and criminals who are corrupting our justice system will be defeated, discredited, and totally

disgraced.” Ex. 55; Compl. ¶ 5. Most ominously, he warned that his arrest or indictment would

unleash “death & destruction,” words reminiscent of the tweet that launched the insurrection at the

U.S. Capitol on January 6, 2021. Exs. 8, 29, 34; Compl. ¶ 53.

       As Mr. Trump fired up his supporters for a “war,” his attorney reportedly worked behind

the scenes to enlist help from representatives in Congress. Ex. 9; Compl. ¶¶ 5, 33. Mr. Trump’s

lawyer reportedly sent Chairman Jordan a letter urging Congress to investigate what he called an

“egregious abuse of power” by a “rogue local district attorney.” Ex. 25; Compl. ¶ 33. Mr. Jordan

and U.S. Reps. James Comer and Bryan Steil marched in step to these orders, sending their own

letter to the District Attorney demanding that he produce documents and appear before Congress

to “testify about what plainly appears to be a politically motivated prosecutorial decision.” Ex. 2,

at 1. The trio then delivered a similar demand to Mr. Pomerantz and Carey Dunne, former

prosecutors in the Manhattan D.A.’s office who at one time led the investigation into Mr. Trump

and his businesses. Exs. 58, 59; Compl. ¶¶ 43–45.



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       The District Attorney’s general counsel responded that the demand was “an unlawful

incursion into New York’s sovereignty” and requested the opportunity to meet and confer “to

understand whether the Committee has any legitimate legislative purpose in the requested

materials that could be accommodated without impeding those sovereign interests.” Ex. 10, at 3,

5; see also Ex. 19. In a follow-up letter, Jordan, Comer, and Steil ignored the request to meet and

confer, manufactured new supposed legislative objectives, and reiterated their intent to conduct

“an examination of the facts” underlying the District Attorney’s investigation. Ex. 11, at 2.

       Meanwhile, the District Attorney’s office directed Pomerantz and Dunne not to provide the

documents or testimony the congressmen demanded in their letter. Mr. Pomerantz informed

Chairman Jordan on March 27, 2023, that he would “act in a manner consistent with the

instructions” he had received from the District Attorney. Ex. 12; Compl. ¶ 66. He also requested

that Chairman Jordan direct any future requests for his testimony to the District Attorney’s office.

Id. Mr. Dunne did the same. Ex. 13; Compl. ¶ 67.

       As the parties exchanged letters, the indictment issued on March 30, 2023, charging Mr.

Trump with 34 felony counts of falsifying business records in the first degree. Exs. 36, 36-A;

Compl. ¶¶ 68, 93. Mr. Trump pleaded not guilty to the charges. Compl. ¶ 94. Other aspects of

the District Attorney’s investigation have not resulted in grand jury action. As he awaits trial in

the New York Supreme Court, Mr. Trump and others have waged an aggressive campaign to

threaten and intimidate the District Attorney and presiding Judge Juan Merchan. Id. ¶s¶ 34, 36–

38, 50–53, 63–65, 69–74, 84–91; see also, e.g., Exs. 3–9, 23–26, 30–33, 35, 38–46, 49. On his

Truth Social account, Mr. Trump posted a photograph of himself that made it appear he was

swinging a baseball bat toward the District Attorney’s head. Ex. 14; Compl. ¶¶ 5, 52. Then, after

Mr. Trump primed his social media followers to believe that Judge Merchan “HATES ME,” his



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son, Donald Trump Jr., reposted a photograph of the judge’s adult daughter. Ex. 4; Compl. ¶ 69.

Mr. Trump and his allies in Congress have also leveled baseless and inflammatory accusations that

the state’s case is “politically motivated.” Exs. 2, 5-A, 11, 24, 25, 47; Compl. ¶¶ 39, 44, 57, 88,

100–01. Mr. Trump derided the state’s charges as “Fake, Corrupt, and Disgraceful,” among other,

more noxious descriptions. Ex. 16; Compl. ¶ 69. Mr. Jordan tweeted: “Outrageous.” Ex. 17;

Compl. ¶ 73. And House Speaker Kevin McCarthy vowed to use the power of his office to “hold

Alvin Bragg and his unprecedented abuse of power to account.” Ex. 18; Compl. ¶ 114; see also

Ex. 3; Compl. ¶ 89 (pledging that the District Attorney would be “held accountable by Congress”).

       On April 6, 2023, two days after Mr. Trump’s arraignment, the Judiciary Committee issued

its subpoena to Mr. Pomerantz, ordering him to appear for a deposition on April 20, 2023. Ex. 1.

According to The New York Times, House Republicans were eager to subpoena the District

Attorney but wanted to avoid “accusations of personal hypocrisy” after Speaker McCarthy and

Chairman Jordan both defied subpoenas from the House Select Committee investigating the

January 6, 2021, insurrection at the U.S. Capitol. Ex. 15; Compl. ¶ 37 n.9. Instead, they decided

to start by pursuing what they believed to be an easier initial target—Mr. Pomerantz. Compl.

¶¶ 99, 110. In a letter accompanying the subpoena, Chairman Jordan asserted that Mr. Pomerantz

had “no basis to decline to testify” because he published a book about the Trump investigation

after he resigned from the District Attorney’s office in February 2022. Ex. 1, at 2. Chairman

Jordan asserted that the Committee had “a specific and manifestly important interest in preventing

politically motivated prosecutions of current and former Presidents by elected state and local

prosecutors.” Id. at 1–2. And he contended that Mr. Pomerantz was “uniquely situated” to provide

information because of his “unique role as a special assistant district attorney” who participated in

the office’s investigation of Mr. Trump. Id. at 2. This action followed.



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                                            ARGUMENT

        The Judiciary Committee’s extraordinary request to a former state prosecutor requires

extraordinary relief. A party seeking a temporary restraining order or preliminary injunction must

demonstrate that (1) he is likely to succeed on the merits; (2) he is likely to suffer irreparable injury

absent preliminary relief; (3) the balance of the equities tips in his favor; and (4) an injunction

serves the public interest. Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008); 3M Co. v.

Performance Supply, LLC, 458 F. Supp. 3d 181, 191 (S.D.N.Y. 2020) (recognizing the “same legal

standard” governs the issuance of preliminary injunctions and TROs).

        The Judiciary Committee’s subpoena to Mr. Pomerantz marks the first time in our nation’s

history that Congress has used its compulsory process to interfere with an ongoing state criminal

case. The District Attorney is likely to succeed on the merits because the subpoena exceeds

Congress’s authority and obstructs New York’s sovereign right to enforce its criminal law. The

subpoena would also irreparably injure the District Attorney by, among other things, interfering

with an ongoing criminal case, compromising grand jury secrecy and the attorney-client privilege,

and disrupting his preparation for trial. Finally, the balance of the equities and the public interest

favor the District Attorney because the subpoena undercuts federalism principles and the fair

administration of justice by injecting politics into a state criminal case.

I.      The District Attorney Is Likely To Succeed on the Merits.

        A.      The Subpoena Lacks Any Valid Legislative Purpose and Therefore Exceeds
                Congress’s Authority Under Article I.

        The Judiciary Committee’s subpoena is unlawful and unenforceable because it lacks any

“valid legislative purpose.” Mazars, 140 S. Ct. at 2031. “A congressional subpoena is valid only

if it is related to, and in furtherance of, a legitimate task of Congress.” Id. A subpoena, in other

words, must “concern a subject on which legislation could be had.” Id. (brackets omitted). The


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Committee’s subpoena flunks this basic requirement because its purpose is to undermine and

obstruct New York’s criminal case against Mr. Trump and retaliate against the District Attorney

for what Chairman Jordan falsely described as a “politically motivated” prosecution. Ex. 1, at 1.

Neither of these falls within “the sphere of legitimate legislative activity,” Eastland v. U.S.

Servicemen’s Fund, 421 U.S. 491, 506 (1975), because Congress has no authority to meddle in an

ongoing criminal case prosecuted in New York state court under New York law.

       Although Congress’s subpoena power is broad, “it is not unlimited.” Watkins, 354 U.S. at

187. “Investigations conducted solely for the personal aggrandizement of the investigators or to

‘punish’ those investigated are indefensible.” Id. “Nor is Congress a law enforcement or trial

agency.” Id. “These are functions of the executive and judicial departments of government.” Id.

The Supreme Court thus held more than 140 years ago that Congress may not deploy its subpoena

power to “interfere with” a case “pending in a court of competent jurisdiction.” Kilbourn v.

Thompson, 103 U.S. 168, 194 (1881). In Kilbourn, a witness challenged a House subpoena for

documents and testimony relating to a company in bankruptcy proceedings where the United States

was a creditor. Because the company’s bankruptcy case remained open in the Eastern District of

Pennsylvania, the Court held that the House’s inquiry into the circumstances of the bankruptcy

“was in its nature clearly judicial,” id. at 192, and “therefore one in respect to which no valid

legislation could be enacted,” Watkins, 354 U.S. at 194. As a result, the House “had no lawful

authority” to require the witness to testify “beyond what he voluntarily chose to tell.” Kilbourn,

103 U.S. at 196.

       Here, as in Kilbourn, the Judiciary Committee’s subpoena is “clearly judicial” in nature

because its purpose is to second guess the merits of New York’s pending criminal case against Mr.

Trump. 103 U.S. at 192. Chairman Jordan has made no secret that the Committee intends to



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conduct “an examination of the facts” with the aim of exposing the charges against Mr. Trump as

“an unprecedented abuse of prosecutorial authority.” Ex. 11, at 2; Ex. 2, at 1; see also Ex. 50, at

1.2 Before the indictment even issued, Chairman Jordan attacked the state’s legal theory as

“tenuous and untested” and impugned the “credibility” of the state’s “star witness”—and then

asserted that these supposed defects in the state’s case required federal “oversight.” Ex. 2, at 2.

Chairman Jordan then reiterated the “oversight” theme in his letter to Mr. Pomerantz, hammering

this word no less than nine times. See, e.g., Ex. 1, at 1 (“The Committee . . . is conducting oversight

of the . . . District Attorney’s unprecedented indictment of a former President.”). But the lesson

of Kilbourn is that Congress does not sit to superintend the work of the courts: it has “no lawful

authority” to “interfere with” a case “pending in a court of competent jurisdiction.” 103 U.S. at

194, 196; see also Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 219, 224 (1995) (recognizing that

the Framers abjured “a system of intermingled legislative and judicial powers”). If Mr. Trump

and his allies on the Committee believe he is the victim of a “Witch Hunt,” Ex. 4; Compl. ¶ 69,

his recourse is the same one available to every other criminal defendant—a trial before a New

York jury and a right to appeal if convicted. Congress cannot appoint itself a super grand jury

empowered to review the state’s charges or a preemptive petit jury ready to acquit on every count.

       Here, the Judiciary Committee has strayed even farther beyond its “jurisdiction” than the

House did in Kilbourn, 103 U.S. at 196, because it is attempting to interfere in a criminal case

pending in the courts of a separate sovereign—New York State. Congress has no authority to



2
  Mr. Comer, chairman of the House Committee on Oversight and Accountability and one of the
signatories to Chairman Jordan’s letters, confirmed that the purpose of Congress’s investigation is
to probe the merits of the state’s case. He told the press that the committees wanted to force the
District Attorney to “come explain to us exactly what he’s investigat[ing].” Ex. 52, at 4:46–5:44.
“If Mr. Bragg wants to come in and explain to us what he is doing and he makes a good
explanation, . . . then we’ll back off.” Id. at 6:26–8:18.

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conduct an inquiry into the charges against Mr. Trump because it has no authority to regulate New

York’s enforcement of its own criminal law. “Under our federal system, the States possess primary

authority for defining and enforcing the criminal law.” Lopez, 514 U.S. at 561 n.3. “Indeed, we

can think of no better example of the police power, which the Founders denied the National

Government and reposed in the States, than the suppression of . . . crime and vindication of its

victims.” United States v. Morrison, 529 U.S. 598, 618 (2000). Because the power to enforce

state criminal law is “an attribute of state sovereignty reserved by the Tenth Amendment, it is

necessarily a power the Constitution has not conferred on Congress.” New York v. United States,

505 U.S. 144, 156 (1992); see also Gregory v. Ashcroft, 501 U.S. 452, 461 (1991) (recognizing

Congress cannot “readily interfere” where states “retain substantial sovereign powers”).

       The structural separation of powers between the state and federal governments is no mere

formality. Our system of dual sovereignty is designed to “prevent the accumulation of excessive

power” in any one part of the government and thereby “reduce the risk of tyranny and abuse from

either front.” Printz v. United States, 521 U. S. 898, 921 (1997). But here the Judiciary Committee

has arrogated to itself the power to conduct “oversight” of a state criminal prosecution, Ex. 1, at

1, bigfooting the District Attorney’s authority to enforce New York law and Judge Merchan’s

authority to manage the cases on his docket. This “obvious . . . usurpation of functions exclusively

vested” in state governments, Tenney v. Brandhove, 341 U.S. 367, 378 (1951), disrupts the

constitutional balance and “frustrate[s]” New York’s “sovereign power to punish offenders,”

Engle v. Isaac, 456 U.S. 107, 108 (1982).

       Chairman Jordan points to alleged legislative interests that supposedly justify the Judiciary

Committee’s unwarranted “incursion” into a state criminal case, Printz, 521 U. S. at 920, but each

of these is a baseless pretext for hauling Mr. Pomerantz to Washington for a political spectacle.



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According to Mr. Jordan, the Committee could consider legislation—which of course remains

entirely hypothetical—to “insulate current and former Presidents” from state criminal prosecutions

for “personal acts” unrelated to their conduct in office. Ex. 1, at 2. But Congress’s “power to

investigate” extends only as far as its “power to enact and appropriate under the Constitution.”

Eastland, 421 U.S. at 504–06 & n.15; see also House Comm. on Judiciary v. McGahn, 968 F.3d

755, 765 (D.C. Cir. 2020) (recognizing the subpoena power effectuates “the constitutional” powers

of Congress (emphasis added)). The Judiciary Committee cannot compel Mr. Pomerantz’s

testimony because Congress lacks authority to exempt former presidents—that is, private

citizens—from the reach of state criminal laws. Any such legislation would invade the states’

prerogative to punish state offenses, see pp. 8–9, supra, and make a mockery of equal protection

principles. “[E]very President takes office knowing that he will be subject to the same laws as all

other citizens upon leaving office.” House Comm. on Ways & Means v. U.S. Dep’t of Treasury,

45 F.4th 324, 338 (D.C. Cir. 2022); see also William K. Rashbaum & Kate Christobek, The Only

Other Arrest of a U.S. President Involved a Speeding Horse, N.Y. Times (Apr. 4, 2023) (noting

that President Grant told the officer who arrested him for speeding that he “admired a man who

did his duty”). Mr. Trump himself has acknowledged that “state grand juries are free to investigate

a sitting President with an eye toward charging him after the completion of his term.” Trump v.

Vance, 140 S. Ct. 2412, 2426–27 (2020). Only the Judiciary Committee appears unaware that

“[t]his is a feature of our democratic republic, not a bug.” Ways & Means, 45 F.4th at 338.

       Chairman Jordan also asserts that the Judiciary Committee could consider legislation “to

enhance reporting requirements” about federal funds that local law enforcement officials use “to

investigate a current or former President or presidential candidate.” Ex. 1, at 2. But this purely

hypothetical legislation is merely a fig leaf for the Committee’s impermissible federal intrusion



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into a state prosecution. In response to Chairman Jordan’s letter inquiry, the District Attorney’s

general counsel already provided the Committee with detailed information about its use of federal

funds. She explained that the office has “contributed to the federal fisc” by helping the federal

government “secure more than one billion dollars in assert forfeiture funds in the past 15 years.”

Ex. 19, at 3. Of that billion dollars in forfeiture money, the District Attorney spent approximately

$5,000 on matters related to Mr. Trump or the Trump Organization, most of it litigating the U.S.

Supreme Court case Trump v. Vance, 140 S. Ct. 2412. Ex. 19, at 4. That is the sum total of federal

monies spent by the District Attorney’s office on the Trump investigation or prosecution: “No

expenses incurred relating to this matter have been paid from funds that the Office receives through

federal grant programs.”      Id. (emphasis added).      Were the Committee truly interested in

“legislation to enhance reporting requirements concerning the use of federal forfeiture funds,” Ex.

1, at 2, it could have accepted the District Attorney’s offer to meet and confer about what additional

information his office could provide, Ex. 10, at 2, 5; Ex. 19, at 6. The Committee also could have

reviewed the substantial disclosures that the law requires and the office already makes in the

ordinary course regarding its use of forfeiture funds. Instead, the Committee fired off a subpoena

to Mr. Pomerantz—a former line attorney unlikely to have any information (much less up-to-date

information) about the office’s use of federal funds.

       The Court need not credit the charade, nor “blind” itself to “what all others can see”: the

subpoena to Mr. Pomerantz is not “a run-of-the-mill legislative effort but rather a clash between

rival” sovereigns “over records of intense political interest.” Mazars, 140 S. Ct. at 2034. The

purpose of the Committee’s subpoena is not to legislate, but to disrupt New York’s criminal

prosecution of Mr. Trump and punish the prosecutor who had the temerity to submit potential

charges to a grand jury. As Mr. Trump escalated his invective against the District Attorney, his



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allies in Congress—working at the behest of Mr. Trump’s lawyer—stepped in to abet the campaign

of obstruction and intimidation. Exs. 24–26; Compl. ¶¶ 33–38. Speaker McCarthy pledged to

hold the District Attorney “accountable,” Ex. 3; Compl. ¶ 89, while Chairman Jordan and the

Committee wielded the subpoena power to “run interference” for Mr. Trump, Ex. 26; Compl.

¶ 106. U.S. Rep. Wesley Hunt, a Judiciary Committee member, confirmed to Fox & Friends that

the Committee’s “plan” was political payback: “I can assure you that Jim Jordan, who’s the head

of the Judiciary Committee, we have a plan for all of these people to expose them for exactly who

they are. . . . We’ve got to expose this so that in two years, the American people . . . can get this

right.” Ex. 20-A; Compl. ¶ 110. Far from denying this agenda, Mr. Jordan retweeted the interview.

Ex. 20; Compl. ¶ 110.

       In its scramble to insulate a single powerful individual from the rule of law, the Judiciary

Committee has strayed far beyond its Article I powers and into a constitutional wilderness. The

Committee has no warrant to conduct “oversight” of a state’s “indictment” of a single criminal

defendant. Ex. 1, at 1; Kilbourn, 103 U.S. at 192–96. Nor may the Committee abuse the subpoena

power to “punish” the District Attorney or “aggrandize[]” itself or Mr. Trump. Watkins, 354 U.S.

at 187. These uses of Congress’s compulsory process lack any valid legislative purpose and are

constitutionally “indefensible.” Id. Tellingly, the District Attorney could identify no prior case in

which Congress has attempted to subpoena a state prosecutor for the purpose of extracting

information about an ongoing state prosecution. Cf. Ex. 27, at 116; Compl. ¶ 8 (“there hasn’t been

a subpoena enforcement against a state attorney general in 200 years”). Although “[l]egislative

novelty is not always fatal, . . . sometimes the most telling indication of a severe constitutional

problem is the lack of historical precedent for Congress’s action.” Nat’l Fed’n of Indep. Bus. v.

Sebelius, 567 U.S. 519, 549 (2012) (Roberts, C.J.). The subpoena to Mr. Pomerantz subverts two



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centuries of constitutional norms and impermissibly interferes with New York’s power to

prosecute and punish those who violate its laws. The Court should enjoin this unlawful overreach.

       B.      The Subpoena Does Not Survive the Heightened Scrutiny Mazars Requires for
               Congressional Inquiries Implicating Significant Separation of Powers or
               Federalism Concerns.

       Even assuming that the Judiciary Committee could concoct a valid legislative purpose for

Mr. Pomerantz’s testimony, the Court should still enjoin compliance with the subpoena because

the Committee has not come close to satisfying the heightened standard of review that Trump v.

Mazars USA, LLP prescribes for congressional subpoenas implicating significant separation-of-

powers concerns. 140 S. Ct. 2019, 2032–34. That standard requires Congress to tailor its demand

to a valid legislative purpose and avoid burdening other branches of government with requests for

information that could be obtained from other sources. Id. at 2035–36. It also permits the courts

to scrutinize Congress’s asserted legislative purposes for pretext. Id. at 2034–36. The Judiciary

Committee’s subpoena to Mr. Pomerantz satisfies none of these factors.

       Like this case, Mazars involved subpoenas that would have given Congress leverage over

another branch of government—there the executive, here a state. Three House committees issued

subpoenas to the accounting firm Mazars USA for the financial records of then-President Trump,

his children, and his businesses. 140 S. Ct. at 2026. President Trump sued Mazars to enjoin the

company from complying, and the three committees intervened to enforce their subpoenas. Id.

Until then, the Supreme Court had never confronted the scope of Congress’s power to subpoena

presidential documents because the branches had historically “hashed out” such disputes “in the

hurly-burly . . . of the political process.” Id. at 2029. Faced with this unprecedented clash between

rival branches, the Court placed constraints on Congress’s power to investigate the President’s

information.   “Without limits,” the Court concluded, “Congress could ‘exert an imperious

controul’ over the Executive Branch and aggrandize itself at the President’s expense.” Id. at 2034
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(quoting The Federalist No. 71 (A. Hamilton)). The Court held that, in assessing whether a

congressional subpoena for the President’s personal information was “related to, and in furtherance

of, a legitimate task of Congress, courts must perform a careful analysis that takes adequate

account of the separation of powers principles at stake.” Id. at 2035.

       That “careful analysis” involves four factors. Mazars, 140 S. Ct. at 2035. Federal courts

must (1) “carefully assess whether the asserted legislative purpose warrants the significant step of

involving the President and his papers,” including by asking whether “other sources could

reasonably provide Congress the information it needs,” (2) “insist on a subpoena no broader than

reasonably necessary to support Congress’s legislative objective,” (3) “be attentive to the nature

of the evidence offered by Congress to establish that a subpoena advances a valid legislative

purpose,” and (4) “assess the burdens imposed . . . by a subpoena.” Id. at 2035–36.

       The Judiciary Committee’s flagrant intrusion on New York’s sovereign power to conduct

a criminal prosecution warrants application of the Mazars test here. If the courts must rigorously

scrutinize a congressional subpoena that threatens the balance of power between Congress and the

executive, Mazars, 140 S. Ct. at 2034, then so too must they rigorously analyze a subpoena that

poses a triple threat—to a state executive officer, a state judicial proceeding, and our federal system

itself, see Younger, 401 U.S. at 44. The separation of powers and federalism doctrines are each

“foundational,” Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2205 (2020), and they function in

parallel to check the exercise of federal power and secure the rights and freedoms enumerated in

the Constitution. See LaRoque v. Holder, 650 F.3d 777, 792 (D.C. Cir. 2011) (describing

federalism as a “vertical . . . separation of powers”). Like the subpoenas in Mazars that threatened

to “aggrandize” Congress “at the President’s expense,” the Judiciary Committee’s subpoena in this

case imperils our federal system and gives rise to the same “weighty concerns” that justified the



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Supreme Court’s four-factor analysis. Mazars, 140 S. Ct. at 2034–36. The subpoena does not

withstand that heightened scrutiny.

               1.      The Judiciary Committee’s Asserted Purposes Do Not Justify the
                       “Significant Step” of a Serving a Subpoena on a State Prosecutor for
                       Information Related to an Active Criminal Case.

       The Judiciary Committee’s subpoena fails the first Mazars factor because its “asserted

legislative purpose” does not justify the “significant step” of deposing a former state prosecutor

about a pending criminal case, and information is available to the Committee through other, less

intrusive alternatives. 140 S. Ct. at 2035. For the reasons explained above, the Judiciary

Committee has no valid legislative purpose; its subpoena to Mr. Pomerantz is a thinly veiled ruse

to obstruct the state’s criminal case and retaliate against the District Attorney. But even taking the

Committee’s asserted legislative purposes at face value, none warrants the Committee’s significant

interference with New York’s ongoing criminal case.

       Chairman Jordan suggests that the Judiciary Committee could consider legislation to

“insulate current and former Presidents” from “state and local prosecutions,” including by creating

a statutory right for former presidents to remove state criminal charges to federal court. Ex. 1, at

2.   Even if such legislation were constitutional, which the District Attorney doubts, the

Committee’s demand for testimony from Mr. Pomerantz is unnecessary and unjustified. The

Committee has many sources from which it could seek information about the wisdom of such

legislation, including from former prosecutors not personally involved in the Trump investigation

who might voluntarily give testimony. Congress may not politicize an ongoing state prosecution

by using it as “a ‘case study’ for general legislation.” Mazars, 140 S. Ct. at 2036.

       Chairman Jordan also suggests that the Committee could consider “reforms” that would

ameliorate the potential for conflict between federal law enforcement officials required to protect

a former president and state law enforcement officials required to jail him if he is found guilty.
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Ex. 1, at 2. Mr. Trump’s recent trip from Florida to New York for his arraignment, where he was

accompanied by the Secret Service and arrested and fingerprinted by state officials at the

Manhattan Criminal Court, indicates that the potential for conflict among these professionals is

illusory at best. Compl. ¶ 92. But even assuming Congress might consider “reforms” to address

this nonexistent problem, Mr. Pomerantz has no obvious value to the Committee as a witness: he

is an attorney whose expertise lies in enforcing the law rather than managing the physical security

of defendants. The tenuous connection between his testimony and the Committee’s asserted

legislative ends requires the Committee to look to “other sources” that could “reasonably provide”

information without intruding into an active state criminal case. Mazars, 140 S. Ct. at 2035–36.

       Finally, Mr. Jordan asserts that the Committee could “enhance reporting requirements” by

state law enforcement officials who use federal forfeiture funds to investigate a current or former

president. Ex. 1, at 2. Once again, the Committee has obvious alternative sources of information.

The District Attorney’s general counsel already sent the Committee detailed disclosures about the

office’s use of $5,000 in federal forfeiture funds in the Trump investigation and offered to meet

and confer about what other documentation was needed. Ex. 19, at 4, 6. If the Committee’s

objective were truly to consider reporting requirements, then it could easily have pursued

additional voluntary disclosures or reviewed the information the District Attorney’s office already

provides pursuant to existing reporting requirements. Instead, its subpoena to Mr. Pomerantz is a

non sequitur. Deposing Mr. Pomerantz about the office’s “internal deliberations” about the Trump

investigation and his alleged personal animus toward Mr. Trump would not illuminate the need

for a reporting requirement on the use of federal forfeiture funds. Ex. 1, at 2.

       None of the Committee’s asserted legislative purposes warrants the “significant step,”

Mazars, 140 S. Ct. at 2035, of placing a former prosecutor on the witness stand to testify about his



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“unique role” in New York’s pending criminal case against Mr. Trump, Ex. 1, at 2. The first

Mazars factor strongly favors injunctive relief.

                2.      The Subpoena Is Broader Than Necessary To Support Any Purported
                        Legislative Objective.

        The subpoena also fails the second Mazars factor because it is “broader than reasonably

necessary to support Congress’s legislative objective.” 140 S. Ct. at 2036. The Committee served

an unbounded demand for Mr. Pomerantz’s testimony and indicated its intent to question him

about topics ranging from the “internal deliberations” of the D.A.’s office to his alleged personal

animosity toward Mr. Trump. Ex. 1, at 2–4. Far from tailoring its deposition request to its asserted

legislative purposes, the Committee has engaged in an overbroad fishing expedition for any

information that could conceivably bolster Mr. Trump’s defense and undermine the prosecutors.

See, e.g., Jane Doe v. Yorkville Plaza Assocs., 1996 WL 343059, at *4 (S.D.N.Y. June 21, 1996)

(denying “overbroad” request to New York County District Attorney to produce entire criminal

file). This “broader than . . . necessary” demand for Mr. Pomerantz’s testimony does not survive

scrutiny under the second Mazars factor. 140 S. Ct. at 2036.

                3.      Chairman Jordan and the Judiciary Committee Lack Evidence that the
                        Subpoena Advances a Valid Legislative Purpose.

        The subpoena fails the third Mazars factor because the Committee has offered only flimsy

“evidence” that its demand to Mr. Pomerantz “advances a valid legislative purpose.” 140 S. Ct. at

2036. In cases like this one implicating substantial federalism or separation of powers concerns,

however, Mazars requires strong proof of a valid legislative objective—“[t]he more detailed and

substantial the evidence . . . , the better.” Id.

        Although the Committee has paid lip service to potential legislative reforms, Speaker

McCarthy and Chairman Jordan’s own words disclose that the objective is to cross-examine Mr.

Pomerantz to bolster the narrative that the case against Mr. Trump is “politically motivated.” Ex.

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1, at 1. Speaker McCarthy vowed to hold the District Attorney “accountable.” Ex. 3; Compl. ¶ 89.

Rep. Hunt “assure[d]” Fox News that “we have a plan . . . to expose” “these people.” Ex. 20-A;

Compl. ¶ 110. And Chairman Jordan has asserted that his inquiry will thwart the District Attorney

from engaging in alleged “election interference.” Ex. 54, at 0:35–0:39; see also Exs. 2, 11, 53.

But subpoenas issued “to ‘punish’ those investigated are indefensible.” Watkins, 354 U.S. at 187.

       Meanwhile, the legislative record is bereft of any evidence that the Judiciary Committee

actually intends to pursue the agenda that supposedly justifies its demand for testimony. Mr.

Jordan’s initial letter to the District Attorney nowhere suggested that the Committee was

considering legislation to insulate former Presidents from state prosecutions or avoid clashes

between Secret Service agents and state jailors. Ex. 2. Mr. Jordan invented these alleged reforms

after the D.A.’s office questioned whether the Committee “has any legitimate legislative purpose

in the requested materials.” Ex. 10, at 5. Such “post hoc rationalizations” hardly “serve as a

sufficient predicate” for congressional intrusion into a state criminal case. Dep’t of Homeland Sec.

v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1909 (2020). Underscoring that the Committee’s

supposed legislative agenda is baseless pretext, the Congressional Record does not reveal a single

reference to the legislative reforms for which the Committee supposedly requires testimony.

               4.      The Subpoena Unreasonably Burdens the District Attorney’s Office
                       and the State Criminal Justice System.

       The subpoena fails the fourth Mazars factor because it would substantially burden both the

New York criminal justice system itself and the District Attorney’s Office as it prepares for Mr.

Trump’s criminal trial. 140 S. Ct. at 2036. The Committee’s subpoena would force discovery to

take place along parallel tracks: one overseen by a New York judge under New York’s criminal

procedure law, the other in freewheeling congressional hearings unconstrained by the rules of

evidence. But partial disclosures of the state’s evidence, filtered to the public through partisan


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hearings, would substantially prejudice the right to a fair trial and interfere with New York’s

ongoing investigation. The Committee should not be permitted to preempt the ordinary processes

of a New York courtroom or conduct a partisan show trial for the television cameras before the

District Attorney’s office has the opportunity to present its case to a jury.

       The Committee’s subpoena also burdens the District Attorney and the criminal justice

system by politicizing Mr. Trump’s trial and undermining the public’s faith in the integrity of the

criminal justice system. Under Mr. Jordan’s leadership, the Judiciary Committee has served the

Justice Department with three subpoenas and 11 letters containing 183 requests for information in

the first three months of 2023 alone. Ex. 21, at 4. In rebuffing the Committee’s demands for

information relating to “active investigations,” the Justice Department explained that disclosures

to Congress would “risk jeopardizing those investigations and creating the appearance that

Congress may be exerting improper political pressure or attempting to influence Department

decisions in certain cases.” Ex. 22; Compl. ¶ 39 n.10. That is equally true here. Chairman Jordan’s

pledge that he will investigate the investigators for supposed political bias against Mr. Trump

undermines public faith in the proceedings and injects partisan passions into a forum where they

do not belong—a criminal courtroom.

       Finally, the Committee’s subpoena and its other intrusive discovery requests are plainly

aimed at harassing and intimidating Manhattan prosecutors as they prepare Mr. Trump’s criminal

case for trial. Beyond litigating this action for emergency relief, the District Attorney’s office has

prepared two detailed letters responding to Chairman Jordan’s demands for information about the

Trump investigation. Exs. 10, 19. And these demands were only the beginning: one day after

serving Mr. Pomerantz with a subpoena, Chairman Jordan demanded that Matthew Colangelo,

senior counsel in the District Attorney’s office, produce all documents and communications related



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to Mr. Trump, along with information concerning his decision to join the District Attorney’s office.

Ex. 28; see also Ex. 37. These serial requests, made by Chairman Jordan with great public fanfare,

are plainly intended to harass and intimidate New York’s prosecutors and distract from their

preparation of Mr. Trump’s criminal case. See Exs. 48, 51, 56, 57.

       In sum, each of the Mazars factors confirms that the subpoena to Mr. Pomerantz is an

unlawful and unenforceable attempt to interfere with New York’s sovereign right to enforce the

criminal law and exceeds Congress’s powers under Article I of the Constitution. This Court should

enjoin the subpoena’s enforcement.

       C.      The Subpoena Impermissibly Seeks Secret Grand Jury Communications,
               Privileged Communications, and Attorney Work Product.

       Even if Chairman Jordan and the Committee could show a valid legislative purpose and

satisfy the Mazars test, the District Attorney is still likely to succeed on the merits because the

subpoena seeks grand jury material whose secrecy is protected by New York law as well as

documents and communications protected by the attorney-client privilege and work product

doctrine. Injunctive relief is warranted to protect these sensitive materials.

       Grand Jury Material—New York Law. New York law prohibits disclosure of “the nature

or substance of any grand jury testimony, evidence, or any decision, result or other matter attending

a grand jury proceeding.” N.Y. Crim. P. Law § 190.25(4)(a). “Those who make unauthorized

disclosures regarding a grand jury subpoena do so at their peril.” Vance, 140 S. Ct. at 2427 (citing

N.Y. Penal Law § 215.70). The secrecy of the grand jury under New York law is recognized as a

privilege. See McCoy v. City of New York, 2008 WL 3286270, at *1 (E.D.N.Y. Aug. 7, 2008).

       Although Chairman Jordan represents that he does not seek information protected by New

York’s grand jury secrecy laws, that assurance rings hollow.            The Committee seeks Mr.

Pomerantz’s testimony because of his “role as a special assistant district attorney leading the


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investigation into the former President’s finances,” Ex. 1, at 1, but such an inquiry could include

questions about grand jury matters. Questioning Mr. Pomerantz about his investigation into Mr.

Trump, particularly while Mr. Trump is being prosecuted, would seriously risk disclosure of grand

jury material protected under New York law.

       Attorney-Client Privilege and Work Product. The Committee also improperly seeks Mr.

Pomerantz’s testimony concerning “internal deliberations” within the District Attorney’s office

about the investigation of Mr. Trump. Ex. 1, at 3. Like communications within a law firm, internal

deliberations within the D.A.’s office are protected by the attorney-client privilege and the work

product doctrine. See United States v. Rowe, 96 F.3d 1294 (9th Cir. 1996); Hertzog, Calamari &

Gleason v. Prudential Ins. Co. of Am., 850 F. Supp. 255 (S.D.N.Y. 1994). A subpoena from

Congress does not override those protections. See Mazars, 140 S. Ct. at 2032.

       The Committee seeks to depose Mr. Pomerantz about an investigation he undertook at the

District Attorney’s office. Much of the information that would be responsive to the Committee’s

questions will be covered by the attorney-client privilege or work product doctrine. Chairman

Jordan suggested that Mr. Pomerantz waived these protections by publishing his book about the

Trump investigation. Ex. 1, at 2. But the privilege belongs to the District Attorney and was not

Mr. Pomerantz’s to waive. See Merrill v. City of New York, 2005 WL 2923520, at *1 n.2 (S.D.N.Y.

Nov. 4, 2005) (“disclosure of such privileged information by a . . . former employee would not

constitute a waiver of the privilege by the employer”); Blumenthal v. Drudge, 186 F.R.D. 236, 242

(D.D.C. 1999) (recognizing that a former government employee was not authorized to waive the

government’s privilege). Far from relinquishing any privileges, the District Attorney diligently

sought to protect them, reminding Mr. Pomerantz of his obligations not to disclose confidential or

privileged information and requesting the opportunity for prepublication review (which Mr.



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Pomerantz and his publisher denied). Compl. ¶ 90. The District Attorney thus has every right to

assert those privileges here. To the extent Mr. Pomerantz’s book contains relevant, nonprivileged

material, his testimony is redundant—the Committee already has his book.

       Law Enforcement and Informant’s Privileges. The testimony the Judiciary Committee

seeks concerning an “ongoing criminal matter[]” also falls squarely within the scope of the law

enforcement privilege. Adler v. U.S. Dep’t of Justice, 2018 WL 4571677, at *4 (S.D.N.Y. Sept.

24, 2018). Along with its close cousin, the informant’s privilege, the law enforcement privilege

shields information that would compromise the confidentiality of sources, endanger witnesses or

law enforcement officers, reveal investigatory techniques, or “impair the ability of a law

enforcement agency to conduct future investigations.” White v. City of Mt. Vernon, 2022 WL

16578086, at *3 (S.D.N.Y. Nov. 1, 2022). As with the attorney-client privilege, the Judiciary

Committee’s questions would have virtually complete overlap with the law enforcement privilege,

providing yet another reason to enjoin the Committee’s intrusive and improper demand.

       Public Interest and Deliberative Process Privileges. The subpoena also risks disclosure

of material protected by the public interest privilege, which applies to communications involving

public officers where the public interest requires secrecy, In re World Trade Ctr. Bombing Litig.,

709 N.E.2d 452, 456 (N.Y. 1999), and by the deliberative process privilege, which protects pre-

decisional communications of executive officials and their staff, Hopkins v. U.S. Dep’t of Housing

& Urb. Dev., 929 F.2d 81, 84–85 (2d Cir. 1991). The exposure of such communications would

chill the office’s deliberations and undermine the secrecy of grand jury investigations.

II.    The District Attorney Will Be Irreparably Injured Absent Injunctive Relief.

       Absent a temporary restraining order and preliminary injunction, the District Attorney will

face at least three forms of immediate and irreparable harm—that is, harm which is “not remote or



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speculative but actual and imminent, and for which a monetary award cannot be adequate

compensation.” Tom Doherty Assocs., Inc. v. Saban Entm’t, Inc., 60 F.3d 27, 37 (2d Cir. 1995).

       First, the subpoena to Mr. Pomerantz is part of a collusive scheme to harass and intimidate

the District Attorney and sabotage the criminal trial. “In performing his various duties, . . . it is

essential that a lawyer work with a certain degree of privacy, free from unnecessary intrusion by

opposing parties.” Hickman v. Taylor, 329 U.S. 495, 510–11 (1947). “Proper preparation of a . . .

case demands that he . . . plan his strategy without undue and needless interference.” Id. Allowing

the Judiciary Committee to open up an extrajudicial pathway for discovery and expose the “when

and how” of an ongoing criminal case, Younger, 401 U.S. at 45, would sow chaos in the trial

preparation process and irreparably injure not only the District Attorney, but the integrity of the

state criminal proceeding itself.

       Second,    the   subpoena    will   compromise     the   District   Attorney’s   confidential

communications and risk disclosing secret grand jury information. The regulations governing

House depositions permit only two “personal, nongovernmental” attorneys to accompany Mr.

Pomerantz to his deposition and bar “government agency personnel” from the District Attorney’s

office to attend and protect the privilege. See 118th Congress Regulations For Use of Deposition

Authority and Remote Participation of Committee Witnesses, 169 Cong. Rec. H147 (Jan. 10,

2023). Not only does the D.A. lack a seat in the room, but the House regulations empower a

partisan decisionmaker—the Committee Chairman—to overrule privilege objections and order a

witness to answer a question. Id. Mr. Pomerantz could therefore face the dilemma of potentially

being held in contempt if he refused to divulge privileged or confidential information over the

Chairman’s orders. Public disclosure of privileged or protected materials is a quintessential

irreparable injury. See In re Search Warrant Issued June 13, 2019, 942 F.3d 159 (4th Cir. 2019)



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(holding that adverse party’s review of attorney-client privileged materials irreparably harms the

privilege holder); cf. In re Sealed Case No. 98-3077, 151 F.3d 1059, 1065 (D.C. Cir. 1998)

(granting mandamus petition where independent counsel argued he would be “irreparably harmed”

by disclosure of grand jury material).

       Finally, the Judiciary Committee’s subpoena will cause irreparable injury to New York’s

dignitary interests. A state official “is not a minion” of the federal government, “scurrying here

and there” to do the federal government’s bidding—rather, “he is an officer of the State . . . ,

carrying out the duties imposed upon him by this office.” Illinois ex rel. Harris v. Bd. of Govs. of

the Fed. Reserve Sys., 751 F. Supp. 1323, 1331 (N.D. Ill. 1991). But the Committee’s subpoena

would subordinate New York’s sovereign interests to the federal government’s—even though our

Constitution reserves the power of criminal prosecution to the states. That injury to New York’s

sovereign dignity is irreparable as a matter of law. Cf. Mashpee Wampanoag Tribe v. Bernhardt,

2020 WL 3034854, at *3 (D.D.C. June 5, 2020); Georgia v. Pruitt, 326 F. Supp. 3d 1356, 1367

(S.D. Ga. 2018) (“Loss of sovereignty is an irreparable harm.”).

III.   The Balance of Equities and the Public Interest Strongly Favor Injunctive Relief.

       The balance of equities and public interest strongly favor interim relief. “In determining

whether the balance of the equities tips in the plaintiff’s favor and whether granting the preliminary

injunction would be in the public interest, the Court must balance the competing claims of injury

and must consider the effect on each party of the granting or withholding of the requested relief,

as well as the public consequences in employing the extraordinary remedy of injunction.”

Bionpharma Inc. v. CoreRx, Inc., 582 F. Supp. 3d 167, 178 (S.D.N.Y. 2022).

       The balance of equities tips powerfully in the District Attorney’s favor. The Judiciary

Committee will suffer no injury if this Court enjoins compliance with its subpoena because the

Committee has no jurisdiction to “conduct[] oversight,” Ex. 1, at 1, of state prosecutions in the
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first place. If Committee members believe the charges against Mr. Trump are unjust, they will

have the opportunity to follow the progress of Mr. Trump’s trial and communicate their views to

constituents. But they have no warrant to put the state’s case on trial before the District Attorney

has presented it to a jury—a scenario that would undermine the interests of justice and irreparably

injure New York’s sovereign authority to prosecute violations of its criminal law.

       The public’s interest also favors injunctive relief. “[I]t is always in the public interest to

protect constitutional rights.” Rodgers v. Bryant, 942 F.3d 451, 458 (8th Cir. 2019). The District

Attorney is pursuing this criminal prosecution on behalf of the people of New York pursuant to

state laws intended to protect the public. The Judiciary Committee, by way of its subpoena, is

seeking to undermine the District Attorney as he carries out his public duties and is violating

fundamental principles of constitutional federalism by attempting to usurp New York’s right to

prosecute this criminal case free from federal interference. Because “a healthy balance of power

between the States and the Federal Government will reduce the risk of tyranny and abuse from

either front,” Printz, 521 U.S. at 921, the public interest lies in deflecting the Committee’s

incursions on the rights of the people of the State of New York.

                                         CONCLUSION

       This Court should grant a temporary restraining order and preliminary injunction barring

enforcement of, or compliance with, the subpoena.




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Dated: April 11, 2023              Respectfully submitted,

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              Exhibit 
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      IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                      DISTRICT OF NEW YORK




ALVIN L. BRAGG, JR., in his official capacity as District
Attorney for New York County,                                     1:23-CV-03032-MKV
                                    Plaintiff,                    DEFENDANT MARK F.
                                                                  POMERANTZ’S RESPONSE
                              v.                                  TO PLAINTIFF’S MOTION
                                                                  FOR A TEMPORARY
JIM JORDAN, in his official capacity as Chairman of the           RESTRAINING ORDER AND
Committee on the Judiciary, COMMITTEE ON THE                      PRELIMINARY
JUDICIARY OF THE UNITED STATES HOUSE OF                           INJUNCTION
REPRESENTATIVES, and MARK F. POMERANTZ,
                                    Defendants.



       Defendant Mark F. Pomerantz joins the District Attorney’s prayer for interim relief,

and writes separately to stress a potential constitutional injury unique to Mr. Pomerantz.

       Although Mr. Pomerantz is nominally designated a defendant in this action, he

agrees with the District Attorney that the subpoena at issue seeks to impede and interfere

with the pending prosecution of Donald Trump, and impermissibly intrudes on New York

State’s sovereign law enforcement authority, federalism, and the doctrine of separation of

powers. These are matters for the District Attorney of New York County to argue. As the

only person who has been summoned to testify, however, Mr. Pomerantz has individual

standing to object to the subpoena, and his own arguments to make. He does object to the

subpoena, and he therefore asks this Court to grant the District Attorney’s motion.

       The facts pertinent to this submission are set forth in the accompanying declaration.

Mr. Pomerantz was sworn in as a special assistant district attorney in New York County

on February 2, 2021. Pomerantz Decl. ¶ 3. He resigned from that position on February
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23, 2022. Id. Mr. Pomerantz’ resignation had nothing to do with the charges now pending

against Donald Trump.

       The current indictment, which relates to false business records used to conceal the

reimbursement of Michael Cohen after Mr. Cohen made a payment of so-called “hush

money” on Mr. Trump’s behalf, was not returned until March 30, 2023, more than a year

after Mr. Pomerantz’s departure.      Following his resignation in February 2022, Mr.

Pomerantz played no role whatsoever in the decision to seek Mr. Trump’s indictment, and

he did not discuss the decision to prosecute Mr. Trump with the District Attorney or any

member of the prosecution team. Id. ¶ 4. Mr. Pomerantz is not a witness to the District

Attorney’s motives in seeking the indictment, and he does not have any personal

knowledge about how the decision to seek the indictment—a decision reportedly made

many months after his resignation—was reached. Mr. Pomerantz also has no personal

knowledge about the use of federal forfeiture funds in connection with the Trump

investigation or prosecution. Id.

       These facts—that Mr. Pomerantz was not involved in the District Attorney’s

decision to seek the indictment now pending against Donald Trump—are of great import

because the pending indictment is what prompted the Committee’s subpoena, and animates

the purported “legislative purpose” underlying it.        In a letter to Mr. Pomerantz

accompanying the subpoena, Rep. Jordan, as Chair of the House Judiciary Committee, says

that the Committee is “conducting oversight” of the indictment of Mr. Trump. Id. ¶ 2, Ex.

1 at 1–2. The letter also speaks of Congress’s purported interest in “preventing politically

motivated prosecutions of current and former presidents.” Id. Finally, the letter also
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discusses Congress’s interest in regulating the District Attorney’s Office’s use of federal

forfeiture funds. Id.

       Mr. Pomerantz cannot provide any meaningful information that advances the

legislative purposes referenced in Rep. Jordan’s letter. More troubling, the Committee

apparently wishes to question Mr. Pomerantz about matters plainly outside the scope of

Congress’s authority under Section 1 of the United States Constitution. Rep. Jordan’s letter

indicates that the Committee intends to question Mr. Pomerantz about his political views,

“the depth of [his] personal animosity” toward Donald Trump, his motives for writing his

book (entitled People vs. Donald Trump), and his opinions on matters addressed in that

book. Id., Ex. 1 at 4. None of these topics cited in the letter are pertinent to the propriety

of Mr. Trump’s indictment, which is what the Committee supposedly seeks to “oversee.”

The subpoena is therefore constitutionally defective.

       Watkins v. United States, 354 U.S 178 (1957), is directly on point. In Watkins, the

U.S. Supreme Court wrote that “[t]here is no general authority to expose the private affairs

of individuals without justification in terms of the functions of the Congress.” Id. at 187.

The Court held that Congress is not “a law enforcement or trial agency,” and ruled that

“[i]investigations conducted solely for the personal aggrandizement of the investigators or

to ‘punish’ those investigated are indefensible.” Id. The Court cautioned that the “mere

semblance of legislative purpose” will not justify an intrusion on a person’s First

Amendment rights and held that a court “cannot simply assume” that “every congressional

investigation is justified by a public need that overbalances any private rights affected.”

Id. at 198. To do so, the Court reasoned, “would be to abdicate the responsibility placed

by the Constitution upon the judiciary to insure that the Congress does not unjustifiably
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encroach upon an individual’s right to privacy nor abridge his liberty of speech, press,

religion, or assembly.” Id. at 198–99.

       The Watkins Court held that, as a matter of due process, a witness under

Congressional subpoena can be questioned only if the questioning is “pertinent” to a

legitimate legislative purpose. Id. at 208–09. Here, there is no connection between the

questions raised in Rep. Jordan’s letter about Mr. Pomerantz’s personal views, motives,

and opinions and the stated “legislative purpose” of probing an indictment that Mr.

Pomerantz had no role in seeking.

       The result is to place Mr. Pomerantz in a legally untenable position. The District

Attorney has instructed Mr. Pomerantz, in writing, to provide no information to the

Judiciary Committee in response to the subpoena. Pomerantz Decl. ¶ 5, Ex. 2. If Mr.

Pomerantz does not follow the District Attorney’s instructions, he faces potential legal or

ethical consequences, including criminal exposure under New York’s grand jury secrecy

laws. Id. ¶ 5. Additionally, the District Attorney has asserted various claims of privilege.

Pl.’s Mem. of Law 20–22, ECF No. 8. He asserts that Mr. Pomerantz cannot waive

privileges that belong to the District Attorney, and that Mr. Pomerantz’ prior public

statements do not constitute a privilege waiver by Mr. Bragg or his Office. While Mr.

Pomerantz agrees with this position, the Committee appears not to recognize the validity

of the District Attorney’s privilege claims, and Rep. Jordan’s letter claims that Mr.

Pomerantz must answer questions even about matters as to which the District Attorney

claims privilege. As we understand the rules governing Mr. Pomerantz’ appearance, he

will not be allowed to assert the privileges that the District Attorney has instructed him to

assert, and he risks being held in contempt if he tries to do so. Id. at 23. In short, Mr.
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Pomerantz may be faced with potential criminal and disciplinary exposure if he answers

the Committee’s questions and possible criminal and disciplinary exposure if he does not.

Placing Mr. Pomerantz in this dilemma is particularly unfair—and particularly

unnecessary—because he cannot provide any pertinent testimony relevant to the return of

the indictment filed against Mr. Trump, which is what the Judiciary Committee seeks to

“oversee.”

       Under the Supreme Court’s decision in Trump v. Mazars USA, LLP, 140 S. Ct.

2019 (2020), a subpoena that directly implicates the constitutional separation of powers

requires special scrutiny and a careful balancing of the competing interests at stake. 140

S. Ct. at 2035–36. We defer to the papers filed by the District Attorney on this motion to

articulate why the subpoena threatens New York’s sovereign power to bring criminal

prosecutions and the historic deference to a state’s exercise of police powers. We agree

with the District Attorney that, in these circumstances, the Mazars balancing approach is

required. In that regard, the subpoena to Mr. Pomerantz plainly does not pass muster, for

several reasons:

       First, as we have indicated, Mr. Pomerantz has little if anything to say that will

advance the purported legislative purpose that justifies the subpoena. He was not involved

in the decision to bring the pending indictment against Mr. Trump. Pomerantz Decl. ¶¶ 3–

4.

       Second, under Mazars, a reviewing court can, indeed must, examine the evidence

regarding Congress’s purported legislative purpose. Id. at 2036. Here, Mr. Pomerantz’s

lack of involvement in the decision to bring the existing indictment, which is what the

Committee purportedly wishes to “oversee,” suggests that its stated purposes are
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pretextual. The close coordination between the Committee’s Chairman and the former

President, together with the other circumstances referenced in the District Attorney’s

moving papers, indicate that the Committee’s real purpose is to obstruct the pending

prosecution, assist Mr. Trump in his defense, impede any continuing investigation, and

punish Mr. Pomerantz for writing a book that Mr. Trump and many of his supporters

dislike.

           Third, whether or not the Committee’s stated purpose is pretextual, the potential for

the misuse and abuse of the Committee’s subpoena power is obvious. The Committee will

likely use the opportunity to question Mr. Pomerantz for improper purposes. Rep. Jordan’s

letter indicates that the Committee wishes to gather information about how various

prosecutors viewed the credibility of Michael Cohen, and to flesh out any discussions of

the evidence that will be introduced at Mr. Trump’s trial. Pomerantz Decl., Ex. 1 at 3. The

Committee also plans to probe the political views of Mr. Pomerantz and, presumably, other

prosecutors, notwithstanding the complete lack of evidence to suggest that those views

tainted any actions that the District Attorney’s Office took during Mr. Pomerantz’ tenure

or thereafter. Id. at 4. Issues surrounding the District Attorney’s Office’s motivation in

filing its charges against Mr. Trump will almost certainly be litigated in his criminal case.

We believe that the goal of the subpoena is to try to gather information that might be helpful

to Mr. Trump in litigating the charges against him, either in the courtroom or in the court

of public opinion. The potential for mischief is apparent, and we urge the Court to be

particularly sensitive to avoid any interference with the pending criminal case.

           Finally, in connection with the careful balancing of interests that Mazars requires,

the legal jeopardy that the subpoena creates for Mr. Pomerantz is entitled to substantial
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weight. It is simply unfair to place him in a circumstance where he faces legal and

disciplinary peril in trying to navigate the conflicting demands of the Judiciary

Committee’s subpoena, the District Attorney’s Office’s directive, and applicable New

York laws.

          Accordingly, Mr. Pomerantz joins in the District Attorney’s motion for interim

relief.

Dated: New York, New York
       April 17, 2023

                                             PAUL, WEISS, RIFKIND, WHARTON
                                             & GARRISON LLP




                                             Counsel for Defendant Mark F. Pomerantz
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                                                                      USDC SDNY
UNITED STATES DISTRICT COURT                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                         ELECTRONICALLY FILED
                                                                      DOC #:
 ALVIN L. BRAGG, JR., in his official capacity as                     DATE FILED: 4/19/2023
 District Attorney for New York County,

                           Plaintiff,
                                                                 1:23-cv-3032 (MKV)
                      -against-
                                                              OPINION AND ORDER
 JIM JORDAN, in his official capacity as Chairman
                                                             DENYING TEMPORARY
 of the Committee on the Judiciary, COMMITTEE
                                                             RESTRAINING ORDER
 ON THE JUDICIARY OF THE UNITED STATES
 HOUSE OF REPRESENTATIVES, and MARK F.
 POMERANTZ,

                           Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The request by Manhattan District Attorney Alvin L. Bragg Jr. for a temporary restraining

order, enjoining enforcement of the subpoena issued to Mark F. Pomerantz by the Committee on

the Judiciary of the United States House of Representatives, chaired by Congressman Jim Jordan,

is DENIED. The subpoena was issued with a “valid legislative purpose” in connection with the

“broad” and “indispensable” congressional power to “conduct investigations.” It is not the role of

the federal judiciary to dictate what legislation Congress may consider or how it should conduct

its deliberations in that connection. Mr. Pomerantz must appear for the congressional deposition.

No one is above the law.

                                         BACKGROUND

       On April 6, 2023, the Committee on the Judiciary of the United States House of

Representatives (the “Committee”) issued a subpoena, directing Mark F. Pomerantz

(“Pomerantz”), a former pro bono employee of the Office of the District Attorney for New York

County (“DANY”), to appear on April 20, 2023 “to testify at a deposition touching matters of


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inquiry committed to [the Committee].” Exhibit 1 (“Ex. 1”) to the Declaration of Theodore J.

Boutrous, Jr. (“Boutrous Dec.”) [ECF No. 12-1]. The subpoena does not request that Pomerantz

produce any documents. See Ex. 1.

           The subpoena was accompanied by a letter from the Chairman of the Committee, Jim

Jordan (“Jordan”). See Ex. 1. The letter requests Pomerantz’s appearance due to his “unique role

as a special assistant district attorney leading the investigation into President Trump’s finances.”

Ex. 1 at 2. It further explains that Pomerantz has “already discussed many of the topics relevant

to [the Committee’s] oversight in a book [that Pomerantz] wrote and published in February 2023,

as well as in several public interviews to promote [his] book.” 1 Ex. 1 at 2 (citations omitted).

Jordan notes that DANY has “acknowledged that it used federal forfeiture funds in its

investigations of President Trump,” 2 and that the Committee was considering “potential legislative

reforms,” such as “broadening the existing statutory right of removal of certain criminal cases from

state court to federal court.” Ex. 1 at 2.

           The book referenced in Jordan’s letter is People vs. Donald Trump: An Inside Account,

written by Pomerantz and published in early 2023. See M. Pomerantz, People vs. Donald Trump:

An Inside Account (2023) (“Inside Account”).                   As its subtitle indicates, the book recounts

Pomerantz’s insider insights, mental impressions, and his front row seat to the investigation and

deliberative process leading up to the DANY case against former President and current presidential

candidate Donald Trump. Among Pomerantz’s observations:

                •   Within DANY, the case against Trump arising out of payment of so-called “hush
                    money” to Stephanie Clifford was referred to as the “zombie” case. Id. at 200.

                •   The facts surrounding the payments “did not amount to much in legal terms.
                    Paying hush money is not a crime under New York State law, even if the payment

1
    See Exhibits E–O to the Declaration of Todd B. Tatelman [ECF Nos. 32-5 to 32-15].
2
    See Exhibit 19 to the Boutrous Dec. [ECF No. 12-20].

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      was made to help an electoral candidate.” Id. at 40.

  •   “[C]reating false business records is only a misdemeanor under New York law.”
      Id. at 40.

  •   “[T]here appeared to be no [felony] state crime in play.” Id. at 40–41.

  •   “[T]o charge Trump with something other than a misdemeanor, DANY would have
      to argue that the intent to commit or conceal a federal crime had converted the
      falsification of the records into a felony. No appellate court in New York had ever
      upheld (or rejected) this interpretation of the law.” Id. at 41.

  •   The statutory language (under which Trump was charged) is “ambiguous.” Id. at
      40.

  •   “[T]here was a big risk that felony charges would be dismissed before a jury could
      even consider them.” Id. at 41.

  •   “[T]he Trump investigation should have been handled by the U.S. Department of
      Justice, rather than by the Manhattan district attorney’s office.” Id. at 240.

  •   “[F]ederal prosecutors would not have to torture or massage [statutory] language
      to charge Trump with a violation,” as DANY would have to do. Id. at 240.

  •   Federal prosecutors previously looked into the Clifford “hush money payment”
      and did not move forward with the prosecution. Id. at 242 (emphasis added); see
      also id. at 39.

  •   There is a statute of limitations issue with the DANY case against Trump. Id. at
      240–41.

  •   Numerous DANY prosecutors were skeptical about the prosecution of Trump and
      were referred to internally at DANY as “conscientious objectors.” Id. at 194.

  •   The invoices and requests for payment from Michael Cohen in connection with the
      Clifford payments, in a supposed effort to “camouflage” reimbursements, were
      made “throughout 2017 (after Trump’s inauguration as president).” Id. at 39
      (emphasis added) (parenthetical in original).

  •   The DANY prosecution team discussed “Michael Cohen’s credibility” as being
      one of “the difficulties in the case.” Id. at 203.

  •   At one point, Bragg “commented that he ‘could not see a world’ in which [DANY]
      would indict Trump and call Michael Cohen as a prosecution witness.” Id. at 227
      (emphasis added).


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              •   While Pomerantz acknowledged Bragg’s right to make prosecutorial decisions,
                  Pomerantz viewed himself as more experienced and qualified than Bragg. Id. at
                  218–19. Pomerantz makes a point that he was “finishing law school when Alvin
                  was a toddler.” Id. at 208.

              •   Pomerantz resigned from his pro bono position at DANY when it became clear to
                  him that President Trump would not be indicted. Id. at 248–51; see also Exhibit C
                  (“Ex. C”) to the Declaration of Todd B. Tatelman (“Tatelman Dec.”) [ECF No. 32-
                  3]. Pomerantz “told the DA that he was responsible for a ‘grave failure of justice’
                  because he would not authorize Trump’s indictment.” Inside Account at 1.

              •   Ultimately in March 2023, Bragg did, of course, indict President Trump,
                  “bring[ing] the ‘zombie’ theory back from the dead once again.” Id. at 209.

       Jordan and the Committee first tried to acquire information from Pomerantz and DANY

voluntarily. See, e.g., Exhibit 2 (“Ex. 2”) to the Boutrous Dec. [ECF No. 12-2]; Exhibit 11 (“Ex.

11”) to the Boutrous Dec. [ECF No. 12-12]; Exhibit 58 (“Ex. 58”) to the Boutrous Dec. [ECF No.

12-61]. While the DANY General Counsel offered to “meet and confer” with the Committee “to

understand whether [it] ha[d] any legitimate legislative purpose in the requested materials,” DANY

declined to provide information and instructed Pomerantz not to comply with the Committee’s

requests. Exhibit 10 (“Ex. 10”) to the Boutrous Dec. at 5 [ECF No. 12-11]; Exhibit 12 (“Ex. 12”)

to the Boutrous Dec. [ECF No. 12-13]; see also Exhibit 19 (“Ex. 19”) to the Boutrous Dec. [ECF

No. 12-20].

       On April 11, 2023, Manhattan District Attorney Alvin L. Bragg, Jr. (“Plaintiff” or

“Bragg”)—one of five local district attorneys for the five boroughs in the City of New York—

filed a 50-page Complaint in this Court, naming Jordan, the Committee, and Pomerantz as

defendants. See Complaint [ECF No. 1] (“Compl.”). Bragg simultaneously filed a motion,

brought on by an ex parte proposed order to show cause, seeking a temporary restraining order

and a preliminary injunction (1) enjoining Jordan and the Committee from enforcing the subpoena

served on Pomerantz and (2) enjoining Pomerantz from complying with the subpoena, see


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Proposed Order to Show Cause With Emergency Relief [ECF No. 7]; see also Memorandum of

Law in Support [ECF No. 8] (“Pl. Mem.”). Plaintiff later filed the Declaration of Theodore J.

Boutrous, Jr., accompanied by over 60 exhibits. See Boutrous Dec.

       The first 35 pages of the Complaint have little to do with the subpoena at issue and are

nothing short of a public relations tirade against former President and current presidential

candidate Donald Trump. The same is true of the vast majority of the exhibits accompanying the

Boutrous Declaration. Of note, the Complaint acknowledges that DANY used federal forfeiture

funds in investigating President Trump and/or the Trump Organization. Compl. ¶ 78. Moreover,

Bragg concedes that DANY was aware that Pomerantz was writing a book about the Trump

investigation and asked to review the manuscript pre-publication. Compl. ¶ 90. Pomerantz

declined. Compl. ¶ 90; Pl. Mem. 21–22. At heart, the Complaint simply includes two requests for

declaratory and injunctive relief directed at the congressional inquiry. The reality is that, as

framed, this action is merely a motion to quash a subpoena dressed up as a lawsuit.

       The motion for a temporary restraining order was filed without notice to Defendants and

before Defendants even were served with the Complaint. See Certificate of Service [ECF No. 17];

Waiver of Service [ECF No. 18]. In this Court, Local Civil Rule 6.1(d) dictates that any party

seeking an ex parte order must submit an “affidavit of good and sufficient reasons why a procedure

other than by notice of motion is necessary, and stating whether a previous application for similar

relief has been made.” No such affidavit was submitted here. Accordingly, the Court issued an

Order, declining to enter the proposed order to show cause, directing service on Defendants not

only of the motion (with all supporting papers), but also of the Complaint by which this case was

initiated, setting a briefing schedule to allow Defendants to be heard, and scheduling a hearing for

today to address the motion for a temporary restraining order. See Order [ECF No. 13].

       Jordan and the Committee filed an opposition brief. See Opposition Brief [ECF No. 27]

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(“Def. Mem.”). They argue that Bragg cannot establish a likelihood of success on the merits

because Jordan and the Committee are immune from suit under the Speech or Debate Clause of

Article I of the United States Constitution. Def. Mem. 5–14. Defendants further argue that the

subpoena has at least two valid legislative purposes. First, they contend that the Committee is

considering the viability of legislation to protect former Presidents and presidential candidates

from politically motivated prosecutions by local district attorneys, such as by permitting those

cases to be removed to federal court, out of a concern that such prosecutions “could have a

profound impact on how Presidents choose to exercise their powers while in office.” Def. Mem.

3. Second, Defendants argue that the Committee is permissibly investigating DANY’s use of

federal forfeiture funds in the investigation of President Trump, which could potentially influence

the outcome of the 2024 presidential election. Def. Mem. 8–9.

           Pomerantz filed a “response” to Bragg’s motion. See Pomerantz Response [ECF No. 30]

(“Pomerantz Res.”); see also Declaration of Mark F. Pomerantz [ECF No. 31] (“Pomerantz Dec.”).

Pomerantz describes himself as a “nominal[]” defendant. Pomerantz Dec. ¶ 1. He does not oppose

Bragg’s motion and, instead, joins in the request for an injunction. See Pomerantz Dec. ¶ 1 (“I

have no objection to the relief that the District Attorney has requested. I consent to that relief, and

indeed urge this Court to grant it.”). 3 It appears that Pomerantz is content to largely allow Bragg

to speak for him. See Pomerantz Res. 1 (“These are matters for the District Attorney . . . to

argue.”); id. at 5 (“We defer to the papers filed by the District Attorney on this motion to articulate

why the subpoena threatens New York’s sovereign power.”). Indeed, Bragg’s counsel, Theodore

J. Boutrous, Jr., filed a waiver of service on behalf of Pomerantz. See Waiver of Service [ECF

No. 18].



3
    Unless otherwise noted, references to “Defendants” in this Opinion refer only to Jordan and the Committee.

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        The day before the scheduled hearing, Bragg filed an eleventh hour reply brief, not

authorized by the Court’s Scheduling Order given the compressed time frame in which Plaintiff’s

motion was brought on. The reply largely rehashes the same arguments made in the moving brief

and, for the first time, addresses the Speech or Debate Clause. See Reply Brief [ECF No. 41-1]

(“Reply”). The reply brief was accompanied by a supplemental declaration attaching sixteen

largely irrelevant exhibits, consisting of a hodge-podge of social media postings, news articles,

television interviews, pleadings from unrelated lawsuits, and a transcript from the arraignment in

the Trump prosecution. See Exhibits 60–72 to the Second Boutrous Declaration [ECF Nos. 41-2

to 41-5].

        The Court is in receipt of several unsolicited amicus briefs. An assemblage of former

members of Congress, former prosecutors, former government attorneys, and academics filed an

amicus brief with the consent of Bragg. See Letter Motion to File Amicus Brief [ECF No. 34];

Amicus Brief [ECF No. 37] (“First Amicus”). Amici argue that the Committee lacked authority

to issue the subpoena and echo Bragg’s refrain that the subpoena will “interfere with an ongoing

criminal prosecution . . . brought by a state prosecutor.” First Amicus 1. A separate group of

former state and federal prosecutors filed another amicus brief, again with the consent of Bragg.

See Letter Motion to File Amicus Brief [ECF No. 40] (“Second Amicus”). These amici assert

that the subpoena “seriously challenges . . . the prosecutorial process.” Second Amicus 2. 4

        Bragg and his two sets of amici attack what they describe as federal interference in his

criminal prosecution. Pl. Mem. 1; First Amicus 3; Second Amicus 3. There is no question that

New York, a sovereign state in our federal system, has authority to enforce its criminal laws

through its local prosecutors. The Court is mindful of potential federalism concerns. However,


4
 The Court also received a “friend of the court letter” from James H. Brady, dated April 17, 2023. See Letter [ECF
No. 38]. The Court has reviewed and considered all of the unsolicited submissions.

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the Court rejects the premise that the Committee’s investigation will interfere with DANY’s

ongoing prosecution.      The subpoena of Pomerantz, who was a private citizen and public

commentator at the time Bragg indicted Trump, will not prevent or impede the criminal

prosecution that is proceeding in New York state court.

                                             ANALYSIS

        I.      Bragg Has Sufficiently Alleged Article III Standing

        A threshold issue in this matter is whether Bragg has standing to maintain this action since

the challenged subpoena is not addressed to Bragg or his office. See All. For Env’t Renewal, Inc.

v. Pyramid Crossgates Co., 436 F.3d 82, 85 (2d Cir. 2006) (“[A] district court must generally. . .

establish that it has federal constitutional jurisdiction, including a determination that the plaintiff

has Article III standing, before deciding a case on the merits.”). The subpoena was issued to

Pomerantz—not to Bragg. See Ex. 1. Pomerantz has not filed suit. Although he is named as a

defendant, Pomerantz “asks this Court to grant [Bragg’s] motion.” Pomerantz Res. 1.

        Bragg, as the party invoking federal jurisdiction, bears the burden of establishing standing.

See Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). The Supreme Court has “established that

the ‘irreducible constitutional minimum’ of standing consists of three elements.” Id. (quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). “The plaintiff must have (1) suffered

an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that

is likely to be redressed by a favorable judicial decision.” Id.

        Where a plaintiff seeks to enjoin a subpoena issued to a third party and has “no alternative

means to vindicate [his] rights,” a plaintiff satisfies his burden of establishing standing. U.S.

Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1260 (D.C. Cir. 1973), rev’d on other grounds,

421 U.S. 491 (1975); see also Trump v. Deutsche Bank AG, 943 F.3d 627, 635 (2d Cir. 2019),

rev’d on other grounds sub nom., 140 S. Ct. 2019 (2020) (“[T]here is no dispute that Plaintiffs had

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standing in the District Court to challenge the lawfulness of the Committees’ subpoenas by seeking

injunctive relief against the Banks as custodians of the documents.”).

       Bragg’s stated interest in the subpoena is his claim that permitting Pomerantz to appear

will undermine the pending criminal case against President Trump, intrude on the grand jury

proceedings, and violate grand jury secrecy laws, among other things. These assertions are all

without merit. Since Pomerantz was not at DANY when the grand jury indicted President Trump

(and therefore has no information on that subject), see Pomerantz Res. 2, the only arguably valid

interest Bragg has (to the extent it is not waived, see infra Section II.D) is in maintaining the

confidentiality of deliberations within the office he now leads.

       Determining whether Bragg has any “alternative means to vindicate” his rights is made

difficult where, as here, the Court cannot predict what questions will be asked—or whether any

rights of Bragg will be implicated. In that vein, Defendants contend that Bragg “has no standing

whatsoever to stop Pomerantz from appearing before the Committee to answer . . . questions” that

“do not involve purportedly privileged material in any way.” Def. Mem. 18.

       The Court concludes that Bragg sufficiently alleges standing. Jordan’s letter to Pomerantz

references “the New York County District Attorney’s unprecedented prosecutorial conduct” and

Pomerantz’s “unique role as a special assistant district attorney.” See Ex. 1 at 2. These areas of

inquiry at least arguably implicate Bragg’s interests. Because “general factual allegations of injury

resulting from the defendant’s conduct may suffice” at the pleading stage, the Court concludes

that Bragg has established Article III standing sufficient to survive this even earlier stage of

litigation. Lujan, 504 U.S. at 561; cf. U.S. Servicemen’s Fund, 488 F.2d at 1260; Deutsche Bank,

943 F.3d at 635.




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         II.      Bragg Is Not Entitled to a Temporary Restraining Order

         A.       Legal Standard

         In the Second Circuit, the same legal standard governs the issuance of preliminary

injunctions and temporary restraining orders. See, e.g., 3M Co. v. Performance Supply, LLC, 458

F. Supp. 3d 181, 191 (S.D.N.Y. 2020). To obtain either, Bragg must show: (1) a likelihood of

success on the merits, (2) a likelihood of irreparable injury, (3) the balance of hardships tips in his

favor, and (4) that the public interest would not be disserved by the issuance of an injunction. See

Benihana, Inc. v. Benihana of Tokyo, LLC, 784 F.3d 887, 895 (2d Cir. 2015). 5 Like a preliminary

injunction, a temporary restraining order is “an extraordinary remedy never awarded as of right.”

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).

         Where a party seeking a temporary restraining order fails to establish a likelihood of

success on the merits, “there is no need to address the other prongs of the analysis.” Oneida Nation

of New York v. Cuomo, 645 F.3d 154, 164 (2d Cir. 2011). For the reasons outlined below, Bragg

has not demonstrated a likelihood of success on the merits.

         B.       The Subpoena Serves a Valid Legislative Purpose
                  and Is Not Ultra Vires or Otherwise Unconstitutional

         Congressional committees have constitutional authority to conduct investigations and issue

subpoenas because “each House has power ‘to secure needed information’ in order to legislate.”

Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031 (2020) (quoting McGrain v. Daugherty, 273

U.S. 135, 161 (1927)); see Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 504 (1975). This

“power of inquiry—with process to enforce it—is an essential and appropriate auxiliary to the




5
 The Second Circuit has previously instructed that a district court may also grant a preliminary injunction when there
are “sufficiently serious questions going to the merits to make them a fair ground for litigation and a balance of
hardships tipping decidedly in the movant’s favor” and “irreparable harm in the absence of the injunction.” Kelly v.
Honeywell Int’l, Inc., 933 F.3d 173, 184 (2d Cir. 2019). Neither party contends that this standard should apply here.

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legislative function.” McGrain, 273 U.S. at 174 (emphasis added). “The power of the Congress

to conduct investigations is inherent in the legislative process.” Watkins v. United States, 354 U.S.

178, 187 (1957).

       Of course, this power is not limitless. “[T]here is no congressional power to expose for the

sake of exposure.” Id. at 200. Nor may Congress issue subpoenas “for the purpose of ‘law

enforcement,’” because that power is assigned “to the Executive and the Judiciary.” Mazars, 140

S. Ct. at 2032 (quoting Quinn v. United States, 349 U.S. 155, 161 (1955)). However, the Supreme

Court has described the congressional power of inquiry as “broad” and “indispensable.” Watkins,

354 U.S. at 187, 215. Indeed, without its investigative powers, “Congress would be shooting in

the dark, unable to legislate ‘wisely or effectively.’” Mazars, 140 S. Ct. at 2031 (quoting McGrain,

273 U.S. at 175).

       Congress may conduct inquiries “into the administration of existing laws, studies of

proposed laws, and [particularly relevant here,] ‘surveys of defects in our social, economic or

political system for the purpose of enabling the Congress to remedy them.’” Mazars, 140 S. Ct.

at 2031 (quoting Watkins, 354 U.S. at 187). Importantly, a congressional subpoena is valid only

if it is “related to, and in furtherance of, a legitimate task of the Congress.” Watkins, 354 U.S. at

187. The subpoena must serve a “valid legislative purpose,” Quinn, 349 U.S. at 161, and

“concern[] a subject on which ‘legislation could be had,’” Eastland, 421 U.S. at 506 (quoting

McGrain, 273 U.S. at 177). The role of a court in evaluating a congressional subpoena is strictly

limited to determining only whether the subpoena is “plainly incompetent or irrelevant to any

lawful purpose . . . in the discharge of [the Committee’s] duties.” McPhaul v. United States, 364

U.S. 372, 381 (1960) (emphasis added) (quoting Endicott Johnson Corp. v. Perkins, 317 U.S. 501,

509 (1943)).



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       Jordan and the Committee have identified several valid legislative purposes underlying the

subpoena. See Def. Mem. 15–17. First, they reference the Committee’s interest in investigating

the use of federal forfeiture funds in connection with DANY’s investigation of President Trump.

See Def. Mem. 8, 17; see also Ex. 1 at 2; Exhibit V (“Ex. V”) to the Tatelman Dec. [ECF No. 32-

22]. There can be no doubt that Congress may permissibly investigate the use of federal funds,

particularly where the result of the investigation might prompt Congress to pass legislation

changing how such funds are appropriated or may be spent. See Sabri v. United States, 541 U.S.

600, 608 (2004) (“The power to keep a watchful eye on expenditures and on the reliability of those

who use public money is bound up with congressional authority to spend in the first place.”); U.S.

Const. art. I, § 8, cl. 1. DANY has conceded that it used federal forfeiture funds in its investigation

of President Trump. See Ex. 19; Compl. ¶¶ 78, 81. Defendants represent that the Committee is

considering legislation to prohibit the use of federal forfeiture funds to investigate a current or

former President. Def. Mem. at 8; Ex. V. This purpose, standing alone, is clearly sufficient to

justify the subpoena and thereby to end this Court’s inquiry. On the record at the hearing on the

motion for emergency relief, Bragg’s counsel conceded that the investigation of DANY’s use of

federal funds is a valid legislative purpose.

       Second, Defendants identify the possibility of legislative reforms to insulate current and

former presidents from state prosecutions, such as by removing criminal actions filed against them

from state to federal court. See Def. Mem. 8–9. Congress, of course, has authority to consider,

and to investigate, this potential legislative reform.      See Watkins, 354 U.S. at 187 (“The

[investigative] power of the Congress . . . encompasses inquiries concerning the administration of

existing laws as well as proposed or possibly needed statutes.” (emphasis added)); U.S. Const. art.

I, § 8, cl. 18 (defining the congressional power “[t]o make all laws which shall be necessary and

proper for carrying into execution the foregoing powers”). And Congress also has authority to

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investigate legislative reforms to prevent local prosecutions that could potentially interfere with

federal elections. See Mazars, 140 S. Ct. at 2031 (It is legitimate for Congress to conduct

“inquiries into the administration of existing laws” and “proposed laws” that seek to address

problems “in our social, economic or political system.”). Although Bragg speculates that any such

legislation would be unconstitutional, see Pl. Mem. 15, that issue is for another day. The Court

will not, and indeed cannot, block congressional investigation into hypothetical future legislation

based on Bragg’s speculation that such legislation would not pass constitutional muster. See

Nashville, C. & St. L. Ry. v. Wallace, 288 U.S. 249, 262 (1933) (courts may not make “abstract

determination[s] . . . of the validity of a statute”). 6

        C.      The Subpoena Does Not Implicate the Sovereign Interests of New York

        Bragg suggests that these are not the Committee’s true objectives. Instead, he contends

that the subpoena is actually intended “to undermine and obstruct New York’s criminal case

against Mr. Trump and [to] retaliate against the District Attorney.” Pl. Mem. 7. The Court cannot

passively accept this contention.         The Court is required to presume that a congressional

committee’s stated legislative object is “the real object.” McGrain, 273 U.S. at 178 (When it

appears that Congress is investigating on a subject matter in aid of legislating, “the presumption

should be indulged that this was the real object.”). Moreover, even if Bragg’s hypotheses about

the Committee’s real motivations were correct, they are irrelevant. “It is not a court’s ‘function’

to invalidate a congressional investigation that serves a legislative purpose.” Comm. on Ways &

Means, U.S. House of Representatives v. U.S. Dep’t of the Treasury, 575 F. Supp. 3d 53, 69

(D.D.C. 2021), aff’d sub nom., 45 F.4th 324 (D.C. Cir. 2022) (quoting Watkins, 354 U.S. at 200).

Indeed, the Supreme Court has instructed that “[s]o long as Congress acts in pursuance of its


6
  Plaintiffs make much of Kilbourn v. Thompson, 103 U.S. 168 (1880). See Pl. Mem. 7–8. But the Court concluded
there that the subpoena was “clearly judicial” in nature. 103 U.S. at 192. The same is not true here.

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constitutional power, the Judiciary lacks authority to intervene on the basis of the motives which

spurred the exercise of that power.” Barenblatt v. United States, 360 U.S. 109, 132 (1959)

(emphasis added). Whatever motives may underlie the Committee’s subpoena, its “inquiry may

fairly be deemed within its province.” Tenney v. Brandhove, 341 U.S. 367, 378 (1951). That is

sufficient to resolve this inquiry. 7

         Plaintiff next urges this Court to apply the “heightened standard of review” outlined by the

Supreme Court in Trump v. Mazars USA, LLP, 140 S. Ct. 2019 (2020). Pl. Mem. 13. In Mazars,

the Supreme Court outlined a four-part analysis relevant in assessing “a subpoena directed at the

President’s personal information.”               140 S. Ct. at 2035 (emphasis added).                     Because

“[c]ongressional subpoenas for the President’s personal information implicate[d] weighty

concerns regarding the separation of powers,” the Supreme Court instructed courts considering

such subpoenas to: (1) “carefully assess whether the asserted legislative purpose warrants the

significant step of involving the President and his papers,” (2) “insist on a subpoena no broader

than reasonably necessary to support Congress’s legislative objective,” (3) “be attentive to the

nature of the evidence offered by Congress to establish that a subpoena advances a valid legislative

purpose,” and (4) “be careful to assess the burdens imposed on the President by a subpoena.” Id.

at 2035–36 (emphasis added). The Court did not, as Bragg suggests, indicate that the four Mazars

factors apply whenever someone argues that a subpoena “implicat[es] significant separation-of-

powers concerns.” Pl. Mem. 13. In any event, the same separation of powers concerns are not

implicated here. The congressional subpoena in Mazars was directed at materials pertaining to

the sitting President of the United States. In contrast, here, the subpoena was issued to a private


7
  Bragg notes that there is “no prior case in which Congress has attempted to subpoena a state prosecutor for the
purpose of extracting information about an ongoing state prosecution.” Pl. Mem. 12 (emphasis omitted). Defendants
do not dispute this characterization or cite to any such case. However, there also is no prior case in which a former
President of the United States has been criminally charged in a state trial court, suggesting both parties swim in
untested waters.

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citizen who is no longer employed by any state government and who has written a book and spoken

extensively about the subject matter of the congressional inquiry. The Court is not persuaded that

Mazars applies to this case. 8

         Even assuming that Mazars were applicable, the Court would reach the same conclusion.

With respect to the first factor, Bragg does not demonstrate that the subpoena issued to

Pomerantz—a private citizen—will occasion a “constitutional confrontation.” Mazars, 140 S. Ct.

at 2035 (quoting Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 389 (2004)). Congress has the

power to compel individuals to testify. See Watkins, 354 U.S. at 187–88 (“It is unquestionably the

duty of all citizens to cooperate with the Congress in its efforts to obtain the facts needed for

intelligent legislative action. It is their unremitting obligation to respond to subpoenas, to respect

the dignity of the Congress and its committees and to testify fully with respect to matters within

the province of proper investigation.”); Quinn, 349 U.S. at 160–61 (“There can be no doubt as to

the power of Congress, by itself or through its committees, to investigate matters and conditions

relating to contemplated legislation. . . . Without the power to investigate—including of course the

authority to compel testimony, either through its own processes or through judicial trial—Congress

could be seriously handicapped in its efforts to exercise its constitutional function wisely and

effectively.” (citations omitted)).         Indeed, courts have even compelled individuals actively

employed by the executive branch (who at least arguably hold executive privilege, and some of

whom are attorneys obligated to protect privileged information) to appear for congressional

depositions. See, e.g., Meadows v. Pelosi, No. 1:21-CV-03217 (CJN), 2022 WL 16571232 at *8–

13 (D.D.C. Oct. 31, 2022) (dismissing challenge by White House Chief of Staff to a congressional



8
  Despite having discussed Mazars in his moving brief, Bragg seeks a second chance at arguing its applicability in his
reply brief, contending that the case broadly governs subpoenas “seeking a current or former president’s information.”
Reply 8. That is clearly incorrect. In any event, the subpoena does not seek a current or former president’s
information—it seeks Pomerantz’s testimony. See Ex. 1.

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subpoena requesting his appearance for a deposition); Comm. on Judiciary, U.S. House of

Representatives v. Miers, 558 F. Supp. 2d 53, 106 (D.D.C. 2008) (“[The former White House

counsel] is not excused from compliance with the Committee’s subpoena by virtue of a claim of

executive privilege that may ultimately be made. Instead, she must appear before the Committee

to provide testimony, and invoke executive privilege where appropriate.”); Comm. on Judiciary of

U.S. House of Representatives v. McGahn, 968 F.3d 755, 764 (D.C. Cir. 2020) (“The subpoena

power is potent. Each House of Congress is specifically empowered to compel testimony from

witnesses and the production of evidence in service of its constitutional functions, and the recipient

of a subpoena is obligated by law to comply.”). If those individuals could permissibly be deposed,

the same is certainly true here.

         Second, the subpoena seeks only Pomerantz’s testimony (not any documents or materials).

Jordan specifically noted that “many of the topics relevant to [the Committee’s oversight]” were

discussed—voluntarily and extensively—by Pomerantz in his book, as well as in several public

interviews. Ex. 1 at 2 (emphasis added). The subpoena is not, as Bragg contends, an “overbroad

fishing expedition.” Pl. Mem. 17.

         Third, Bragg criticizes Defendants’ “flimsy evidence” of a valid legislative purpose. Pl.

Mem. 17 (internal quotation marks omitted); see also Pomerantz Res. 3. But Defendants provide

evidence that the Committee is investigating the use of federal forfeiture funds, see Ex. V, and

considering the viability of legislation to protect former Presidents from politically motivated state

prosecutions, see Exhibit W to the Tatelman Dec. [ECF No. 32-23]. 9 Bragg suggests this evidence




9
  Although Pomerantz contends that he has “little if anything to say that will advance the purported legislative
purpose,” Pomerantz Res. at 5, it is not this Court’s role to prescribe the most effective manner for congressional
inquiry. See Eastland, 421 U.S. at 509 (“The very nature of the investigative function—like any research—is that it
takes the searchers up some ‘blind alleys’ and into nonproductive enterprises. To be a valid legislative inquiry there
need be no predictable end result.”).

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is insufficient but his conclusory assertions do not move the needle where, as here, he has the

burden of demonstrating entitlement to an “extraordinary remedy.” Winter, 555 U.S. at 24.

       Bragg and Pomerantz insist that Pomerantz’s testimony cannot advance any valid

legislative purpose because, in essence, everything Pomerantz is prepared to say is already in his

book and he does not have information about DANY’s use of federal funds. Pl. Mem. 11, 22

(“[T]he Committee already has his book.”); Pomerantz Res. 2; Reply 5. Bragg and Pomerantz are

not entitled to unilaterally narrow the universe of acceptable inquiry to the information and mental

impressions that Pomerantz decided to sell in the pages of his book. See Eastland, 421 U.S. at

509; McGahn, 968 F.3d at 764. If Pomerantz does not have any information about DANY’s use

of federal funds, he may say so if asked at his deposition.

       Finally, Bragg’s suggestion that the subpoena “would substantially burden both the New

York criminal justice system itself and the District Attorney’s Office” is without merit. Pl. Mem.

18. Pomerantz is a former prosecutor. He is not involved in the state prosecution in any way.

Bragg provides no reason to conclude that a deposition of a former employee would interfere with

DANY or any of its ongoing prosecutions. The pending prosecution will move forward in the

ordinary course regardless of whether the Committee deposes Pomerantz. Further, Pomerantz was

not even employed with DANY at the time President Trump was indicted. Pomerantz admits as

much. Pomerantz Dec. ¶ 4. He has stated that the materials in his book would “have no bearing

on the litigation of [the criminal prosecution of President Trump]” and would “not prejudice any

investigation or prosecution of Donald Trump.” Inside Account at 278–79. Moreover, Pomerantz

emphasizes that he “was not involved in the decision to bring the pending indictment against Mr.

Trump.” Pomerantz Res. 5 (emphasis added). Bragg therefore does not satisfy his burden of

demonstrating that the subpoena poses a threat “to a state executive officer, a state judicial

proceeding, [or] our federal system itself.” Pl. Mem. 14. The Court is further unmoved by Bragg’s

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purported concern at the prospect of “inject[ing] partisan passions into a forum where they do not

belong.” Pl. Mem. 19. By bringing this action, Bragg is engaging in precisely the type of political

theater he claims to fear.

        While the Court need not decide the ultimate merits of Bragg’s claims at this stage, serious

constitutional infirmities are evident with respect to a lawsuit against Defendants Jordan and the

Committee. See Def. Mem. 5–9. The Speech or Debate Clause states: “for any Speech or Debate

in either House,” Senators and Representatives “shall not be questioned in any other Place.” U.S.

Const. art. I, § 6, cl. 1. Although the Clause speaks only of “Speech or Debate,” it has been

interpreted to protect all “legislative acts.” See Doe v. McMillan, 412 U.S. 306, 312 (1973)

(citation omitted). The Clause provides individual members of Congress and congressional

committees broad immunity from civil suits. See Eastland, 421 U.S. at 501–03; Doe, 412 U.S. at

313; see also Harlow v. Fitzgerald, 457 U.S. 800, 807 (1982); Supreme Ct. of Virginia v.

Consumers Union of U.S., Inc., 446 U.S. 719, 731–33 (1980). Because Jordan and the Committee

are likely immune, Defendants contend that they are necessary parties who cannot be joined and

that, under Federal Rule of Civil Procedure 19, the action cannot be maintained. See Def. Mem.

10–14. Bragg disagrees. 10 The Court need not resolve this issue, but the distinct possibility of

immunity weighs against concluding that Bragg has shown a likelihood of success on the merits.

In all events, Bragg confirms in his reply brief that the Court must consider whether there is a

“legitimate legislative purpose” for the subpoena he seeks to quash. Reply 3. As explained above,

Jordan and the Committee clearly have identified a legitimate legislative purpose, and accordingly

the Court will not issue a temporary restraining order.




10
  Despite pervasive discussion of the Speech or Debate Clause in the relevant case law and governing authority, Bragg
neglected to mention the Clause whatsoever in his moving brief. However, Bragg seeks an opportunity to address this
“material issue[]” in his unauthorized reply brief. See Letter Motion for Leave to File Reply [ECF No. 41].

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       D.      To the Extent They Have Not Been Waived, the Claimed
               Privileges Are Not Jeopardized by the Subpoena

       Plaintiff’s assertion that the subpoena “seeks grand jury material” and “documents and

communications protected by the attorney-client privilege and work product doctrine” does not

salvage his motion. Pl. Mem. 20. As an initial matter, the subpoena does not, as Plaintiff suggests,

“seek[]” any “material,” “documents,” or “communications.” Pl. Mem. 20. The subpoena only

seeks Pomerantz’s testimony. See Ex. 1. Although Bragg assumes that the questioning will stray

into impermissible territory, the Court declines Bragg’s invitation to blindly speculate about what

questions might hypothetically be posed to Pomerantz at the deposition. See Nat’l Org. for

Marriage, Inc. v. Walsh, 714 F.3d 682, 687 (2d Cir. 2013) (“A claim is not ripe if it depends upon

‘contingent future events that may not occur as anticipated, or indeed may not occur at all.’”

(quoting Thomas v. Union Carbide Agr. Prods. Co., 473 U.S. 568, 580–81 (1985)); Ass’n of Car

Wash Owners Inc. v. City of New York, 911 F.3d 74, 85 (2d Cir. 2018) (“[F]ederal courts may not

give an opinion advising what the law would be upon a hypothetical state of facts.” (citing Aetna

Life Ins. Co. v. Haworth, 300 U.S. 227, 241 (1937) (internal quotation marks omitted))).

       Bragg’s throw-everything-at-the-wall approach to privilege is unpersuasive. As an initial

matter, Bragg concedes that “Jordan represents that he does not seek information protected by New

York’s grand jury secrecy laws.” Pl. Mem. 20 (emphasis added). Although Bragg vaguely asserts

that the Committee’s “inquiry could [still] include questions about grand jury matters,” this Court

will not quash a subpoena based solely on Bragg’s seemingly endless string of “what ifs.” Pl.

Mem. 21 (emphasis added). Even if grand jury secrecy were implicated by the subpoena, Bragg’s

argument makes little sense because Pomerantz was not involved in securing the grand jury

indictment. Pomerantz Dec. ¶ 3. Indeed, at the time Pomerantz left DANY, “there [had] been no

New York state criminal prosecution of Donald Trump.” Inside Account at 278. And even


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assuming Pomerantz did have some relevant information about the grand jury, Pomerantz is clearly

aware that he “cannot disclose details about grand jury proceedings” since he professes that he

authored his book in such a way that his “account of the investigation did not violate the grand

jury secrecy requirement.” Id. at 195, 277. 11

         With respect to Bragg’s various other claims of privilege, 12 the Court is unpersuaded that

judicial intervention is needed to ensure that any privilege that might exist is preserved. Pomerantz

is impressively credentialed. He had a long and successful career: he graduated from the

University of Michigan Law School, served as a law clerk for a distinguished federal judge, clerked

at the United States Supreme Court, was a law professor, worked as a federal prosecutor for the

United States Attorney’s Office for the Southern District of New York, and as a criminal defense

attorney for many years, including as a senior partner at a prominent New York City law firm

(Paul, Weiss, Rifkind, Wharton & Garrison). See Inside Account at 3–4. In short, Pomerantz is a

very experienced, sophisticated, and extremely capable attorney. Moreover, the Committee’s

procedural rules permit two additional lawyers to accompany Pomerantz to the deposition. See

Rules of Procedure of the Committee on the Judiciary, R. XI(k)(3) (2023) (“Rule XI”). 13 This



11
  The Court notes that the secrecy of the grand jury proceedings in the pending criminal case was compromised before
an indictment was even announced. See Kara Scannell et al., Donald Trump indicted by Manhattan grand jury on
more than 30 counts related to business fraud, CNN (Mar. 31, 2023, 7:35 AM),
https://www.cnn.com/2023/03/30/politics/donald-trump-indictment/index.html.
12
   Specifically, Bragg contends that attorney-client privilege, attorney work product protection, law enforcement
privilege, informant’s privilege, public interest privilege, and deliberative process privileges are all implicated. Pl.
Mem. 21–22. Although Bragg pays lip service to these other so-called privileges, his primary concern appears to be
the possibility that Pomerantz might be asked to disclose the “internal deliberations” of DANY, which is a question
of work product. See Pl. Mem. 21. Work product protection is not absolute, but rather offers a qualified protection
to “documents and tangible things that are prepared in anticipation of litigation or for trial.” Fed. R. Civ. P. 26(b)(3).
Of course, this is precisely what Pomerantz lays out in People vs. Donald Trump: An Inside Account.
13
  Although the rules only permit “personal, nongovernmental attorneys” to accompany Pomerantz, see Rule XI, this
Court has no authority to rewrite the Committee’s rules. See Exxon Corp. v. F.T.C., 589 F.2d 582, 590 (D.C. Cir.
1978) (“[W]e are sympathetic to appellants’ concern for safeguarding highly confidential information worth millions
of dollars, but for this court on this record to establish any such requirement would clearly involve an unacceptable
judicial intrusion into the internal operations of Congress.”).

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Court is confident that Pomerantz and his counsel are fully knowledgeable about the privilege and

confidentiality obligations he owes to DANY and, indeed, are duty bound to ensure they are

maintained. 14 See Model Rules of Pro. Conduct 1.6 (duty of confidentiality); 1.9 (duties to former

clients) (Am. Bar Ass’n 2023); see also Inside Account at 279 (noting that Pomerantz “overcame

[his] angst” about “describing the inner dialogue of the investigation” because “the Trump

investigation was in a class of its own”). The “recipients of legislative subpoenas . . . have long

been understood to retain common law and constitutional privileges with respect to certain

materials, such as attorney-client communications and governmental communications protected

by executive privilege.” Mazars, 140 S. Ct. at 2032.

         Pomerantz is now represented by a team of capable lawyers from his former firm Paul,

Weiss. See Notices of Appearance [ECF Nos. 28, 29]. Bragg provides no reason to assume those

accomplished lawyers would not also be fully knowledgeable about Pomerantz’s ethical

obligations with respect to privilege and confidentiality. Accordingly, the deposition should

proceed in the normal course, question by question, and Pomerantz is free to object, personally or

through his counsel, and decline to answer any questions when (and if) appropriate. See Miers,

558 F. Supp. 2d at 106–07. Indeed, Defendants confirm that “[t]o the extent that questions are

asked that Pomerantz believes he is not permitted to answer, he would retain the ability to decline

to answer or to assert an applicable privilege.” Def. Mem. 19.

         Bragg expresses concern that the Committee’s rules permit “a partisan decisionmaker” to

“overrule privilege objections” at the deposition and “order a witness to answer a question.” Pl.


14
   Pomerantz has made it abundantly clear that he will seek to comply with Bragg’s instructions and to invoke
privilege. See Pomerantz Res. 4 (“The District Attorney . . . instructed Mr. Pomerantz, in writing, to provide no
information to the [Committee] in response to the subpoena.); see also Pomerantz Dec. ¶ 6 (“[I]f I were to testify, I
believe that the District Attorney would instruct me to assert the various claims of privilege he has identified in his
moving papers.”). This claimed deference to the District Attorney’s command is a surprising about-face, particularly
given that Pomerantz previously declined the District Attorney’s request to review his book manuscript before
publication. See Compl. ¶ 90.

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Mem. 23. The Court cannot decide, before-the-fact, “what information or answers [Pomerantz]

may validly be required to give or the validity of any objections he might make.” Sanders v.

McClellan, 463 F.2d 894, 903 (D.C. Cir. 1972); see also Ansara v. Eastland, 442 F.2d 751, 753

(D.C. Cir. 1971) (noting that “courts [should] avoid use of extraordinary remedies that involve

‘needless friction’ with a coordinate branch of the government” where “the plaintiffs [sought]

relief that would precede and seek to relate to the conduct of a future legislative hearing” (emphasis

added) (citation omitted)). But in the event that this situation does arise, Pomerantz has avenues

for judicial review.    See, e.g., Watkins, 354 U.S. at 214–16; United States v. House of

Representatives of U.S., 556 F. Supp. 150, 152 (D.D.C. 1983) (“[C]onstitutional claims and other

objections to congressional investigatory procedures may be raised as defenses in a criminal

prosecution.”).

       Pomerantz complains that he is in a “legally untenable position” because he will be forced

to make a choice between “legal or ethical consequences” or “potential criminal and disciplinary

exposure.” Pomerantz Res. 4–5. The Court, again, is unable to surmise whether Pomerantz will

actually face such a dilemma. In addition, the Court notes that Pomerantz is in this situation

because he decided to inject himself into the public debate by authoring a book that he has

described as “appropriate and in the public interest.” Inside Account at 280.

       Finally, Bragg cannot seriously claim that any information already published in

Pomerantz’s book and discussed on prime-time television in front of millions of people is protected

from disclosure as attorney work product (or otherwise). See Pl. Mem. 21–22. On the record at

the hearing on the motion for emergency relief, Bragg’s counsel admitted that Pomerantz’s book

did not preserve the confidences of the District Attorney’s Office. While Bragg maintains that

Pomerantz’s inappropriate disclosures cannot waive DANY’s privilege, such a claim is belied by

DANY’s inaction in response to Pomerantz’s known plan to publish a book about DANY’s

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investigation into President Trump. If that information ever was protected from disclosure as

attorney work product, 15 the protection has been waived by DANY. Bragg concedes that he was

aware of Pomerantz’s intention to publish the book before it was published. Compl. ¶ 90.

Although Bragg contends that he “diligently sought to protect [the privilege],” he merely

“remind[ed] Mr. Pomerantz of his obligations not to disclose confidential or privileged information

and request[ed] the opportunity for prepublication review.” Pl. Mem. 21. By Bragg’s own

admission, Pomerantz declined the request for pre-publication review and proceeded to publish

the book anyway. Pl. Mem. 21–22. There is no evidence that DANY took any action before the

book was published—such as seeking to enjoin publication or distribution. 16 Similarly, after

publication, DANY again took no action. It did not request a gag order, seek an injunction, pursue

Pomerantz for money damages, refer Pomerantz for an ethics inquiry, or even raise any concerns

about the publication with Pomerantz. This repeated inaction constitutes acquiescence to the

disclosure of any otherwise privileged information. See, e.g., Cruz v. Coach Stores, Inc., 196

F.R.D. 228, 230 (S.D.N.Y. 2000) (privilege waived where “Coach raised no objection when . . .

Jaspan Associates . . . publicly filed a copy of the [purportedly privileged document and Coach]

. . . neither sought its sealing by the Court nor raised any objection with Jaspan Associates.”); von

Bulow by Auersperg v. von Bulow, 114 F.R.D. 71, 76 (S.D.N.Y. 1987) (“An attorney’s disclosure

of communications with his client will constitute a waiver of the attorney-client privilege if the



15
  Pomerantz seemingly contends it was not, as he has publicly stated that he is “confident that all of [his] actions with
respect to the Trump investigation, including the writing of [his] forthcoming book, are consistent with [his] legal and
ethical obligations.” Compl. ¶ 90; see also Inside Account at 279–80 (“The public debate about Trump’s conduct, his
unique public status, the circumstances under which my work ended, and the extensive news coverage about the
progress of the investigation convinced me that writing this book was appropriate and in the public interest.”).
16
  At the hearing on the motion for emergency relief, the Court repeatedly pressed Bragg to describe what, if any steps,
DANY took to preserve its privilege after it became aware that Pomerantz intended to publish a book. In response to
that questioning, Bragg’s counsel represented for the first time that at some point, she copied the City’s Department
of Investigation on an email containing the letter that DANY sent to Pomerantz reminding him of his ethical
obligations to DANY.

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client has . . . acquiesed in the disclosure.”).             Because Bragg has never claimed that any

information in the book was privileged, he may not do so now simply because it is convenient.

        In sum, the Court is unwilling to hypothesize about, and prophylactically rule on, the

permissibility of questions that may—or may not—arise at the deposition of Pomerantz. Bragg

has not shown a likelihood of success on the merits. The Court therefore need not address the

other prongs of the temporary restraining order analysis. See Oneida, 645 F.3d at 164. 17

                                                CONCLUSION

        For the foregoing reasons, the motion for a temporary restraining order enjoining the

subpoena to depose Mr. Pomerantz and enjoining Mr. Pomerantz from appearing is DENIED.

        In our federalist system, elected state and federal actors sometimes engage in political

dogfights. Bragg complains of political interference in the local DANY case, but Bragg does not

operate outside of the political arena. Bragg is presumptively acting in good faith. That said, he

is an elected prosecutor in New York County with constituents, some of whom wish to see Bragg

wield the force of law against the former President and a current candidate for the Republican

presidential nomination. Jordan, in turn, has initiated a political response to what he and some of

his constituents view as a manifest abuse of power and nakedly political prosecution, funded (in

part) with federal money, that has the potential to interfere with the exercise of presidential duties

and with an upcoming federal election. The Court does not endorse either side’s agenda. The sole

question before the Court at this time is whether Bragg has a legal basis to quash a congressional

subpoena that was issued with a valid legislative purpose. He does not.



17
  In his Complaint, Bragg seeks a declaratory judgment that any future subpoenas served by Jordan or the Committee
on Bragg or “any of his current or former employees or officials” are “invalid, unconstitutional, ultra vires, and/or
unenforceable” and a “permanent and preliminary injunction enjoining enforcement of any such [future] subpoena.”
Compl. ¶ 127; see Compl. ¶ 20. To be clear, Bragg seeks this declaratory judgment for theoretical future subpoenas
which Jordan or the Committee may issue against him or others. On the record at the hearing on the motion for
emergency relief, Bragg’s counsel represented that he is not seeking such a declaratory judgment at this time.

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       The parties are encouraged to speak with one another to reach a mutually agreeable

compromise regarding how the deposition of Mr. Pomerantz will proceed. This Court will retain

jurisdiction over this dispute and any ancillary claims arising out of the inquiry by the Committee

relating to the use of federal funds in a manner that may influence the 2024 presidential election.

In other words, Bragg may not file successive proceedings under a different index number if and

when the Committee in fact issues another subpoena that he finds objectionable or if there are

issues with respect to the Pomerantz deposition. The parties are HEREBY ORDERED to file a

joint status report within 30 days of the date of this Order.



SO ORDERED.
                                                        _________________________________
Date: April 19, 2023                                    MARY KAY VYSKOCIL
      New York, NY                                      United States District Judge




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         REGULATIONS FOR THE USE OF DEPOSITION AUTHORITY
1. Notices for the taking of depositions shall specify the date, time, and place of
examination. Depositions shall be taken under oath administered by a member or a
person otherwise authorized to administer oaths. Depositions may continue from
day to day.
2. Consultation with the ranking minority member shall include three days’ notice
before any deposition is taken. All members of the committee shall also receive
three days written notice that a deposition will be taken, except in exigent
circumstances. For purposes of these procedures, a day shall not include Saturdays,
Sundays, or legal holidays except when the House is in session on such a day.
3. Witnesses may be accompanied at a deposition by two designated personal,
nongovernmental attorneys to advise them of their rights. Only members,
committee staff designated by the chair or ranking minority member, an official
reporter, the witness, and the witness’s two designated attorneys are permitted to
attend. Other persons, including government agency personnel, may not attend.
4. The chair of the committee noticing the deposition may designate that deposition
as part of a joint investigation between committees, and in that case, provide notice
to the members of the committees. If such a designation is made, the chair and
ranking minority member of the additional committee(s) may designate committee
staff to attend pursuant to regulation 3. Members and designated staff of the
committees may attend and ask questions as set forth below.
5. A deposition shall be conducted by any member or committee counsel designated
by the chair or ranking minority member of the Committee that noticed the
deposition. When depositions are conducted by committee counsel, there shall be no
more than two committee counsel permitted to question a witness per round. One of
the committee counsel shall be designated by the chair and the other by the ranking
minority member per round.
6. Deposition questions shall be propounded in rounds. The length of each round
shall not exceed 60 minutes per side and shall provide equal time to the majority
and the minority. In each round, the member(s) or committee counsel designated by
the chair shall ask questions first, and the member(s) or committee counsel
designated by the ranking minority member shall ask questions second.
7. Objections must be stated concisely and in a non-argumentative and non-
suggestive manner. A witness’s attorney may not instruct a witness to refuse to
answer a question, except to preserve a privilege. In the event of professional,
ethical, or other misconduct by the witness’s attorney during the deposition, the
Committee may take any appropriate disciplinary action. The witness may refuse to
answer a question only to preserve a privilege. When the witness has refused to
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answer a question to preserve a privilege, members or staff may (i) proceed with the
deposition, or (ii) either at that time or at a subsequent time, seek a ruling from the
Chair either by telephone or otherwise. If the Chair overrules any such objection
and thereby orders a witness to answer any question to which an objection was
lodged, the witness shall be ordered to answer. If a member of the committee
chooses to appeal the ruling of the chair, such appeal must be made within three
days, in writing, and shall be preserved for committee consideration. The
Committee’s ruling on appeal shall be filed with the clerk of the Committee and
shall be provided to the members and witness no less than three days before the
reconvened deposition. A deponent who refuses to answer a question after being
directed to answer by the chair may be subject to sanction, except that no sanctions
may be imposed if the ruling of the chair is reversed by the committee on appeal.
8. The Committee chair shall ensure that the testimony is either transcribed or
electronically recorded or both. If a witness’s testimony is transcribed, the witness
or the witness’s attorney shall be afforded an opportunity to review a copy. No later
than five days after the witness has been notified of the opportunity to review the
transcript, the witness may submit suggested changes to the chair. Committee staff
may make any typographical and technical changes. Substantive changes,
modifications, clarifications, or amendments to the deposition transcript submitted
by the witness must be accompanied by a letter signed by the witness requesting
the changes and a statement of the witness’s reasons for each proposed change. Any
substantive changes, modifications, clarifications, or amendments shall be included
as an appendix to the transcript conditioned upon the witness signing the
transcript.
9. The individual administering the oath, if other than a member, shall certify on
the transcript that the witness was duly sworn. The transcriber shall certify that
the transcript is a true record of the testimony, and the transcript shall be filed,
together with any electronic recording, with the clerk of the committee in
Washington, DC. Depositions shall be considered to have been taken in
Washington, DC, as well as the location actually taken once filed there with the
clerk of the committee for the committee’s use. The chair and the ranking minority
member shall be provided with a copy of the transcripts of the deposition at the
same time.
10. The chair and ranking minority member shall consult regarding the release of
deposition testimony, transcripts, or recordings, and portions thereof. If either
objects in writing to a proposed release of a deposition testimony, transcript, or
recording, or a portion thereof, the matter shall be promptly referred to the
committee for resolution.
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11. A witness shall not be required to testify unless the witness has been provided
with a copy of section 3(k) of H. Res. 5, 118th Congress, and these regulations.
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              REGULATIONS FOR THE REMOTE PARTICIPATION
                      OF COMMITTEE WITNESSES

Except as provided by section 3(j) of H. Res. 5, 118th Congress and these
regulations, witnesses shall testify before a committee in person. No remote
testimony will be accepted from witnesses testifying in a government capacity. In
the event the chair of a committee determines that testimony of a witness
appearing in a non-governmental capacity is necessary and such a witness is only
available to participate remotely due to extreme hardship or other exceptional
circumstances, the chair may allow the witness to participate remotely, with
written approval from the Majority Leader.

The official record of the committee proceeding shall include a letter from the chair
detailing the necessity of allowing the witness to participate remotely, a description
of why the witness could not participate in person, why such testimony was
necessary for purposes of fulfilling Congress’s Article I responsibility, and a letter
from the Majority Leader approving of such remote participation.

The witness must agree to remain on the platform until excused by the chair. The
witness should conduct a pre-hearing technology test with staff designated by the
chair, to ensure the witness will have sufficient internet connection during the
hearing, and to minimize the possibility of any technical issues.

No witness appearing in a governmental capacity may participate remotely. No
witness testifying before a committee in response to a subpoena is permitted to
testify remotely, unless both the chair of the committee and the Majority Leader
authorize such testimony in writing and printed in the Congressional Record.

Any text based or private messaging function in the software platform used to
facilitate the participation of a remote witness must be disabled unless it is used to
provide technical support to the witness, which may be excluded from the public
video stream and will not be considered a committee record.

Only witnesses approved for remote participation may have participatory access on
the software platform.

Committees may only utilize a software platform certified by the Chief
Administrative Officer. The Chief Administrative Officer should inform committees,
including the ranking minority members, each time a software platform is certified.

Witnesses participating remotely should appear before a nonpolitical, professional
appropriate background that is minimally distracting to other members and
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witnesses, to the greatest extent possible. It remains within the full discretion of the
chair to enforce rules of decorum for committee proceedings.

Any committee report of activities submitted pursuant to clause 1(d)(1) of rule XI
should include a list of hearings conducted with remote participation.

A witness participating remotely in a committee proceeding shall be visible
onscreen within the software platform until excused by the chair. The witness shall
disclose to the chair and ranking member any additional individual(s) present off
screen.

Witness counsel shall be allowed access on the remote proceeding software platform
if they are not in the physical presence of the witness. It is recommended that
counsel facilitate a separate secure line of communication with the witness. A
witness may not be unmuted by any other individual and should be allowed to use
such secure line of communication while testifying to confer with counsel.

A witness may not allow an individual not invited to testify to speak on the
platform. The committee chair may only provide an exception when the other
individual is necessary to facilitate the witness’s participation in the hearing (e.g.
translators).

A chair may not authorize remote participation for more than one witness at a
committee hearing without the approval of the Majority Leader in writing and
printed in the Congressional Record.
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                                              DISTRICT ATTORNEY
                                               COUNTY OF NEW YORK
                                                   ONE HOGAN PLACE
                                                   New York, N. Y. 10013
                                                      (212) 335-9000


ALVIN L. BRAGG, JR.
     DISTRICT ATTORNEY




                                                          March 31, 2023
 By email

 The Honorable Jim Jordan
 Chairman, House Committee on the Judiciary

 The Honorable Bryan Steil
 Chairman, House Committee on House Administration

 The Honorable James Comer
 Chairman, House Committee on Oversight and Accountability

 Dear Chairman Jordan, Chairman Steil, and Chairman Comer:

 Yesterday, the District Attorney of New York County filed charges against Donald Trump for
 violations of New York law.1 The charges filed yesterday were brought by citizens of New
 York, doing their civic duty as members of a grand jury, who found probable cause to accuse
 Mr. Trump of having committed crimes in New York.

 Like any other defendant, Mr. Trump is entitled to challenge these charges in court and avail
 himself of all processes and protections that New York State’s robust criminal procedure
 affords. What neither Mr. Trump nor Congress may do is interfere with the ordinary course
 of proceedings in New York State. Your first letter made an unprecedented request to the
 District Attorney for confidential information about the status of the state grand jury
 investigation—now indictment— of Mr. Trump. Your second letter asserts that, by failing to
 provide it, the District Attorney somehow failed to dispute your baseless and inflammatory
 allegations that our investigation is politically motivated. That conclusion is misleading and
 meritless. We did not engage in a point-by-point rebuttal of your letter because our Office is
 legally constrained in how it publicly discusses pending criminal proceedings, as prosecutorial
 offices are across the country and as you well know. That secrecy is critical to protecting the
 privacy of the target of any criminal investigation as well as the integrity of the independent
 grand jury’s proceedings.2

 1The charges contained in the indictment are merely allegations, and the defendant is presumed innocent unless and until
 proven guilty.
 2 See, e.g., McKeever v. Barr, 920 F.3d 842, 844 (D.C. Cir. 2019) (“The Supreme Court has long maintained that the proper

 functioning of our grand jury system depends upon the secrecy of grand jury proceedings. That secrecy safeguards vital
 interests in (1) preserving the willingness and candor of witnesses called before the grand jury; (2) not alerting the target
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The Committees Lack Jurisdiction to Oversee a State Criminal Prosecution

Your recent letter states that the purpose of your inquiry is to conduct “an examination of the
facts” relating to the investigation of Mr. Trump. 3 But Congress has no warrant for interfering
with individual criminal investigations—much less investigations conducted by a separate
sovereign. See United States v. Lopez, 514 U.S. 549, 561 (1995) (“Under our federal system, the
States possess primary authority for defining and enforcing the criminal law.”); Younger v.
Harris, 401 U.S. 37, 44 (1971) (“This underlying reason for restraining courts of equity from
interfering with criminal prosecutions is reinforced by an even more vital consideration, the
notion of ‘comity,’ that is, a proper respect for state functions.”); cf. Gamble v. United States, 139
S. Ct. 1960 (2019) (recognizing state sovereign interests in the criminal justice context). The
Committees’ attempted interference with an ongoing state criminal investigation—and now
prosecution—is an unprecedented and illegitimate incursion on New York’s sovereign
interests.

Moreover, your examination of the facts of a single criminal investigation, for the supposed
purpose of determining whether any charges against Mr. Trump are warranted, is an improper
and dangerous usurpation of the executive and judicial functions. See Trump v. Mazars USA,
LLP, 140 S. Ct. 2019, 2032 (2020) (“Congress may not issue a subpoena for the purposes of
‘law enforcement’ because “those powers are assigned under our Constitution to the Executive
and the Judiciary.”); Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 219, 224 (1995) (“The Framers
of our Constitution lived among the ruins of a system of intermingled legislative and judicial
powers” and accordingly created a system that separated “the legislative power to make general
law from the judicial power to apply that law in particular cases.”). Even worse, based on your
reportedly close collaboration with Mr. Trump in attacking this Office and the grand jury
process,4 it appears you are acting more like criminal defense counsel trying to gather evidence
for a client than a legislative body seeking to achieve a legitimate legislative objective.

The Committees’ Vague and Shifting Legislative Purpose is Insufficient

You suggest that your request has a valid legislative purpose because Congress may consider
legislation to shield former presidents from state criminal investigations for “personal acts”
that do not involve their conduct in office. You did not identify any such legislative purpose
in your initial letter, suggesting that your proposal to “insulate current and former presidents”

of an investigation who might otherwise flee or interfere with the grand jury; and (3) preserving the rights of a suspect
who might later be exonerated.” (citations omitted; internal quotation marks omitted)); People v. DiNapoli, 27 N.Y.2d 229,
235 (1970) (identifying five policy reasons for maintaining the secrecy of grand jury proceedings).
3 See also The Lead with Jake Tapper, CNN, Mar. 26, 2023 (https://www.cnn.com/videos/politics/2023/03/26/sotu-
rep-comer-full.cnn) (Comer: “[Bragg] should come explain to us exactly what he’s investigating”).
4Annie Grayer et al., Inside the backchannel communications keeping Donald Trump in the loop on Republican investigations, CNN.com
(March 28, 2023), https://tinyurl.com/mr3n675p.
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from state criminal investigations is a baseless pretext to interfere with our Office’s work. 5
Indeed, we doubt that Congress would have authority to place a single private citizen—
including a former president or candidate for president—above the law or to grant him unique
protections, such as removal to federal court, that are unavailable to every other criminal
defendant. “[E]very President takes office knowing that he will be subject to the same laws as
all other citizens upon leaving office. This is a feature of our democratic republic, not a bug.”
Comm. on Ways and Means v. U.S. Dep’t of Treasury, 45 F.4th 324, 338 (D.C. Cir. 2022).

Even if you were seriously considering such legislation and had the constitutional authority to
enact it (which you do not), your request for information from the District Attorney and his
former attorneys concerning an ongoing criminal probe is unnecessary and unjustified.
Congress has many sources from which it could seek information on the wisdom of this
legislation, including from former federal or state prosecutors not involved in this pending
matter. The “unique constitutional position” our Constitution affords the states with respect
to the criminal law “means that Congress may not look” to active state investigations “as a
‘case study’ for general legislation.” Trump, 140 S. Ct. at 2035-36 (2020). Likewise, it is unclear
what pertinence the requested documents have to Congress’s evaluation of whether to grant
a former president or presidential candidate with immunity from prosecution for state crimes.
The documents and information relating to the pending criminal case would be relevant only
if Congress is intending to specifically prevent this prosecution—an intent that you purport
to disclaim.6

The DA’s Office Uses Limited Federal Funds to Effectively Fight Crime & Help
Victims

The Committees’ initial rationale for its inquiry related to this Office’s use of federal funds.
Over the last decade and a half, this Office has contributed to the federal fisc. Indeed, the DA’s
Office has helped the Federal Government secure more than one billion dollars in asset
forfeiture funds in the past 15 years. The DA’s Office receives only a small fraction of those
forfeited funds.


5 This concern is heightened given that some committee members have explicitly stated an intent to interfere with the state

proceeding. For example, responding to Trump’s statement that he would be arrested, Representative Marjorie Taylor
Greene stated that “Republicans in Congress MUST subpoena these communists and END this! We have the power to
do it and we also have the power to DEFUND their salaries and departments!”, Rep. Marjorie Taylor Greene (@
RepMTG), Twitter (Mar. 18, 2023, 8:59 AM), https://twitter.com/RepMTG/status/1637076244708614144, and that
Republicans who “do nothing to stop” the prosecution “will be exposed to the people and will be remembered, scorned,
and punished by the base”, Rep. Marjorie Tylor Greene (@mtgreenee), Twitter (Mar. 18, 2023, 7:57 AM)
https://twitter.com/mtgreenee/status/1637060574314917888. See also Rep. Anna Paulina Luna (@realannapaulina),
Twitter (Mar. 18, 2023, 3:42 PM), https://twitter.com/realannapaulina/status/1637177616225501191 (“Pay attention to
who is being silent on what is currently happening to Trump.”).
6 Letter from Rep. Jim Jordan, H. Comm. on the Judiciary, et al. to Hon. Alvin L. Bragg, Jr., District Attorney, New York

County (March 23, 2023) at 7 (asserting that “the Committees’ oversight will in no way ‘stop [the] prosecution or set limits
on the management of a particular case”).
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Our review of the Office’s records reflect that, of the federal forfeiture money that the Office
helped collect, approximately $5,000 was spent on expenses incurred relating to the
investigation of Donald J. Trump or the Trump Organization. These expenses were incurred
between October 2019 and August 2021. Most of those costs are attributed to the Supreme
Court case, Trump v. Vance—subpoena-related litigation in which the DA’s Office prevailed
and which led to the indictment and conviction of Trump Organization CFO Allen
Weisselberg and two Trump organizations. No expenses incurred relating to this matter have
been paid from funds that the Office receives through federal grant programs.

Federal Grant Programs

Currently, the DA’s Office participates in three federal grant programs relating to our
casework.7 Award letters relating to these programs are attached. The Office can provide
additional documentation regarding these grants on a rolling basis to be agreed upon in the
previously requested meet and confer.

Stop Violence Against Women Act Program. The DA’s Office receives $50,000 in federal grant
money yearly via New York State’s Division of Criminal Justice Services during our current
award period, which runs from January 1, 2021, to December 31, 2025, for work to hold
accountable those who commit acts of violence against women. These funds are used to help
pay a portion of the salaries for senior positions in the Special Victims Division of the Office,
including those who prosecute the most serious acts of violence and who directly interface
and help victims of crime through the process. We note that, according to the National
Coalition Against Domestic Violence, New York has the third lowest rate of domestic violence
victimization for women of all 50 states.8

Victims of Crime Act, Victim and Witness Assistance Grant Program. The DA’s Office receives
$583,111.04 in federal grant money yearly during our current award period, which runs from
October 1, 2022, to September 30, 2025, from the Victims of Crime Act Victim and Witness
Assistance Grant Program, which is sub-granted from the federal government through the
New York State Office of Victim Services to our Office. All these funds are used by our
Witness Aid Services Unit (WASU). WASU provides a variety of court-related services, social
services, and counseling services designed to meet the needs of crime victims, witnesses, and
their families. The Unit also provides information related to the prosecution of the case, assists
victims in understanding the criminal justice system, and provides information regarding crime
victims’ rights. WASU ensures that crime victims, witnesses, and their families can access the

7In addition, to support the Federal Government’s High Intensity Drug Trafficking Areas (HIDTA) program, the DA’s
Office receives funds and acts as the financial fiduciary recipient for grant funding for the New York/New Jersey HIDTA.
Expenditure of these funds is directed by an executive board of law enforcement partners; the DA’s Office does not
control decision-making on the use of these funds.
8   National Coalition Against Domestic Violence, State-By-State Statistics, available at: https://ncadv.org/state-by-state.
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services they need to address their trauma and rebuild their lives, while also helping them
navigate New York’s complex court system. All these efforts help make our city safer; by
ensuring victims participate in court processes, they help hold those who commit crimes
accountable for their actions, and by addressing trauma they help prevent future criminality.
Our Office’s focus on public safety in every aspect of our work, including WASU, is one thing
that helps explain why an expert analysis of the overall impact of the cost of crime per resident,
taking into account the cost of both violent and property crime, found New York City the
fifth safest large city in America. 9

Department of Justice, Justice Assistance Grant. The DA’s Office receives $204,730 in federal grant
money during our current award period, which runs from October 1, 2020, to September 30,
2024, from the Department of Justice’s Justice Assistance Grant program which is sub-granted
from the City of New York. These funds go towards addressing violent and other felony
crimes in our jurisdiction. With the help of these funds, New York City has the fifth lowest
rate of homicides of the top 50 most populated cities in the United States. 10

                                                 *        *        *

Finally, as you are no doubt aware, former President Trump has directed harsh invective
against District Attorney Bragg and threatened on social media that his arrest or indictment in
New York may unleash “death & destruction.” As Committee Chairmen, you could use the
stature of your office to denounce these attacks and urge respect for the fairness of our justice
system and for the work of the impartial grand jury. Instead, you and many of your colleagues
have chosen to collaborate with Mr. Trump’s efforts to vilify and denigrate the integrity of
elected state prosecutors and trial judges and made unfounded allegations that the Office’s
investigation, conducted via an independent grand jury of average citizens serving New York
State, is politically motivated. See, e.g., Annie Grayer et al., Inside the backchannel communications
keeping Donald Trump in the loop on Republican investigations, CNN.com (March 28, 2023),
https://tinyurl.com/mr3n675p (“House GOP Conference Chair Elise Stefanik . . . and
Trump spoke several times last week alone, where she walked him through the GOP’s plans
for an aggressive response to Bragg.”). We urge you to refrain from these inflammatory
accusations, withdraw your demand for information, and let the criminal justice process
proceed without unlawful political interference.




9 Deb Gordon, Safest Cities In America 2023: Violent Crime Rate Increases Drive Per Capita Cost of Crime, available at

https://www.moneygeek.com/living/safest-cities/, analyzing 263 cities with populations of over 100,000 using FBI data
and relying on academic measurement of the cost of crime to society.
10Bloomberg News analysis of murder rates in the top 50 most populated cities in America, using data from the Major
Cities Chiefs Association, Federal Bureau of Investigation, local police departments, media reports, and the US Census
Bureau, available at: https://www.bloomberg.com/opinion/articles/2023-03-03/pandemic-murder-wave-has-crested-
here-s-the-postmortem.
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If you will not withdraw your request, we reiterate our willingness to meet and confer with
you or your staff about how we can accommodate your request without violating our
obligations as prosecutors to protect the integrity of an ongoing criminal prosecution. We
respectfully request that you provide us with a list of questions you wish to ask District
Attorney Bragg and to describe the type of documents you think we could produce that would
be relevant to your inquiry without violating New York grand jury secrecy rules or interfering
with the criminal case now before a court. We trust you will make a good-faith effort to reach
a negotiated resolution before taking the unprecedented and unconstitutional step of serving
a subpoena on a district attorney for information related to an ongoing state criminal
prosecution.

                                           Respectfully Submitted,



                                           Leslie B. Dubeck
                                           General Counsel

cc:    Honorable Jerrold Nadler, Ranking Member, Committee on the Judiciary

       Honorable Joseph Morelle, Ranking Member, Committee on House Administration

       Honorable Jamie Raskin, Ranking Member, Committee on Oversight and
       Accountability

       Majority Staff, Committee on the Judiciary

       Minority Staff, Committee on the Judiciary
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              Exhibit 14
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                           James David           @JamesDavidNY · Apr 7
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              Exhibit 15
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ILQDQFHV:HUHFHLYHGDUHSO\OHWWHUGDWHG0DUFKVWDWLQJWKDWDWWKHLQVWUXFWLRQRIWKH
1HZ<RUN&RXQW\'LVWULFW$WWRUQH\¶V2IILFH\RXZRXOGQRWFRRSHUDWHZLWKRXURYHUVLJKW<RX
HQFORVHGDFRS\RIDOHWWHUIURPWKH1HZ<RUN&RXQW\'LVWULFW$WWRUQH\¶V2IILFHGLUHFWLQJ\RX
QRWWRFRRSHUDWH
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        7KH6XSUHPH&RXUWKDVUHFRJQL]HGWKDW&RQJUHVVKDVD³EURDGDQGLQGLVSHQVDEOH´SRZHU
WRFRQGXFWRYHUVLJKWZKLFK³HQFRPSDVVHVLQTXLULHVLQWRWKHDGPLQLVWUDWLRQRIH[LVWLQJODZV
VWXGLHVRISURSRVHGODZVDQGVXUYH\VLQRXUVRFLDOHFRQRPLFRUSROLWLFDOV\VWHPIRUWKHSXUSRVH
RIHQDEOLQJ&RQJUHVVWRUHPHG\WKHP´5XOH;RIWKH5XOHVRIWKH+RXVHRI5HSUHVHQWDWLYHV
DXWKRUL]HVWKH&RPPLWWHHRQWKH-XGLFLDU\WRFRQGXFWRYHUVLJKWRIFULPLQDOMXVWLFHPDWWHUVWR
LQIRUPSRWHQWLDOOHJLVODWLRQ&RQJUHVVKDVDVSHFLILFDQGPDQLIHVWO\LPSRUWDQWLQWHUHVWLQ
SUHYHQWLQJSROLWLFDOO\PRWLYDWHGSURVHFXWLRQVRIFXUUHQWDQGIRUPHU3UHVLGHQWVE\HOHFWHGVWDWH
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  /HWWHUIURP5HS-LP-RUGDQ+&RPPRQWKH-XGLFLDU\WR0U0DUN)3RPHUDQW])RUPHU1<&R6SHFLDO
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  /HWWHUIURP0U0DUN)3RPHUDQW])RUPHU1<&R6SHFLDO$VVLVWDQW'LVWULFW$WW¶\WR5HS-LP-RUGDQ+
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  /HWWHUIURP/HVOLH%'XEHFN*HQ&RXQVHO1<&R'LVWULFW$WW¶\2IIWR0U0DUN)3RPHUDQW])RUPHU1<
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DQGORFDOSURVHFXWRUVSDUWLFXODUO\LQMXULVGLFWLRQV²OLNH1HZ<RUN&RXQW\²ZKHUHWKH
SURVHFXWRULVSRSXODUO\HOHFWHGDQGWULDOOHYHOMXGJHVODFNOLIHWHQXUH$PRQJRWKHUWKLQJVLIVWDWH
RUORFDOSURVHFXWRUVDUHDEOHWRHQJDJHLQSROLWLFDOO\PRWLYDWHGSURVHFXWLRQVRI3UHVLGHQWVRIWKH
8QLWHG6WDWHV FXUUHQWRUIRUPHU IRUSHUVRQDODFWVWKLVFRXOGKDYHDSURIRXQGLPSDFWRQKRZ
3UHVLGHQWVFKRRVHWRH[HUFLVHWKHLUSRZHUVZKLOHLQRIILFH)RUH[DPSOHD3UHVLGHQWFRXOGFKRRVH
WRDYRLGWDNLQJDFWLRQKHEHOLHYHVWREHLQWKHQDWLRQDOLQWHUHVWEHFDXVHLWZRXOGQHJDWLYHO\
LPSDFW1HZ<RUN&LW\IRUIHDUWKDWKHZRXOGEHVXEMHFWWRDUHWDOLDWRU\SURVHFXWLRQLQ1HZ<RUN
&LW\
        
        $VDUHVXOWWKH1HZ<RUN&RXQW\'LVWULFW$WWRUQH\¶VXQSUHFHGHQWHGSURVHFXWRULDO
FRQGXFWUHTXLUHVRYHUVLJKWWRLQIRUPWKHFRQVLGHUDWLRQRISRWHQWLDOOHJLVODWLYHUHIRUPVWKDW
ZRXOGLIHQDFWHGLQVXODWHFXUUHQWDQGIRUPHU3UHVLGHQWVIURPVXFKSROLWLFDOO\PRWLYDWHGVWDWH
DQGORFDOSURVHFXWLRQV7KHVHSRWHQWLDOOHJLVODWLYHUHIRUPVPD\LQFOXGHDPRQJRWKHUWKLQJV
EURDGHQLQJWKHH[LVWLQJVWDWXWRU\ULJKWRIUHPRYDORIFHUWDLQFULPLQDOFDVHVIURPVWDWHFRXUWWR
IHGHUDOFRXUW7KHORFDOSURVHFXWLRQRIDIRUPHU3UHVLGHQWDOVRUDLVHVWKHSRWHQWLDOIRUFRQIOLFW
EHWZHHQWKHIHGHUDOODZHQIRUFHPHQWRIILFLDOVUHTXLUHGE\IHGHUDOODZWRSURWHFWDIRUPHU
3UHVLGHQWDQGORFDOODZHQIRUFHPHQWRIILFLDOVUHTXLUHGWRHQIRUFHDQLQGLFWPHQWDQGH[HUFLVH
FRQWURORIKLPWKURXJKRXWKLVSUHVHQFHLQWKHORFDOFULPLQDOMXVWLFHV\VWHP7KH&RPPLWWHHPD\
FRQVLGHUOHJLVODWLYHUHIRUPVWRDGGUHVVRUUHPHG\WKLVSRWHQWLDOFRQIOLFW,QDGGLWLRQWKH1HZ
<RUN&RXQW\'LVWULFW$WWRUQH\¶V2IILFHKDVDFNQRZOHGJHGWKDWLWXVHGIHGHUDOIRUIHLWXUHIXQGVLQ
LWVLQYHVWLJDWLRQVRI3UHVLGHQW7UXPSLQFOXGLQJGXULQJ\RXUWHQXUHLQWKDWRIILFHDQGGXULQJWKH
WLPHZKHQIRUPHU3UHVLGHQW7UXPSZDVLQRIILFHDQGDFDQGLGDWHIRUUHHOHFWLRQ7KH
&RPPLWWHHPD\WKHUHIRUHFRQVLGHUOHJLVODWLRQWRHQKDQFHUHSRUWLQJUHTXLUHPHQWVFRQFHUQLQJWKH
XVHRIIHGHUDOIRUIHLWXUHIXQGVRUWRSURKLELWWKHXVHRIIHGHUDOIRUIHLWXUHIXQGVWRLQYHVWLJDWHD
FXUUHQWRUIRUPHU3UHVLGHQWRUSUHVLGHQWLDOFDQGLGDWH
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        %DVHGRQ\RXUXQLTXHUROHDVDVSHFLDODVVLVWDQWGLVWULFWDWWRUQH\OHDGLQJWKHLQYHVWLJDWLRQ
LQWR3UHVLGHQW7UXPS¶VILQDQFHV\RXDUHXQLTXHO\VLWXDWHGWRSURYLGHLQIRUPDWLRQWKDWLVUHOHYDQW
DQGQHFHVVDU\WRLQIRUPWKH&RPPLWWHH¶VRYHUVLJKWDQGSRWHQWLDOOHJLVODWLYHUHIRUPV$OWKRXJK
WKH1HZ<RUN&RXQW\'LVWULFW$WWRUQH\¶V2IILFHKDVGLUHFWHG\RXQRWWRFRRSHUDWHZLWKRXU
RYHUVLJKW\RXKDYHDOUHDG\GLVFXVVHGPDQ\RIWKHWRSLFVUHOHYDQWWRRXURYHUVLJKWLQDERRN\RX
ZURWHDQGSXEOLVKHGLQ)HEUXDU\DVZHOODVLQVHYHUDOSXEOLFLQWHUYLHZVWRSURPRWH\RXU
ERRN$VDUHVXOW\RXKDYHQREDVLVWRGHFOLQHWRWHVWLI\DERXWPDWWHUVEHIRUHWKH&RPPLWWHH
WKDW\RXKDYHDOUHDG\GLVFXVVHGLQ\RXUERRNDQGRURQDSULPHWLPHWHOHYLVLRQSURJUDPZLWKDQ


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WKH-XGLFLDU\ 0DU  ³>2@IWKHIHGHUDOIRUIHLWXUHPRQH\WKDWWKH2IILFHKHOSHGFROOHFWDSSUR[LPDWHO\
ZDVVSHQWRQH[SHQVHVLQFXUUHGUHODWLQJWRWKHLQYHVWLJDWLRQRI'RQDOG-7UXPSRUWKH7UXPS2UJDQL]DWLRQ
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QHYHUDQLQWHQVLYHIHGHUDOLQYHVWLJDWLRQRI7UXPS¶VILQDQFHV´ 0LQXWHV0DUN3RPHUDQW]RQLQYHVWLJDWLQJ
'RQDOG7UXPS&%61(:6 )HE  ³>%UDJJ@GLGQRWVD\WRVORZGRZQ+HQHYHUVDLGµ,GRQ¶WZDQQDEH
UXVKHG7KHUH¶VQRWHQRXJKWLPH,QHHGPRUHWLPHWRVWXG\WKHIDFWV¶+HVDLGµ2ND\<RXQHHGDGHFLVLRQ"<RXJHW
DGHFLVLRQ¶$QGWKHGHFLVLRQZDVQRµ<RX¶UHQRWJRLQJIRUZDUG¶´ 
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SULYLOHJHLQWHUHVW
        <RXUERRNGLVFORVHVYDULRXVGHWDLOVDERXWWKH1HZ<RUN&RXQW\'LVWULFW$WWRUQH\¶V
2IILFH¶VLQYHVWLJDWLRQRI3UHVLGHQW7UXPSLQFOXGLQJLQWHUQDOGHOLEHUDWLRQVDERXWWKH
LQYHVWLJDWLRQ,QGHHG\RXGLVFXVVKRZPHPEHUVRIWKH2IILFHYLHZHGWKHFUHGLELOLW\RIDNH\
ZLWQHVVLQWKHFDVHDQG\RXQRWHWKHLUFRQFHUQVDERXWWKHFDVH¶VGLPSURVSHFWV)RUH[DPSOHLQ
\RXUERRN\RXUHFRXQWD³PLQLUHYROW´WKDWRFFXUUHGIROORZLQJDQLQWHUQDO2IILFHPHHWLQJRQ
6HSWHPEHUDERXWWKHLQYHVWLJDWLRQVLQWR3UHVLGHQW7UXPS<RXRIIHUGHWDLOVDERXWD
GLVDJUHHPHQWEHWZHHQ\RXDQGWKH2IILFH¶V0DMRU(FRQRPLF&ULPHV%XUHDX&KLHI-XOLHWD
/R]DQRDERXW0LFKDHO&RKHQ¶VFUHGLELOLW\DVDZLWQHVVLQWKHLQYHVWLJDWLRQ<RXDOVRFRPSODLQ
DERXWFRQFHUQVH[SUHVVHGE\&KULV&RQUR\WKH2IILFH¶V,QYHVWLJDWLYH'LYLVLRQ&KLHIGXULQJD
PHHWLQJRQ1RYHPEHU$FFRUGLQJWR\RX&RQUR\³VSRNHDERXWKLVPLVJLYLQJV´DERXW
WKH7UXPSLQYHVWLJDWLRQZKLFKVWHPPHGIURPDUHFHQWFDVHLQYROYLQJILQDQFLDODQGDFFRXQWLQJ
IUDXGFKDUJHVWKDWPLUURUHGWKHFKDUJHVWKDWWKH2IILFHZDVFRQVLGHULQJSXUVXLQJDJDLQVW
3UHVLGHQW7UXPS7KDWFDVHDSSDUHQWO\HQGHGSRRUO\IRUWKH1HZ<RUN&RXQW\'LVWULFW
$WWRUQH\¶V2IILFH/LNH/R]DQR&RQUR\DOVRH[SUHVVHGFRQFHUQVDERXW&RKHQ¶VYLDELOLW\DVD
ZLWQHVV<RXDFFXVHRWKHUODZ\HUVRIEHLQJ³UHOHQWOHVVO\QHJDWLYHGZHOOLQJRQDOOWKH
GLIILFXOWLHVDQGLVVXHVZLWKWKHFDVHDQGUHIXVLQJWRDFNQRZOHGJHWKHSRVLWLYHV´GXULQJDQ
LQWHUQDOPHHWLQJRQ'HFHPEHUUHIHUULQJWR\RXUIRUPHUFROOHDJXHVDV³FRQVFLHQWLRXV
REMHFWRUV´PHUHO\IRURSLQLQJWKDWWKHFDVHZDV³ZHDN´DQGSRLQWLQJWRLWV³PDQ\IDWDOIODZV´
<RXXOWLPDWHO\GLVPLVVWKHLUFRQFHUQVDERXWWKHLQYHVWLJDWLRQE\VXJJHVWLQJWKDWWKH\ZHUHHLWKHU
WRROD]\WRGRWKHZRUNGLGQRWNQRZWKHHYLGHQFHRUZHUHVRPHKRZDIUDLGRIEULQJLQJFKDUJHV
DJDLQVW3UHVLGHQW7UXPS
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        <RXUERRNGHVFULEHGDVD³SDJHH[HUFLVHLQVFRUHVHWWOLQJDQGVFRUQ´DOVRUHYHDOV
WKHH[WHQWWRZKLFKWKH1HZ<RUN&RXQW\'LVWULFW$WWRUQH\¶V2IILFH¶VLQYHVWLJDWLRQRI3UHVLGHQW
7UXPSDSSHDUVWRKDYHEHHQSROLWLFDOO\PRWLYDWHG6SHFLILFDOO\\RXGHVFULEH\RXUHDJHUQHVVWR
LQYHVWLJDWH3UHVLGHQW7UXPSZULWLQJWKDW\RXZHUH³GHOLJKWHG´WRMRLQDQXQSDLGJURXSRI
ODZ\HUVDGYLVLQJRQWKH7UXPSLQYHVWLJDWLRQVDQGMRNLQJWKDWVDODU\QHJRWLDWLRQVKDGJRQH
³JUHDW´EHFDXVH\RXZRXOGKDYHSDLGWRMRLQWKHLQYHVWLJDWLRQ<RXIULYRORXVO\FRPSDUH
3UHVLGHQW7UXPSWRPREERVV-RKQ*RWWLDQGFODLPWKDWWKH'LVWULFW$WWRUQH\¶V2IILFHZDV
³ZDUUDQWHGLQWKURZLQJWKHERRN´DW3UHVLGHQW7UXPSEHFDXVHLQ\RXUYLHZKH³KDGEHFRPHD
PDVWHURIEUHDNLQJWKHODZLQZD\VWKDWZHUHGLIILFXOWWRUHDFK´<RXH[SODLQWKDWWKLV
³FROOHFWLYHZHLJKW´RI3UHVLGHQW7UXPS¶VFRQGXFWRYHUWKH\HDUV³OHIWQRGRXEWLQ>\RXU@PLQG
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DWWRUQH\\RXVHHPIRUUHDVRQVXQUHODWHGWRWKHIDFWVRIWKLVSDUWLFXODULQYHVWLJDWLRQWRKDYHEHHQ
VHDUFKLQJIRUDQ\EDVLVRQZKLFKWREULQJFULPLQDOFKDUJHV
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        $OWKRXJK\RXFODLPWKDW\RXZHUH³DEOHWRSXWDVLGH>\RXU@SHUVRQDOIHHOLQJVDERXW
>3UHVLGHQW@7UXPS´GXULQJWKHLQYHVWLJDWLRQWKHGHSWKRI\RXUSHUVRQDODQLPRVLW\WRZDUGVKLPLV
DSSDUHQWLQ\RXUZULWLQJ<RXZURWHRI3UHVLGHQW7UXPS
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                , VDZ KLP DV D PDOLJQDQW QDUFLVVLVW DQG SHUKDSV HYHQ D
                PHJDORPDQLDFZKRSRVHGDUHDOGDQJHUWRWKHFRXQWU\DQGWKHLGHDOV
                WKDW PDWWHUHG WR PH +LV EHKDYLRU PDGH PH DQJU\ VDG DQG HYHQ
                GLVJXVWHG
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<RXDGGLWLRQDOO\³PDUYHOHGDWWKHWKRXJKW´RIEHLQJ³DWWKHFHQWHURIZKDWPLJKWEHFRPHRQHRI
WKHPRVWFRQVHTXHQWLDOFULPLQDOFDVHVHYHUEURXJKW´<RXUHIOHFWRQ\RXU³RQO\VLPLODU
H[SHULHQFH´ZKLFK\RXLQGLFDWHGZDVWKH³LQGLFWPHQWRI2VDPDELQ/DGHQDQGRWKHUPHPEHUV
RIDO4DHGDIRUWKHERPELQJRIWKH8QLWHG6WDWHVHPEDVVLHVLQ.HQ\DDQG7DQ]DQLD´'UDZLQJ
DSDUDOOHOEHWZHHQWKHVHWZRYDVWO\GLIIHUHQWPDWWHUVVSHDNVYROXPHVDERXWWKHPLQGVHWWKDW\RX
EURXJKWWRWKHLQYHVWLJDWLRQRI3UHVLGHQW7UXPS
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        7KHVHSHUFHSWLRQVDSSHDUWRKDYHFRORUHG\RXUZRUNDVDVSHFLDODVVLVWDQWGLVWULFW
DWWRUQH\WRWKHSRLQWWKDW\RXHYHQUHVLJQHGEHFDXVHWKHLQYHVWLJDWLRQLQWR3UHVLGHQW7UXPSZDV
QRWSURFHHGLQJIDVWHQRXJKIRU\RXUOLNLQJ,Q\RXUUHVLJQDWLRQOHWWHU\RXSUHMXGJHGWKHUHVXOWV
RIWKH'LVWULFW$WWRUQH\¶VLQYHVWLJDWLRQZULWLQJWKDW³'RQDOG7UXPSLVJXLOW\RIQXPHURXVIHORQ\
YLRODWLRQV´DQGYRZLQJQRWWREHD³SDVVLYHSDUWLFLSDQW´WR³DJUDYHIDLOXUHRIMXVWLFH´<RXU
SXEOLFUHVLJQDWLRQUHSRUWHGO\OHIW'LVWULFW$WWRUQH\%UDJJ³GHHSO\VWXQJ´DQGFDXVHGKLPWR
LVVXHDQ³XQXVXDO´SXEOLFVWDWHPHQW³HPSKDVL]LQJWKDWWKHLQYHVWLJDWLRQLQWR7UXPSDQGKLV
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              Exhibit 17
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XQSDLG³VSHFLDODVVLVWDQWGLVWULFWDWWRUQH\´WROHDGWKHLQYHVWLJDWLRQLQWRHYHU\IDFHWRI3UHVLGHQW
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JUDYHIDLOXUHRIMXVWLFH´LI%UDJJGLGQRWSXUVXHFKDUJHV<RXXUJHG%UDJJWRKROG3UHVLGHQW
7UXPS³IXOO\DFFRXQWDEOHIRUKLVFULPHV´DVVHUWLQJWKDW%UDJJ¶VGHFLVLRQ³ZLOOGRRPDQ\IXWXUH
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FDVWVHULRXVGRXEWRQWKHDGPLQLVWUDWLRQRIIDLUDQGLPSDUWLDOMXVWLFHLQWKLVPDWWHU<RXUZRUGVLQ
WKH1HZ<RUN7LPHVKDYHXQIDLUO\GLVSDUDJHG3UHVLGHQW7UXPSDQLQQRFHQWDQGXQFKDUJHGPDQ
DVDIHORQWRPLOOLRQVRI7LPHVUHDGHUV<RXUERRNDJDLQXQIDLUO\GLVSDUDJHG3UHVLGHQW7UXPS
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IXQFWLRQLQJDQGIDLUQHVVRIRXUFULPLQDOMXVWLFHV\VWHPDQGWREHWWHUGHOLQHDWHSURVHFXWRULDO
DXWKRULW\EHWZHHQIHGHUDODQGORFDORIILFLDOV,QDGGLWLRQEHFDXVHWKHFLUFXPVWDQFHVRIWKLV
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        IHGHUDOODZHQIRUFHPHQWDJHQFLHVUHIHUULQJRUUHODWLQJWR1HZ<RUN&RXQW\'LVWULFW
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PDWWHUVDVVRRQDVSRVVLEOH3OHDVHSURYLGHWKLVLQIRUPDWLRQDQGFRQWDFW&RPPLWWHHVWDIIWR
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      IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                      DISTRICT OF NEW YORK




ALVIN L. BRAGG, JR., in his official capacity as District
Attorney for New York County,
                                     Plaintiff,
                                                                   1:23-CV-03032-MKV
                              v.
                                                                   DECLARATION OF MARK F.
JIM JORDAN, in his official capacity as Chairman of the            POMERANTZ
Committee on the Judiciary, COMMITTEE ON THE
JUDICIARY OF THE UNITED STATES HOUSE OF
REPRESENTATIVES, and MARK F. POMERANTZ,
                                     Defendants.



       I, Mark F. Pomerantz, declare under penalty of perjury, pursuant to 28 U.S.C.

§ 1746, as follows:

       1.      I submit this declaration in support of the plaintiff’s application for a

temporary restraining order and a preliminary injunction barring the immediate

enforcement of a subpoena served upon me by the House Judiciary Committee. Although

I am nominally a defendant in this action, I have no objection to the relief that the District

Attorney has requested. I consent to that relief, and indeed urge this Court to grant it.

       2.      According to the letter I received from Rep. Jim Jordan (attached as Exhibit

1), the Chairman of the Judiciary Committee seeks my testimony with respect to its

“oversight” of the District Attorney’s recent indictment of Donald Trump. Rep. Jordan’s

letter cites Congress’s purported interest in “preventing politically motivated prosecutions”

of Presidents. The letter also refers to Congress’s interest in regulating the District

Attorney’s Office use of federal forfeiture funds.
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       3.      I was not involved in the decision to seek Donald Trump’s indictment on

the charges filed against him. I was sworn in as a special assistant district attorney in New

York County on February 2, 2021. I resigned from this position in the District Attorney’s

Office on February 23, 2022.

       4.      According to published reports, the decision to recommend prosecution on

the charges contained in the indictment took place long after my resignation. 1 I have had

no conversations about prosecuting Mr. Trump with the District Attorney or any member

of the prosecution team following my resignation. I also do not have any personal

knowledge of the District Attorney’s Office’s use of federal forfeiture funds, including the

use of any such funds during my tenure at the Office.

       5.      The District Attorney’s Office has formally instructed me, in writing, not to

provide any information about my prior work for the Office to the Judiciary Committee in

response to the subpoena. Attached is a copy of a letter to me, dated April 11, 2023, from

Leslie Dubeck, General Counsel to the District Attorney (Exhibit 2). That letter instructs

me, “as a former attorney and employee of the DA’s office, to not provide any information

to the Committee concerning [my] work at the DA’s office.” Pomerantz Decl., Ex. 2.

Additionally, certain information is protected by the secrecy provisions of Article 190 of

New York’s Criminal Procedure Law, and some disclosures of grand jury information may

be punishable as felonies. Answering questions from the Judiciary Committee about my

work for the District Attorney’s Office therefore poses a legal risk to me if I disclose

information that a prosecutor might regard as protected by grand jury secrecy, even if I



1
  E.g., Jonah E. Bromwich, Ben Protess & William K. Rashbaum, How Alvin Bragg
Resurrected the Case Against Donald Trump, N.Y. TIMES (Mar. 31, 2023),
https://www.nytimes.com/2023/03/31/nyregion/alvin-bragg-trump-investigation.html
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disagree. Also, answering questions from the Judiciary Committee about my tenure as a

prosecutor poses the risk that my testimony could be used to jeopardize or interfere with

either the charged criminal case against Mr. Trump or other ongoing investigations.

       6.      Absent some relief from this Court, I will find myself in an impossible

position. If I refuse to provide information to the Committee, I risk being held in contempt

of Congress and referred to the Department of Justice for possible criminal prosecution.

If, on the other hand, I defy the District Attorney’s instructions and answer questions, I

face possible legal or ethical consequences, including criminal prosecution. Further, if I

were to testify, I believe that the District Attorney would instruct me to assert the various

claims of privilege he has identified in his moving papers. See Pl.’s Mem. of Law 20–22,

ECF No. 8. The District Attorney believes that I cannot waive the privileges that belong

to him, and that my prior public statements do not constitute a privilege waiver by him or

his Office. I agree, but the Committee appears not to recognize the validity of the District

Attorney’s privilege claims, and Rep. Jordan’s letter claims that my prior public statements

require me to answer questions even about matters as to which the District Attorney claims

privilege. I risk being placed in this position even though I was not involved in the decision

to bring the pending prosecution and cannot assist the Committee in accomplishing its

purported purpose of exercising “oversight” of that prosecution.

       7.      I believe that the Committee seeks my testimony not for any legitimate

legislative purpose, but rather to impede and interfere with the District Attorney’s Office’s

ongoing work, assist Mr. Trump in his defense, probe my political views, and harass me

because I was the author of People v. Donald Trump, a book that Mr. Trump and some of

his supporters do not like.     Even assuming, contrary to fact, that the Committee’s
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“oversight” interests are not pretextual, and that I had information that was pertinent to a

legitimate legislative purpose, the subpoena to me should not be enforced. The institutional

interests that have been proffered by the District Attorney, together with the personal

burden placed on me as the recipient of the Committee’s subpoena, vastly outweigh the

need for my testimony.


       I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.


Dated: New York, New York
       April 17, 2023
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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


ALVIN L. BRAGG, JR., in his official capacity as District
Attorney for New York County,

Plaintiff,

      v.

JIM JORDAN, in his official capacity as Chairman of the     Case No. 23-cv-3032
Committee on the Judiciary, et al.,

Defendants.


       REPLY IN SUPPORT OF THE DISTRICT ATTORNEY’S MOTION
FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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                                                 INTRODUCTION

          The subpoena to Mark Pomerantz is an unfounded and unconstitutional attempt to disrupt

an ongoing state criminal prosecution that violates basic principles of federalism and exceeds

Congress’s powers under Article I. The subpoena is one front in a campaign of harassment and

intimidation that Chairman Jordan and the Judiciary Committee (“Congressional Defendants”)

have directed at the District Attorney—continuing this week with a “field hearing” in New York

City staged ostensibly to discuss local crime statistics, Exs. B-62, B-62A, B-63, B-66, and the

filing of the “ALVIN Act” to prohibit federal funding of the Manhattan District Attorney’s office,

retroactive to the start of Alvin L. Bragg Jr.’s tenure. See Ex. B-70 (H.R. 2581 (Apr. 13, 2023));

B-65.1      Further confirming that their purpose is punitive and judicial, not legislative, the

Congressional Defendants refused the District Attorney’s request to adjourn the subpoena’s April

20, 2023, return date to allow the Court reasonable time to address the significant constitutional

questions at stake—and the parties to litigate an appeal if necessary. See Ex. B-64. They offered

no explanation for why Mr. Pomerantz’s testimony is so urgently needed—particularly where it is

the start of a Congress and authority for this subpoena continues through 2024.

          The Congressional Defendants respond that this Court has no power to address their

unlawful subpoena because the Speech or Debate Clause provides “absolute” immunity even if

they “acted unlawfully or with an unworthy purpose.” Opp. 7. If credited, this argument would

mean there is no limit on Congress’s subpoena power: the Chairman could subpoena the presiding

judge in the pending state prosecution of Mr. Trump, or even this Court, to explain and account

for judicial rulings. And the Congressional Defendants argue that their immunity effectively




1
    Citations to “Ex.” are to exhibits attached to the First Declaration of Theodore J. Boutrous, Jr. (Dkt. 12). Citations
    to “Ex. B-” are to exhibit attached to the Second Declaration of Theodore J. Boutrous, Jr.



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extends to Mr. Pomerantz because the District Attorney cannot maintain suit in their absence under

Federal Rule 19. Neither argument is correct. The heightened standard of review the Supreme

Court imposed in Trump v. Mazars USA LLP, 140 S. Ct. 2019 (2020), for subpoenas implicating

separation of powers principles would be little more than a dead letter if Congress, at its own whim,

could invoke Speech or Debate immunity to evade all judicial review.

                                          ARGUMENT

I.     The Speech or Debate Clause Does Not Shield the Committee’s Unlawful Subpoena
       From Scrutiny.

       The Congressional Defendants assert that the “absolute immunity” afforded by the Speech

or Debate Clause permits them to tread on New York’s sovereign authority while evading judicial

review. Opp. 5. But Speech or Debate immunity presupposes that Congress’s “actions . . . fall

within the sphere of legitimate legislative activity.” Eastland v. U.S. Servicemen’s Fund, 421 U.S.

491, 501 (1975). Subpoenas that invade the prerogatives of other branches of government not only

fail to trigger this immunity; they require the Court to evaluate the subpoena under the heightened

standard set forth in Mazars, 140 S. Ct. 2019. But even assuming the Congressional Defendants

may cloak themselves in the protections of the Speech or Debate Clause, that defense does not

disable the Court from granting relief. That is because an injunction and TRO would operate

directly on Mr. Pomerantz, who unquestionably enjoys no such immunity. The Congressional

Defendants thus have a choice: they can participate and be heard—as Congress has done in many

previous subpoena actions—or they can stand on their immunity defense and watch from the

sidelines as this proceeding unfolds without them. But they cannot invoke the Speech or Debate

Clause as a complete barrier to Article III judicial review of this congressional incursion into New

York sovereignty.




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         The Supreme Court has repeatedly recognized that Speech or Debate immunity does not

completely insulate congressional subpoenas from judicial review. Start with Eastland, a case that

arose in the same procedural posture as this one. A Senate committee served a subpoena on a bank

for respondent’s bank records. Arguing that the demand would violate its First Amendment right

to free association by revealing the names of its financial supporters, respondent sued the bank and

ten senators to enjoin enforcement of the subpoena. 421 U.S. at 495. The Supreme Court

concluded that the district court “properly entertained” the action to enjoin the subpoena because

respondent—like the District Attorney here—lacked any other mechanism for enforcing its rights.

Id. at 501 n.14. Respondent could not “resist and thereby test the subpoena” in a contempt

proceeding because the Senate had directed its document demand to a third party—the bank. Id.

The Court therefore permitted respondent to maintain its claim for injunctive relief to allow for a

“judicial inquiry” into whether “a legitimate legislative purpose is present.” Id.2

         At a minimum, the District Attorney is entitled to the same inquiry the Supreme Court

conducted in Eastland: whether the subpoena fits within “the sphere of legitimate legislative

activity.” 421 U.S. at 501. Even the Congressional Defendants acknowledge that Speech or

Debate immunity does not shield a subpoena that is “plainly incompetent or irrelevant to any

lawful purpose.” Opp. 15 (quoting McPhaul v. United States, 364 U.S. 372, 381 (1960)). The

Pomerantz subpoena fails to clear that low hurdle because the Committee’s subpoena serves a

“clearly judicial” rather than a legislative function. Kilbourn v. Thompson, 103 U.S. 168, 192

(1881). The Committee purports to be “conducting oversight” of the District Attorney’s criminal


2
  Eastland also fully disposes of the Congressional Defendants’ argument that the Court should avoid deciding any
unnecessary constitutional issues on this motion because the subpoena can be challenged in a possible future contempt
prosecution. See Opp. 14 (citing United States v. U.S. House of Reps., 556 F. Supp. 150 (D.D.C. 1983)). But it is
inappropriate to relegate constitutional questions reflecting a “contest . . . between different governmental units” to a
criminal contempt proceeding. Tobin v. United States, 306 F.2d 270, 276 (D.C. Cir. 1962). Moreover, like the
respondent in Eastland, the D.A. will have no such opportunity because the subpoena was not directed to him.



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case against Mr. Trump, Ex. 1 (Dkt. No. 12-1), and intends to question Mr. Pomerantz “all about

his work investigating the former President,” Opp. 2. But ensuring that this ongoing prosecution

is not “politically motivated” is the bailiwick of the New York courts, Ex. 1, not the U.S. Congress.

        The Congressional Defendants argue that they have a valid legislative purpose because

they are considering two bills designed to protect former presidents from state prosecutions—both

conveniently thought up within days of the District Attorney’s complaint. But the mere fact that

this legislation is pending does not necessitate the conclusion that the subpoena serves a legislative

rather than a judicial purpose. In Plaut v. Spendthrift Farm, Inc., 514 U.S. 211 (1995), the Supreme

Court invalidated a federal statute that reinstated certain securities claims dismissed on statute of

limitations grounds, holding that Congress had invaded the “judicial” power by “retroactively

commanding the federal courts to reopen final judgments,” id. at 215, 219. Just as a federal statute

may qualify as “judicial” if it usurps the power of the federal courts, so too may a congressional

subpoena if it usurps judicial oversight of an ongoing criminal case.

        The Congressional Defendants disclaim that their purpose is to “interfere with” the District

Attorney’s criminal case. Opp. 16. But their many public proclamations, see, e.g., Compl. (Dkt.

No. 1) ¶¶ 2, 7-8, 89-91, 114-16, and their own brief concede that their purpose is to corroborate

“widespread speculation” that the indictment of Mr. Trump was “politically motivated” by

questioning Mr. Pomerantz about his investigation. Opp. 9.3 And the bill that supposedly

substantiates their legislative purpose—allowing removal of state criminal cases against former

presidents to federal court—would apply to any cases pending at the time of enactment. Dkt. No.




3
  Indeed, the Committee’s investigation appears to have been kickstarted as early as March 18, 2023, when Speaker
Kevin McCarthy responded within hours to (incorrect) rumors of Mr. Trump’s arrest by calling the still-pending
investigation “an outrageous abuse of power by a radical DA” and “directing relevant committees to immediately
investigate.” Ex. B-72.



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32-33 (H.R. 2553). This Court therefore need look no further than the Congressional Record to

conclude the Committee’s purpose is to disrupt the case against Mr. Trump.

       The Congressional Defendants argue that Congress is also considering legislation to restrict

state prosecutors from using federal funds to investigate a former president. Dkt. No. 32-22 (H.R.

2582). But even assuming that such regulation embodies a valid legislative purpose, the subpoena

to Mr. Pomerantz is “plainly incompetent or irrelevant” to that purpose. McPhaul, 364 U.S. at

381. Mr. Pomerantz attested in a sworn declaration that he lacks “any personal knowledge of the

District Attorney’s Office’s use of federal forfeiture funds, including the use of any such funds

during my tenure at the Office.” Dkt. No. 31 ¶ 4. The Speech or Debate Clause provides no cover

for investigations with a “mere semblance of legislative purpose,” nor does it shield investigations

conducted for “the personal aggrandizement of the investigators,” Watkins v. United States, 354

U.S. 178, 187, 198 (1957)—including the Congressional Defendants, who have turned this

inquisition into the District Attorney’s prosecution into a potent fundraising tool, Ex. B-67.

       Nor does Speech or Debate immunity extend to congressional subpoenas that encroach on

other branches of government—here, New York’s executive and judicial departments. The

Congressional Defendants argue that the Speech or Debate Clause “preserves the independence

and integrity of the legislative process and reinforces the separation of powers.” Opp. 5 (cleaned

up). But here the Congressional Defendants are using the clause on offense rather than defense,

claiming that they may insert themselves into a New York criminal case while evading Article III

judicial review. Speech or Debate immunity is not license for Congress to disregard the very

separation of powers the clause aims to secure.

       The Supreme Court’s decision in Mazars confirms precisely this point. In that case,

President Trump sued both his accounting firm and U.S. Rep. Elijah Cummings, the chairman of




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the House Oversight Committee, to enjoin a congressional subpoena for his personal financial

information. Ex. B-69. The parties stipulated that the Committee would intervene for the purpose

of substituting Mr. Cummings as a defendant. Ex. B-68. Notwithstanding that the Committee was

sued as a defendant, the Supreme Court saw no Speech or Debate obstacle to imposing a new,

heightened standard of review for congressional subpoenas that implicate substantial separation of

powers concerns. See Mazars, 140 S. Ct. at 2034-36. The Mazars standard, indeed, would amount

to nothing more than an empty vessel if it applied only when Congress consented to judicial

review. Opp. 5. Neither the Supreme Court nor the D.C. Circuit on remand countenanced any

such result. See Trump v. Mazars USA, LLP (“Mazars II”), 39 F.4th 774, 787 (D.C. Cir. 2022)

(applying rigorous scrutiny to House subpoenas for former president’s records).

II.    This Action Can and Should Proceed Whether or Not the Congressional Defendants
       Are Required Parties Under Rule 19.

       Contrary to the Congressional Defendants’ novel contention, they are not “required”

parties under Rule 19, and even if they were and could not be joined, this action should still

“proceed among the existing parties” “in equity and good conscience.” Fed. R. Civ. P. 19.

       1. Not Required Parties Under Rule 19(a). The Congressional Defendants claim they are

required parties under the first prong of Rule 19(a)(1)(B) only—i.e., that their absence “may as a

practical matter impair or impede” their “ability to protect” “an interest” they have “relating to the

subject of the action.” Id. This argument has two problems. First, the Congressional Defendants

lack any legitimate interest in enforcing an unconstitutional subpoena. See D.A. Br. 6-13.

       Second, and more importantly, allowing this action to proceed will not “impair or impede”

their “ability to protect” that putative interest. Fed. R. Civ. P. 19(a)(1)(B)(i). Courts have long

evaluated the scope of Congress’s subpoena power in criminal contempt proceedings, in which

Congress does not participate as a party. If a witness fails to comply with a congressional



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subpoena, the Speaker of the House “shall . . . certify” the case to “the appropriate United States

Attorney,” who may then bring a criminal case without any appearance by Congress. 2 U.S.C.

§ 194. Congress likewise was not a party to Watkins v. United States, 354 U.S. 178 (1957)—one

of the Court’s seminal subpoena decisions. Needless to say, Congress suffered no impairment to

its interests in those cases. In any event, the Congressional Defendants have already fully briefed

this motion—and reiterated the same positions aired in nearly a half dozen letters already in the

record.

          2. This Action Should Proceed In Equity And Good Conscience. Regardless of whether

the Congressional Defendants are required parties, this action should proceed “in equity and good

conscience” between the remaining parties under Rule 19(b) for three reasons.

          First, a “judgment rendered” in the Congressional Defendants’ “absence would be

adequate.” Fed. R. Civ. P. 19(b)(3). Plaintiff seeks injunctive relief to prevent Mr. Pomerantz

from testifying before Congress pursuant to an unconstitutional subpoena. Even if an injunction

runs against Mr. Pomerantz and no one else, the injunction will be adequate.

          Second, Plaintiff will lack an “adequate remedy if the action [is] dismissed for nonjoinder.”

Fed. R. Civ. P. 19(b)(4). If the validity of the subpoena is not adjudicated here and Mr. Pomerantz

testifies, the District Attorney will suffer irreparable harm without any opportunity for judicial

review. See Eastland, 421 U.S. at 501 n.14. And Mr. Pomerantz will lack any vehicle to avoid

the “impossible position” in which the subpoena places him—facing potential federal contempt

charges if he defies the subpoena and potential New York state charges if he complies. Pomerantz

Decl. ¶ 6 (Dkt. No. 31). As the Congressional Defendants’ own case recognizes, Rule 19(b)’s

“adequacy” factor “refers to the public stake in settling disputes by wholes, wherever possible.”

CP Solutions PTE, Ltd. v. Gen. Elec. Co., 553 F.3d 156, 160 (2d Cir. 2009). Given the “procedural




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posture in which this case comes to” the Court, “[i]t would make little sense” to require the parties

to “start over” in a separate proceeding among the same parties over the very same subpoena. Id.

       Third, the Congressional Defendants will not be prejudiced if this Court were to render

judgment without them. They have thoroughly participated in this case. And any prejudice they

claim to face if dismissed on immunity grounds would be obviated if they either intervened back

into the case, see Trump v. Deutsche Bank AG, 943 F.3d 627, 633 (2d Cir. 2019); Bean LLC v.

John Doe Bank, 291 F. Supp. 3d 34 (D.D.C. 2018), or sought leave to file as amici, see United

States v. Bannon, 21-cr-670 (D.D.C.), Dkt. Nos. 53, 65, 77—as Congress has done before.

III.   Mazars Supplies the Proper Framework For Deciding This Case.

       The Congressional Defendants are wrong that the Mazars framework applies only to

“congressional subpoenas for the President’s information.” Opp. 15. In fact, it applies when the

subpoena initiates a “clash between rival branches of government.” Mazars, 140 S. Ct. at 2034.

In Mazars, the inter-branch dispute raised “significant separation of powers issues.” Id. The

federalism concerns raised by the subpoena here are at least as weighty, and thus require the same

“careful analysis” into the Congressional Defendants’ asserted interest and appropriate respect for

the District Attorney’s sovereign law enforcement powers. Id. at 2035; see also, e.g., Bond v.

United States, 564 U.S. 211, 223-24 (2011) (recognizing importance of both separation of powers

and federalism in protecting individual liberty).

       Even if Mazars governed only subpoenas seeking a current or former president’s

information, that condition is satisfied. The Congressional Defendants have called Mr. Pomerantz

to testify about his investigation into Mr. Trump’s financial records. Ex. 1 at 2; see Exs. 36, 36-

A, 58. It makes no difference that the Committee is led by Mr. Trump’s allies rather than his

rivals. Mazars applies any time Congress seeks a former president’s information and sets up a




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clash between “rival branches of government.” Mazars, 140 S. Ct. at 2034-35; see also Mazars

II, 39 F.4th at 787 (applying framework on remand to subpoenas for a former president’s records).

IV.     Plaintiff Has Established a Likelihood of Irreparable Harm.

        The Congressional Defendants mistake the nature of the irreparable harm caused by their

subpoena. Opp. 23. Interrogating a former prosecutor about the “decision-making process”

pertaining to an ongoing criminal prosecution and investigation necessarily creates irreparable

harm. Opp. 9. It risks creating extra-judicial evidence and prejudging legal issues—including

objections based on political motivation or the sufficiency of the evidence—that will be raised and

should be decided by a New York judge.4 It potentially creates prejudicial pretrial publicity that

would, at minimum, burden the jury-selection process. See People v. Cahill, 2 N.Y.3d 14, 40

(2003); People v. Boss, 261 A.D.2d 1 (1st Dep’t 1999).

        And it risks chilling prosecutorial decisions about that case and future proceedings. That

is why prosecutors are absolutely immune from civil suit: to ensure the “efficient, and just,

performance of the prosecutorial function” is not “chilled.” Harrison v. New York, 2021 WL

1176146, at *4 (E.D.N.Y. Mar. 29, 2021). The law thus strives to protect the prosecutor’s ability

to exercise “the independence of judgment required by his public trust.” Flagler v. Trainor, 663

F.3d 543, 546 (2d Cir. 2011); see also Imbler v. Pachtman, 424 U.S. 409, 423 n.20 (1976);

Pillsbury Co. v. Fed. Trade Comm’n, 354 F.2d 952, 964-65 (5th Cir. 1966). Whether or not Mr.

Pomerantz’s testimony is disclosed publicly, then, the interrogation causes irreparable harm.

        In any event, the Committee offers no assurances that Mr. Pomerantz’s testimony will

remain confidential. In fact, the Committee’s rules leave disclosure to the Committee’s discretion,




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 The judge presiding over the pending criminal matter has entered a pretrial briefing schedule that will conclude in
September and intends to issue a decision by December 2023. Ex. B-71, at 22-23, 29.



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all but ensuring anything Mr. Pomerantz says will become public. See Dkt. No. 32-21 at 3. Indeed,

the very point of the deposition is to make information public so that the Committee can “expose

this so that in two years, the American people . . . can get this right.” Dkt. Nos. 12-21, 12-22.

         The Committee Rules also belie the argument that secret, privileged materials will be safe

from disclosure because Mr. Pomerantz “would retain the ability to decline to answer or assert an

applicable privilege.” Opp. 19, 23. House regulations prevent the District Attorney’s Office (the

actual privilege holder here) from participating in the deposition and preserving privileges. Dkt.

No. 32-21, at 2-3. Similarly, the House regulations allow Chairman Jordan himself to overrule

privilege objections and compel Mr. Pomerantz to answer. But Chairman Jordan has already

decided: He has ruled that “all” privileges District Attorney Bragg could invoke are “waived” by

virtue of Mr. Pomerantz’s book. Opp. 22. And that ruling is unappealable. Pomerantz Decl. ¶ 6.5

         The Congressional Defendants also ignore the record in summarily dismissing the harm to

New York’s dignitary interests. The record confirms the purpose of the subpoena is to advance a

plan to intimidate, harass, retaliate, and hold “accountable” District Attorney Bragg for enforcing

New York’s criminal law against a then-New Yorker, Mr. Trump. See D.A. Br. 6-13. The

Congressional Defendants want the District Attorney—an official endowed with the sovereign

authority of the State of New York by its laws and its people—to bend the knee and to “explain to

us exactly what he is doing,” Ex. 52 at 6:26-8:18. That violates the Constitution’s strict policy of

“no interference” with state officers “charged with the duty of prosecuting offenders against the

laws of the State,” Younger v. Harris, 401 U.S. 37, 45 (1971). And that violation is irreparable.




5
  The Congressional Defendants argue that the District Attorney will suffer no irreparable harm if Mr. Pomerantz
reveals privileged discussions because prosecutors have no client and are not protected by the attorney-client privilege.
Opp. 19-20. Courts have uniformly rejected that staggering assertion. See Bare v. Cruz, 2012 WL 1138591, at *4
(E.D. Pa. Apr. 2, 2012); United States v. Sutton, 2022 WL 3340046, at *3 (D.D.C. Aug. 12, 2022).



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Dated:    April 18, 2023                Respectfully submitted,

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